       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 1 of 277



 1            UNITED STATES DISTRICT COURT OF MARYLAND
                           SOUTHERN DIVISION
 2
     ---------------------- --- --x
 3   UNITED STATES OF AMERICA      :
                  Plaintiff        :
 4                                 :
                                   :
 5   vs                            :Criminal Action:         RWT -04-0235
                                   :
 6                                 :
     PAULETTE MARTIN, et al        :
 7                  Defendants.    :
     ----------------------- --- -x
 8

 9                                 Thursday , July 27 , 2006
                                   Greenbelt, Maryland
10
           The above-entitled action came on for a Jury
11 Trial Proceeding before the HONORABLE ROGER W. TITUS,
   United States District Judge, in courtroom 4C,
12 commencing at 9: 52 a.m.

13           THIS TRANSCRIPT REPRESENTS THE PRODUCT
             OF AN OFFICIAL REPORTER, ENGAGED BY
14           THE COURT, WHO HAS PERSONALLY CERTIFIED
             THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED
15           AND REQUESTED.

16           APPEARANCES:

17           On behalf of the Plaintiff:

18           DEBORAH JOHNSTON, Esquire
             BONNIE GREENBERG, Esquire
19
             On behalf of the Defendants:
20
             MICHAEL MONTEMARANO , Esquire
21           ANTHONY MARTIN, Esquire
             MARC HALL, Esquire
22           TIMOTHY MITCHELL, Esquire
             PETER WARD, Esquire
23           EDWARD SUSSMAN , Esquire
             HARRY MCKNETT , Esquire
24
     Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25   Official Court Reporter




                                                                  Page     1
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 2 of 277



 1                                I N D E X

 2                               DIR CROSS         REDIR      RECROSS

 3   Romero    Brackett          55    59          65,69      68

 4   Margaret Battle             70    78          90

 5   Maurice Alexander           91    96

 6   Maurice Bowman              113   121

 7   Cynthia    Winestock        160   166         180

 8   Reece Whiting               196   229

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                                                                    Page

23   Reporter's Certificate                                         277

24   Concordance                                                    278

25




                                                                   Page    2
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 3 of 277



 1              THE COURT:     Ms. Johnston    are you ready to

 2   proceed ?

 3              MS. JOHNSTON:      Yes , we are ready to proceed .

 4   Your Honor , we're ready .

 5              THE COURT:     All right .

 6              MS. JOHNSTON:      Other than check ing with the

 7   clerk to make sure that our exhibit            list s are

 8   consistent     in term s of the evidence       being admitted , we

 9   -- in term s of CH-1.        It 's the government 's position

10   that that chart , since it 's been use d with many

11   witness es , that it 's in evidence .         I think that 's

12   probably     an issue defense      counsel   might raise with the

13   court we've also now use d it as a summary             chart with

14   detective     Eveler    there are witness     who is   have written

15   identification s on it so our position           is that 's in

16   evidence .     At this point the government 's prepared          to

17   rest .

18              THE COURT:     All right .    Mr. Montemarano .

19              MR. MONTEMARANO :       We would be object ing to

20   Chart 1.      I think I speak for all the defendant s here .

21   We object     at the    outset .   We think that the writing

22   upon it was functional        the equivalent     was of providi ng

23   answer s to reading       lead ing question s as them these

24   people   were lump ed together       place d in certain

25   juxtaposition.




                                                                   Page    3
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 4 of 277



 1             I mean , if I'm asking         a witness    a series    of

 2   question s, and that person          may not recognize      my client

 3   because     of the    time interveni ng and I say , you don't

 4   even recognize        my client ; I think he'd have to be a

 5   fool not to perhaps        look at the person         sitting    next to

 6   me .   Again ,because      of the    lum ping it together , and

 7   there are conclusory        allegation s, both within           and

 8   without     the language    of the statute .         I can understand

 9   what cocaine     is, because       it 's de fine d in the statute .

10   I can understand        heroin .    I think we all know where

11   California     is .    I'm not aware that being a

12   "facilitato r" -- their term , not mine -- is a crime

13   anywhere .

14             Now , there may be words like "aid er " and

15   "abetter ," thing s like that .          Once again , those are

16   issue s of proof .       For the government         to have put , for

17   lack of a better        term , the other issue before           the jury

18   on a chart make s it in admissible           in the view of the

19   defense .

20             I'm sure people      have other things to        say , but I

21   simply    want ed to go on the record         on that issue .

22             THE COURT:       All right .     Anyone    else on that

23   issue ?

24             MR. SUSSMAN :      Your Honor , the only thing I would

25   say is , I join with Mr. Montemarano .               If the court is




                                                                       Page     4
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 5 of 277



 1   going to receive        the chart , I think it 's acceptable                to

 2   give an    appropriate     limiting    instruction       in term s of at

 3   the close of all the evidence .

 4              THE COURT:     It 's my conclusion      that the chart

 5   Number    one is an appropriate        exhibit    under among other

 6   thing s the Johnson       case that we re view ed .        I will give

 7   a limiting     instruction     explain ing to the jury that it 's

 8   the government 's view of the evidence , but -- I'll do

 9   that .    All right .

10              MR. MONTEMARANO :     Your Honor , that then -- let

11   me be clear .     I don't have       the number    perhaps .      Ms.

12   Johnston     or Ms. Green berg can assist         me .    The

13   Martin -Mangual    chart .     That 's not going to be use d,

14   except    as an exhibit      to assist   Ms. - -- excuse        me .    A

15   demonstrative     aid .

16              THE COURT:     That has not been receive d in

17   evidence .

18              MR . MONTEMARANO :    It 's not an exhibit .          It 's a

19   demonstrative     aid .

20              THE COURT:     They can use it as a demonstrative

21   aid in closi ng argument .

22              MR. MONTEMARANO :     I was going to go to that but

23   I want ed to make sure I understood          the rule , Your

24   Honor .

25              THE COURT:     Anything    further ?




                                                                        Page          5
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 6 of 277



 1              MR. MCKNETT :       Your Honor , I don't have             any

 2   comment     on Mr. Montemarano 's objection , except                 to adopt

 3   it .     But I'm -- if I may ask the court for some

 4   clarification     as to where we stand procedurally ?                      The

 5   government , as I understand            it , is closi ng but

 6   re serving    the right to recall         Sergeant        Sakala .

 7              THE COURT:        No .

 8              MR. MCKNETT :       I'm not sure where we are now .

 9              THE COURT:        I have said that I will permit                 the

10   defense     to require       him to be recall ed for additional

11   cross-examination        .    It 's your call whether         you call him

12   or not .

13              MR. MCKNETT :       He will be call ed as a defense

14   witness .

15              THE COURT:        No .   It will    be further     cross-

16   examination     of the prosecution            witness .

17              MR. MCKNETT :       Fine .   Thank you for clarify ing

18   that .

19              THE COURT:        Any motion s?      Any other motion s?

20              MR. MARTIN:        If the government       rest s, clear ly --

21              THE COURT:        I think I heard the magic word ,

22   "rest ?"

23              MR. MARTIN:        Mr. Goodwin      move s for motion           of

24   judgment     or acquittal       with respect      to count one the

25   conspiracy     count .       There is in sufficient         evidence , he




                                                                            Page       6
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 7 of 277



 1   would maintain , specifically        with respect    to any

 2   involve ment with crack , heroin .

 3             With respect   to cocaine , there were a number         of

 4   phone call s -- specifically , in count s 18 , 22 , 51 , 54 ,

 5   there was no authentication         -- we believe    no proper

 6   authentication     that it was his voice , and for that

 7   reason    we would move that all of those count s be

 8   dis miss ed , in addition     to Count One .

 9             There is questionable evidence about his coming

10   to Paulette Martin's house         to do anything    other than

11   visit her social ly .     There is one video that was shown ,

12   and we don't know who is on that video .            You may recall

13   that was -- I think that was Video 15 , the Benny H ill

14   video , with a figure     moving    very quick ly from the car

15   to the house and back .

16             There was no testimony      that there was

17   surveillance     on Mr. Goodwin     either    comi ng from or going

18   to the house after an allege d phone conversation             that

19   would link him to that particular            video , and for that

20   reason    Your Honor and many other s that we would put in

21   writing    if the court would like , we would move for the

22   dis missal   of Count One .

23             I've already   talk ed about the telephone

24   communication     count s, and now let me move to Count Two .

25   The November     25 , 2003 allegation    where he suppose d to




                                                                   Page     7
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 8 of 277



 1   have been arrested        with crack cocaine         in Mr. Dorsey 's

 2   car .    Whether    the car was registered          to Mr. Dorsey        or

 3   one of his family        member s is really        the touch stone for

 4   Mr. Goodwin 's allegation           and his belief         that he was set

 5   up by Mr. Raynard        Dorsey .

 6             There was a phone conversation             by Mr. Dorsey           to

 7   bring Mr. Goodwin        to the P. G. Plaza .         We didn't        hear

 8   Mr. Dorsey     testify    of course .     Everything         we've heard

 9   regard ing this came from second           and third hand

10   information     and the police officer            -- not the first

11   police officer       but the second      one .     Officer     Grant

12   testifi ed that it was the daughter               who actual ly told

13   him , after a lengthy        search , where to find the drug s.

14             Your Honor , we submit        that the entire

15   circumstance       just is beyond      belief .     It 's not his car .

16   It 's Mr. Dorsey 's vehicle .          Other people         had access       to

17   the vehicle , and there 's no way of show ing that Mr.

18   Goodwin    knew or intend ed -- didn't            even know the drugs

19   were there or intend ed to distribute               it .

20             What's    more , with respect      to his intention           to

21   distribute     crack cocaine .        Not one ex pert witness           not

22   one forensic       chemist   came in here and said that they

23   tested    for the presence      of sodium        bi carbon ate, and not

24   one forensic       chemist   came in here and said that the

25   substance    tested    was smoke able.      For , that reason           we




                                                                            Page       8
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 9 of 277



 1   would also move for the dis missal             of Count Two .       There

 2   is absolute ly no proof in this case that crack cocaine

 3   was involve d in that particular             distribution     or

 4   anywhere    else .

 5              With respect    to the drug s that were found in Mr.

 6   Goodwin 's house .       I don't know    that there 's any

 7   specific    allegation     with respect       to that .     There

 8   does n't appear       to be -- I'm sorry , Count 55 .          That is

 9   the May 15 , 2004 cocaine .

10              THE COURT:     Which count ?

11              MR. MARTIN :    That 's Count 55.

12              THE COURT:     Count 55 ?    Okay .

13              MR. MARTIN:     500 grams of cocaine           hydrochloride .

14              Your Honor , the testimony         I believe , from at

15   least the cross-examination         , didn't     conclusive ly show

16   that Mr. Goodwin        was the only person       who re side d at the

17   house at 36 Farragut .        So , we would submit          there were

18   other people     in the house .      A gain , the same argument

19   that we have with respect          to Count Two we make with

20   respect    to Count 55, and that is there was no

21   demonstration        that Mr. Goodwin    knew or intend ed to

22   distribute     any drug s that might have been at 36

23   Farragut    Road , where a number       of people    live d.

24              THE COURT:     Anyone    else ?

25              MR. MONTEMARANO :       Your Honor , if I could offer a




                                                                         Page    9
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 10 of 277



 1   suggestion .     We have a lengthy      indict ment .     Many of the

 2   count s deal with multiple      individuals .     It might be

 3   easier   for the court if we were to go through             the

 4   indict ment count by count and you to hear from

 5   particular     defendant s relative     to each count .

 6              MS. JOHNSTON:    Your Honor , we have a jury

 7   wait ing .

 8              THE COURT:   I'm not going to grind through              this

 9   one count at a time .       I mean , you need to tell me which

10   count s you feel the government 's evidence             is want ing ,

11   such that a judgment       of acquittal    is appropriate         at

12   this time .

13              MR. MONTEMARANO :   Okay .     Your Honor , as to Count

14   One , I respect fully submit     on behalf     of Ms. Martin           that

15   there has not been adequate       evidence     to demonstrate           a

16   conspiracy     and a meet ing of the minds .      While there is

17   some evidence     of narcotic s possession      at the school           and

18   I think Ms. Martin      can be link ed to it in one view , I

19   submit   it is not adequate     evidence    with regard      to the

20   demonstration     of a conspiracy .      We have questionable

21   testimony     that amount s, for lack of a better          term , to a

22   gross over reach ing on the part of Sergeant             Sakala     as to

23   the mean ing of the various      telephone     call s, and I do

24   not believe     that his testimony      is in many way s the sole

25   evidence     of a conspiracy   can serve to establish          my




                                                                    Page 10
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 11 of 277



 1   client 's participation       in a conspiracy       with the name d

 2   defendant s.

 3              Court permit , I want to make sure I don't miss

 4   any count s.

 5              With regard   to that , I would adopt that argument

 6   with regard     to each and all of the telephone          count s.

 7   If the court wish es , I will enumerate            them as I go

 8   through .     Count Three is a telephone          count , and that

 9   would be a Section       843 (b) count .     There is no evidence

10   that on March 10 , 2004 , that my client            possess ed CDS at

11   any amount     in any amount      of any kind .     The class ic bit

12   of evidence , I submit , from the government 's case in

13   support     of the defense    regard ing this is the repeat ed

14   testimony     Sergeant   Sakala    that when a Milburn     Walk er or

15   a George     Harris   or many of the other people        show up .

16   Well , they're    here to buy an eighth        of a gram -- an

17   eighth    of an ounce or eighth       of a kilo which the good

18   sergeant     agree d would be a factor       of about 41 in term s

19   of amount .     He can't even tell us what this is about .

20   For him , the number eight is somehow             magical , and I

21   submit    that the umber eight is magical           only depend ing

22   on your point of view .        If you're     a Yankee s fan , you

23   think of     Yogi Berra .    If you're     an Orioles   fan , you

24   think of    Cal Rip ken .    It does n't mean the same thing to

25   all people .     And to consider      the sergeant 's testimony




                                                                   Page 11
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 12 of 277



 1   as adequate     to sustain   a conspiracy , absent      war , I

 2   think it simply     cannot   be done .

 3             Count Five is another      telephone    count .    Once

 4   again , we don't know what this is about .

 5             Count Six -- excuse     me .    Not count six .     Count

 6   Seven is another     telephone    count .

 7             Count Eight is identical        to the earlier     count ,

 8   court permit .

 9             Count Four it 's a possession       count -- possession

10   with intent     count , excuse   me , regard ing crack in this

11   case on March 12 .      Once again there is no evidence             of

12   that .    Then there 's the telephone       count concern ing my

13   client , Count Nine , an d Mr. Whiti ng on the same date

14   again .     This is guess work on a good day .

15             Count Ten is another      substantive    count on March

16   13 .

17             Count 15 is -- Count 11 is a telephone            count on

18   March 15 .

19             Count 12 is a telephone        count on March 15 .

20             Count 13 is a telephone        count , and it does n't

21   specify     that she spoke with anybody .        It 's just that

22   she use d the phone once again .         I think there has to be

23   more charge d.     I think there 's a question       of the

24   ad equacy    of the charge   and certain ly as to who she

25   spoke with .     It 's not been demonstrate d by the




                                                                   Page 12
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 13 of 277



 1   government .

 2              Count 14 is another        substantive     count for March

 3   16 .   Once again , we have no evidence             whatsoever .       We do

 4   not have -- and I will not reiterate                the fail ings of

 5   the government 's case at this point for the court , but

 6   just brief ly :    No controlled       buy s.     No controlled

 7   purchase s.     No mark ed money .      Just , nothing .        They

 8   don't -- they're      not on the premises           until two and

 9   one-half     month s later .    We'll get to that issue in a

10   minute .

11              Count 15 , as I said , is a telephone             count

12   relating     to March 16 .

13              Count 16 is another        substantive     count on March

14   17 .

15              Count 17 is a telephone        count with Mr. Bynum for

16   March 17 .

17              Count 18 is another        telephone     count with Mr.

18   Goodwin     on March 17 .

19              Count 19 is another        telephone     count for March

20   18 .

21              Count 20 is another        telephone     count for 19 .

22   Once again , these are all entire ly without                 evidence ,

23   absent     what Sergeant     Sakala   tell s us .     We s ubmit that

24   his testimony     is simply     not adequate        enough    even under

25   the very liberal      standard    which the court must judge




                                                                          Page 13
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 14 of 277



 1   this motion      here today at the close of the government 's

 2   case .

 3               Count 21 is a telephone      count relating     to March

 4   19 .

 5               Count 22 is a telephone      count for March 20 .

 6               Count 23 is a telephone      count for March 21 .

 7               Count 24 is a telephone      count for March 22 .

 8               Count 25 is a substantive      offense    on March 22 .

 9   We again have nothing       approach ing evidence .        March 24 ,

10   telephone      -- yes , a telephone     count with Mr. Goodwin .

11               Count 27 , telephone     count for March 26 with Mr.

12   Whiti ng .

13               Count 28 , March 26 telephone        count with Mr.

14   Harris .      March 26 , a substantive     offense    with regard     to

15   Mr. Harris .      We do not hear from Mr. Harris .          The court

16   is aware it took Mr. Harris ' plea before             this trial

17   began .      If there was evidence      of narcotic s distribution

18   on that date , it could have come before             that court .     It

19   didn't .

20               Count 40 , tel ephone    count ; March 29 .

21               Count 31 , substantive     offense    on March 29 .     We ,

22   again , have no evidence       of that sub stantive       offense .

23               Count 32 , telephone     count on M arch 29 with Ms.

24   Hard en .

25               Count 33 , substantive     offense , March 29 , with




                                                                   Page 14
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 15 of 277



 1   Ms. Harden.      I will recollect     to the court , though          I

 2   know the court remember s and I would hate to steal Mr.

 3   Suss man 's thunder , but March 29 , the famous             transfer     of

 4   the Jolly Rancher      in the park ing lot between           Ms. Hard en

 5   and my client , as observe d by Detective             --

 6             MR. SUSSMAN :     Mussleman .

 7             MR. MONTEMARANO :      Mus sleman .   Thank you .         Should

 8   have remember     it had    name .

 9             March 31, a telephone       count is enumerate d -- I'm

10   sorry .    That 's Ms. Dobie 's count .       Count 34 does not

11   apply to my count .

12             Count 35 is a telephone         count from Ma rch 31 .

13             Count 36 is a substantive         offense    for March 31 ,

14   again , absent    evidence .

15             Count 37 is a telephone         count on April 1.

16             Count 38 is a substantive         offense    relating ,

17   apparent ly , to that telephone       count on April 1.

18             Count 39 is a telephone         count on April 3.

19             Count 40 , possession      on a series      of date s

20   between    April 1 and April 7 of crack charge d against                 my

21   client    and Mr. Bynum .     A gain , there 's no specificity

22   with regard    to this .     There is no evidence          in the

23   record    relating   to this .

24             Count 41 is a substantive         offense    on actual ly

25   April 7.     I would argue that is duplicative              in asmuch as




                                                                     Page 15
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 16 of 277



 1   the earlier    count charge s during      the period    of time ,

 2   and I think government        should   be obligate d to choose

 3   which theory    it 's proceed ing .     Did she possess    at some

 4   point during    that time ?     Because   the jury could find

 5   possession    under count s 40 and 41 , both on April 7, and

 6   that would be duplicitous .        My client   cannot    possess

 7   enumerate d CDS twice .       Since we have no actual      seizure

 8   of CDS, we cannot     begin to understand      how the court --

 9   the jury -- how the government          is present ing it and how

10   the jury could find it .

11            Count 43 is a sub stant ive count relating         to

12   April 9.

13            Count 44 is another      telephone    count on April 21 .

14            Count 45 is a substantive        offense    relating    to

15   that the tel ephone    count , again on April 21 charge d

16   with Ms. Ali.

17            April 23 is a telephone        count is -- there 's a

18   telephone    count on April 23 enumerate d in Count 46 .

19            We would adopt the same argument           as to Count 47 .

20   There is another    telephone     count for April 23 with my

21   client   and Ms. Dobie .

22            Count 48 is an April 24 telephone           count with Mr.

23   Goodwin .    April 25 , another    telephone   count with Mr.

24   Whiti ng .

25            Count 50 is a May 3 telephone         count with Ms.




                                                                 Page 16
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 17 of 277



 1   Dobie .

 2              Count 51 is a telephone         count on -- excuse       me .

 3   May 5 with Good win .

 4              Count    52 is a telephone       count for May 7 with

 5   Mr. Harris .

 6              Count 53 , telephone        count with Ms. Dobie from

 7   May 11 .

 8              Count 54 , another        telephone   count with Mr.

 9   Goodwin     on May 15 .     To suggest , I think , that this is a

10   scatter     shot approach         is being gracious .    I mean no

11   insult     to the government         in saying   that , but to charge

12   every time you're         on the phone with co conspirator s as a

13   telephone     count which is , in essence , what the

14   government     has chose n to do is just perversion              of the

15   intent     of Section     843 .

16              Count 56 , May 16 , a sub stantive         offense    charge d

17   against     my client     and Ms. Ali .     There is absolute ly no

18   evidence     as Mr. McKnett 's care ful cross-examination             of

19   detective     -- excuse     me corporal     Eveler    laid out

20   yesterday .        That there is any way of show ing that the

21   bag seize d my client 's place of business              was the same

22   one that was brought         in .     It resemble d it the best .

23   There was no seizure .             There was no testing .       There was

24   no fingerprint s.         In deed , this is the most outrageous

25   of the count s, because            the government    has an




                                                                       Page 17
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 18 of 277



 1   opportunity     in this case to demonstrate           the evidence .

 2              They can arrest -- as Mr. McKnett           suggest ed ,

 3   they can print the bag s or have materials              and modes

 4   from which absolute         certainty     by comparison   can be

 5   drawn fingerprint s thing s that we know can link these

 6   people .     The government      simply    has not met its burden

 7   on this case , an d this one is perhaps             the most

 8   troubli ng of all .

 9              Count 58 is another      telephone      count -- I think I

10   miss ed Count 57 .     I apologize .        Count 57 is a May 18

11   telephone     count with Ms. Dobie .         Count 58 is a May 28

12   telephone     count with Mr. Whiti ng .

13              Court 's indulgence , please .

14              And then the last count deal ing with my client

15   is another     substantive     offense     numerate d in Count 62 ,

16   possession     with intent     to distribute       crack on June 1.

17   As to that .     Your Honor , while it may not make me

18   happy , the seizure        of actual    crack , which has been

19   stipulate d to , was crack from my client 's business               on

20   June 1st at the raid at the seizure .               I submit    it mean s

21   -- I should     submit , and I don't have          anything    else to

22   say with regard      to that .

23              As to the forfeiture         count s.   I will put on the

24   record     now , because    we are at that -- at the point ,

25   since that come s after Count 62 -- and if anybody




                                                                      Page 18
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 19 of 277



 1   dis agree s with this , defense          counsel    are welcome     to

 2   stand up and contradict         me .     The defendant s have

 3   discuss ed this among themselves            and with counsel , and I

 4   am authorize d to inform        the court that all of the

 5   defendant s will submit        to the determination          of the

 6   forfeiture s by this court , as opposed              to the jury .

 7              We assume    with the agreement         of the

 8   governmental , though       I'm not sure that that is

 9   necessarily     -- I mean as to the actual            waiver     of jury

10   trial , but as the jury trial on a particular                  issue , I'm

11   not sure .     In any event , we are happy to have Your

12   Honor make that decision         if and when the jury return s a

13   guilty   verdict   on the necessary         predicate    offense s.

14              We are not -- we understand           the court only make s

15   such a determination        with a find ing of guilt as to a

16   particular     defendant    on an adequate         under lying

17   predicate     but , assuming    that happen s, we at this time

18   would inform     the court and the government            that we are

19   perfect ly happy to have Your Honor to               make those

20   decisions.      If any defense         counsel   dis agree s with

21   anything     I've said , they are free to take issue .

22              THE COURT:      All right .

23              MR. MONTEMARANO :     Thank you , Your Honor .

24              THE COURT:      Ms. Johnston , with respect           to waiver

25   on forfeiture .        Any concern      the government      would have




                                                                        Page 19
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 20 of 277



 1   --

 2             MS. JOHNSTON:     No , Your Honor .     I think the

 3   government    would have the right to insist         on a jury

 4   trial , but , no .

 5             THE COURT:     The jury is very happy to hear that .

 6             MS. JOHNSTON:     The government      would ask that the

 7   court schedule that hearing at a later date.

 8             THE COURT:     I will do that if there is a

 9   necessary predicate of a guilty verdict.             We haven't

10   got that yet .

11             With respect    to Mr. Montemarano 's motion .            Rule

12   29 authorize s the filing       of such a motion     and

13   authorize s it be grant ed that the evidence             is

14   in sufficient    to support    a conviction .     The standard

15   under which Rule 29 motion s are govern ed is view ing the

16   evidence in     the light most favorable        to the evidence ,

17   whether   any rational     trier of fact s could find the

18   defendant    guilty    beyond a reasonable doubt     .

19             In considering    such an motion , the government              is

20   entitle d to the benefit       of all reasonable     inference s of

21   the fact s proven      to those sought   to be establish ed .            I

22   conclude , with respect       to defendant   Paulette         Martin ,

23   that the government       has placed   before    this court and

24   the jury sufficient       fact s that a rational     trier of

25   fact s could find her guilty       beyond a reasonable doubt             .




                                                                      Page 20
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 21 of 277



 1   According ly , Paulette      Martin 's motion     is deni ed .

 2             MR. MONTEMARANO :       As to each count , Your Honor ?

 3             THE COURT:     As to every     count -- all count s.

 4             MR. MONTEMARANO :       I would like the record         to be

 5   clear .

 6             THE COURT:     All the count s you enumerate d in

 7   your motion , including       the ones   you weren't     even

 8   indict ed in .

 9             MR. WARD:     We should    try to cover all base s,

10   Your Honor .

11             THE COURT:     Yes .    Cover the waterfront .

12             Mr. Martin , you 've already       made your motion ;

13   correct ?

14             MR. MARTIN:     That 's correct , Your Honor .          Just

15   to make it clear , the telephone         communication     count s I

16   believe     were 18 , 26 , 48 , 51 and 54 .      I don't know     if I

17   gave you the number       for each one of those .

18             THE COURT:     Okay .    All right .     Well , for the

19   same reason s I just gave with respect            to the motion

20   filed by counsel       -- oral ly made by counsel       for Paulette

21   Martin , your motion      is also deni ed .

22             Any additional     motion s?

23             MR. HALL:     Yes , Your Honor .       I'm going to make a

24   motion    under Rule 29    for a motion    of acquittal     for my

25   client , Reece W hiti ng .       I would suggest    to the court




                                                                      Page 21
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 22 of 277



 1   first , I think my client          is charge d -- I can state to

 2   the court my client       is charge d under Count One , which

 3   is the conspiracy       count , and he is also charge d with

 4   several   telephone     count s.

 5             Let me address     the bulk of them and say to the

 6   conspiracy    count .    I would suggest     to the court that

 7   the government 's evidence          in this case fall s into

 8   basically    three area s.    First is the conversation s

 9   that were captured       on the wiretap , and the     court had an

10   opportunity , as well as the jury , to hear those

11   conversation s.

12             The court heard a number        of conversation s in

13   which my client     was maki ng reference      to the word

14   ticket s and asked Ms. Martin          if there were any ticket s

15   available , and the court will recall          that each and

16   every time a request       was made of Ms. Martin , my client

17   was re buff ed .   I would suggest       to the court that there

18   was simply    no meet ing of the minds , assuming          that the

19   court believe s that what my client          is attempt ing to do

20   is to pro cure some type of illegal          substance .     I would

21   suggest   to the court that no agreement         was ever made

22   between   these two individuals , and therefore            the

23   government 's count fail s on that ground .

24             Second ly , Your Honor , there 's a number        of

25   telephone    conversation s in which my client        is allege d




                                                                      Page 22
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 23 of 277



 1   to have provided        advice    to Ms. Martin , and that is the

 2   government 's second       theory    of why my client    was

 3   involve d in conspiracy .          I would suggest    to the court

 4   that close examination           of those phone call s show s that

 5   while there were a number           of conversation s, those

 6   conversation s consisted          of her asking   him would he be

 7   willing    to look at something        -- paper s, chargi ng

 8   document s, whatever       -- from another     individual 's

 9   arrest , and he indicati ng that he would , and that was

10   the end of the conversation .           There was never -- no

11   evidence    ever present ed in this court that my client

12   actual ly perform ed that task or ever look ed at any of

13   the document s.

14              There is also -- I would point out to the court

15   that even if there had been , as I would suggest               to the

16   court , it 's in sufficient        to show that my client      was

17   part of any conspiracy .           We're talk ing about public

18   document s and public       records    that anyone    could look at

19   and anyone    could offer an opinion        about .    I would

20   suggest    to the court that as a conspiracy , that fail s.

21              The second    area that the government 's evidence

22   fall s into would be the testimony          of Mr. Ec harte .        Mr.

23   Echa rte testifi ed that on a number         of occasion s he was

24   involve d in trafficking          and bring ing up quantiti es of

25   heroin    and cocaine     from the Miami area to the




                                                                    Page 23
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 24 of 277



 1   Washington , D. C. area , and he was very specifically

 2   asked in regard      to the heroin   whether   -- which he

 3   allege s that Mr. Whiti ng assisted        him in    the pick ing up

 4   of , he was asked specifically       whether   any of that went

 5   to Ms. Martin     and was she involve d in that operation .

 6   He emphatically      said no , that the heroin       was sole ly his

 7   business .

 8              I would suggest    to the court that therefore ,

 9   even if you were to believe        the testimony      of Mr.    24

10   Echarte , that that would mean that Mr. Whiti ng was

11   involve d in the conspiracy       with Mr. Echarte      but not

12   with Ms. Martin , and therefore , since he is not charge d

13   in this case as being a co conspirator , that the

14   government 's evidence       fail s and that what you're

15   actual ly deal ing with is a separate        and distinct

16   conspiracy .

17              There is also evidence    from Mr. Echarte ,

18   assuming     that you believe    it , that Mr. Whiti ng

19   purchase d very small amount s of cocaine           from Ms.

20   Martin , and I would suggest       to the court that the mere

21   purchase     of a personal    use amount   of cocaine , even if

22   you do believe     what Mr. Ehcarte    said , does not make him

23   a co conspirator .     A purchaser   for personal      use is not a

24   co conspirator , and Mr. Ehcarte      testifi ed a number       of

25   time s in the course     of this case that he -- that Mr.




                                                                    Page 24
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 25 of 277



 1   Whiti ng was a -- someone       with a habit who was a user

 2   who came to Ms. Martin 's house and a pro cured small

 3   amounts   of cocaine .

 4             Again , I would suggest      to the court that the

 5   government 's evidence      fail s in regard    to being able to

 6   involve   Mr. Whiti ng in a conspiracy       based upon the

 7   testimony    of Mr. Echarte .

 8             Finally , the other area of evidence        that the

 9   government    present s in regard      to Mr. Whiti ng involve s

10   404 (b) evidence .    Of course      the court cannot    proper ly

11   use that , just as the jury cannot         proper ly use that

12   basic conviction .       That is here sole ly for the distinct

13   purpose   that was offered      in the limiting    instruction

14   that the court gave .       Unless    the -- some issue such as

15   his intent    or motive    is present ed by other evidence ,

16   then the 404 (b) evidence       is not sufficient     to carry

17   this case across the threshold          that the government         must

18   reach at this point in time .

19             Finally , Your Honor , my client      is charge d with

20   several   count s involving     the use of a telephone         or

21   communication    de vice to facilitate      drug trafficking ,

22   and I would suggest       to the court that based upon the

23   government 's lack of evidence         that my client    was

24   actual ly involve d in this conspiracy         that those count s

25   are dependent    upon that and would therefore          fail also .




                                                                    Page 25
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 26 of 277



 1              Thank you , Your Honor .

 2              THE COURT:     All right .       With respect    to the

 3   motion    made on behalf     of Mr. Whiti ng , I will deny that

 4   motion    as well .     I believe       that view ing the evidence in

 5   the light most favorable           to the government , as I must ,

 6   a rational     fact finder    could find this defendant              guilty

 7   beyond a reasonable doubt          .

 8              With respect     the question       about 404 (b) evidence .

 9   Even if you were to dis regard             the 404 (b) e vidence , the

10   other evidence        alone would be sufficient          to permit     a

11   rational    fact finder     to reach a verdict          of guilt .     So,

12   I deny your motion .

13              Next counsel ?

14              MR. MITCHELL:      Your Honor , I don't want to

15   repeat    counsel     and the benefit       of their wisdom    --

16   they're    taking     the wind out of my sail s, but Ms. Martin

17   is charge d in Count Seven , Eight , 17 and 39 , along with

18   Mr. Bynum , and those were all the telephone                count s.

19   I'll adopt Ms. Martin 's argument             as to those .

20              In C ount s One and Seven,         Mr. Bynum is charge d

21   with conspiracy        involving       crack , heroin   and cocaine .

22   There has been no evidence              that has been present ed that

23   Mr. Bynum had anything        to do with heroin          at any time ,

24   and I would move for judgment              of acquittal    as to that .

25              Ms. Martin    also address ed Count 40 , which is a




                                                                      Page 26
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 27 of 277



 1   substantive     offense    between   April 1st and April 7th

 2   which contradict ed Count One , as Ms. Martin 's counsel

 3   has already     add ressed    to the court , and I'll adopt the

 4   argument .

 5              I will submit     on 59 and 60 and make the motion

 6   of acquittal .

 7              THE COURT:     All right .    The court will deny your

 8   motion     for the same reason s.       I believe    that a rational

 9   find er of fact , view ing the evidence in           the light most

10   favorable     to the government , could find your client

11   guilty .     Therefore , I deny your motion .

12              Mr. Ward .

13              MR. WARD:     Yes , Your Honor .

14              Ms. Dobie is charge d in first of Count One with

15   the conspiracy , as the court well know s.              Count s 34,

16   47 , 50 , 53 and 57 are each charge s that she use d a

17   communication     facility     to commit   a felony .     That is the

18   conspiracy     charge d in Count One .      T hey all rest , I

19   suggest , on Count One .

20              Count 61 is the June 1, '04 possession           of a

21   firearm     in furtherance     of a drug trafficking       crime ,

22   i.e., the conspiracy         charge d in Count One .      Now , the

23   court may recall        that I raise d this issue oral ly --

24   that is the firearm s issue -- the          venue aspect     at the

25   outset     and said I would file something          in writing , and




                                                                   Page 27
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 28 of 277



 1   I have done that .

 2              THE COURT:     Yes , I have your paper s.

 3              MR. WARD:     It 's short and sweet , Your Honor .

 4   Nevertheless , what I'm say ing is that it all -- the

 5   Count 61 was the other telephone           count s.     They all rest

 6   on the conspiracy        for the drug trafficking        charge .

 7              I recognize    of course    the very , very high burden

 8   that we have to meet in order           to have a motion        for

 9   judgment    of acquittal        and at this stage of the

10   proceed ings .     Nevertheless , I would comment         th at I

11   think it 's clear -- abundant ly clear from the evidence

12   that my client      is an addict      who brought     or bought       drug s

13   for her personal        use .    She is not charge d with       that if

14   she had been charge d with          that she would have certain ly

15   pled to it,      and we would n't have gone through          this

16   trial .    But she was not charge d with that .           The

17   government     chose to tie her into this conspiracy .

18              I think the telephone       call s all relate ,

19   basically , to the ordering          of drug s.   She was never

20   shown on any photograph s or any pole camera s.                 She was

21   not physically      surveil led maki ng any drug purchase s,

22   let alone drug pick up s, and there were no telephone

23   call s and there were no witness es who said that yes ,

24   in deed she did sell drug s.

25              With respect     to the telephone      count s.   As I




                                                                      Page 28
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 29 of 277



 1   said , they all rest on the find ing of Count One .               It

 2   seem s to me that if the jury decides           she is not a

 3   con spirator,     then they would necessarily        have to find

 4   that she did not use a communication s facility            in

 5   connection    with that specific      conspiracy .

 6              With respect    to count -- the firearm      count .        The

 7   venue statute , of course , or rather the           venue rule ,

 8   Rule 18 , says that prosecution        must be brought     in the

 9   district    where the offense      is committed .     There is

10   evidence    there were two gun s in the house where my

11   client    was found .     If they believe   those gun s were

12   possess ed by her , then we have an offense           in the

13   District of     Columbia .     There is absolute ly no evidence

14   whatsoever    to show or even to suggest         that those gun s

15   or that gun -- those gun s -- I say those gun s or that

16   gun because     although     there were two found , she 's only

17   charge d with one , and I'm not sure which one she's

18   charge d with .     In any event , that 's another      issue .

19              There is no evidence     to suggest    that she ever

20   possess ed a firearm       in this district .    O f course , the

21   government    will say , well , the hold ing of United          States

22   versus    Rodriguez Marino      at 26 U. S. , 275 , a 19 99

23   opinion    out of the Third Circuit , it 's proper        to look

24   at the jurisdiction        where the under lying offense , that

25   is the trafficking        crime , was committed .     And if it was




                                                                    Page 29
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 30 of 277



 1   committed     in Maryland , then the fact that she possess ed

 2   -- Maryland     and elsewhere , the fact that she may be --

 3   if she 's found to have been a part of that conspiracy ,

 4   I think under the rationale           of Rodriguez Marino , venue

 5   could be in the state of Maryland .

 6              As I say , we're moving        for judgment   of acquittal

 7   on the conspiracy        count .   We don't think there is

 8   evidence     of a conspiracy .       We think -- without        the

 9   evidence     of the conspiracy       and without   the proof or

10   without    a find ing of the conspiracy , other count s each

11   including     the gun count all necessarily         have to fail .

12   With that , Your Honor , I would submit .

13              THE COURT:       All right .    With regard   to the

14   motion    of defendant      Lavon Dobie for judgment       of

15   acquittal , the court will deny that motion              on the basis

16   of the standard      that I have previous ly enunciate d.

17              With regard      to the specific    issue of the

18   firearm , counsel       is correct    and candid   that under

19   Rodriguez Marino,        if the conspiracy      was operational

20   within    the district      of Maryland    that is sufficient         to

21   allow possession        of this firearm     at another    location         to

22   serve as the basis of a prosecution             in this court .

23   Therefore , I deny the defendant           Lavon Dobie 's motion

24   for judgment     of acquittal .

25              Mr. Suss man .




                                                                      Page 30
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 31 of 277



 1             MR. SUSSMAN :    Sir .

 2             I have somewhat    different    argument s, I think ,

 3   than some of my colleague s.          First , with regard    to --

 4   general ly , Ms. Hard en 's charge d with four count s in

 5   the conspiracy    and two telephone       count s --

 6   communication s count s and the PWID cocaine            that was

 7   alluded    to by Mr. Montemarano , the March 29 count .

 8             First , with regard      to the conspiracy .     As a

 9   general    matter , I think there is a fatal variance

10   between    what the government       has allege d in the

11   indict ment -- a single      unitary    conspiracy     -- and what

12   they have proven    up .    If I could just use their chart

13   and , actual ly , work ing -- now I have to figure          out how

14   to zoom it .

15             Basically , in the cross-examination         , I believe

16   that the testimony     and the opinion      show ed that there

17   were at least    four group s and potential ly five that

18   suppli ed Ms. Martin .      That 's the allegation .       None of

19   these group s had anything         to do or communicate d with

20   either    of the other group s.       This is what in conspiracy

21   parlance , I guess , is known as the wheel , where Ms.

22   Hard en , Ms. Martin   and Mr. Goodwin      are allegedly     the

23   hub s.    My understand ing of conspiracy      law is that to

24   turn this into a wheel conspiracy , you have             to show

25   some inter dependence      between    1, 2, 3, 4, and you can go




                                                                  Page 31
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 32 of 277



 1   as far as    Mr. Echarte , fifth conspire r.       None of these

 2   people   help ed each other in any way or perhaps          even

 3   knew of each other 's existence .

 4            What the government 's de scribe d here is just a

 5   series   of linear    conspiraci es stem ming from Kelly LNU

 6   and Campbell , going down through         courier s to Ms.

 7   Martin   and Mr. Goodwin , Juan Encarnacion        and his Nunez

 8   connection    ,and that flow s down to the late Steve Brim

 9   and Phil pot who ship ped drug s from California , and

10   Moises   Uriarte   who has his heroin      source s and ship s a

11   different    drug through    -- apparent ly through     Ms. Levi

12   to Ms. Martin .

13            Echarte     perform s the same function , albeit

14   closer   to his -- according to his        testimony , closer      at

15   hand .   But he has his own group of suppliers , and he

16   sends his -- sell s his stuff to Ms. Martin , according

17   to his testimony .       So you have at the top end a bunch

18   of un connect ed people     who have no inter dependence       among

19   them or between      them -- among them .     At the bottom       end ,

20   you have a similar       thing .    Traditionally , what I've

21   seen in term s of distributor s/facilitato rs is you get a

22   street   operation    at the lowest     end of the conspiracy ;

23   you get a bunch of people          who have some connection ;

24   they look out for each other , they warn each other

25   about the police , they do thing s of that nature .




                                                                  Page 32
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 33 of 277



 1             In this case and talk ing about Ms. Hard en

 2   specifically , Ms. Hard en is allege d to be in the box of

 3   facilitators /distributor s.          The evidence   is pretty

 4   clear she has no communication           with any of the other

 5   allege d facilitato rs/distributor s, and to that extent

 6   there is a lack of inter dependence          among that group as

 7   well .

 8             So what at best the government         is chargi ng here

 9   is a group of distinct       change     conspiraci es that have ,

10   really , in term s of the proof , very little            to do with

11   this organizational       chart , and that 's one of the

12   reason s why I had objection s to the organizational

13   chart .    For purpose s of this motion , I believe          it 's

14   instructional       to the court .     That , by itself , I believe

15   should    gain a motion    for acquittal     on behalf     of my

16   client    with regard    to the conspiracy .      More

17   specifically , the evidence          show s with regard    to Ms.

18   Hard en , she had     absolute ly no communication        with any of

19   the people     who are allege d to have been a        part of this

20   conspiracy .     So at best , you have relationship s of some

21   sort with Paulette       Martin .

22             Now , you don't have to know everybody           in the

23   conspiracy , but you do have to know something              about the

24   general    nature    of the conspiracy .     You join a

25   conspiracy     with a notion   of further ing the interest s of




                                                                   Page 33
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 34 of 277



 1   that group .     There is absolute ly nothing        to show that

 2   Ms. Hard en ever had any information         concern ing the

 3   scope of any group , that there was a group in existence

 4   of any sort , or that she intend ed to further           the

 5   purpose s of this un known group .

 6              More specifically , Ms. Hard en is also charge d in

 7   the conspiracy     with entering      a conspiracy    to distribute

 8   a kilogram , I believe , or more of heroin .           There 's

 9   absolute ly no testimony       that links her to any heroin ,

10   any knowledge     of heroin , any discussion        of heroin     or

11   anything     that would indicate      that she knew anything

12   about heroin .     A t the very least , the heroin       aspect        of

13   the conspiracy     charge   would have to be dis miss ed .

14              Similar ly , with regard    to cocaine    base -- and

15   I'm assuming     the government 's theory     here is that Ms.

16   Hard en is a re- distributor      of cocaine .      The same

17   argument     would apply to the cocaine      base aspect       of the

18   conspiracy .     There 's nothing     in the testimony    that I

19   can recall     that would allow even the vaguest         inference

20   that Ms. Hard en had anything         to do with cocaine       base or

21   knew that any of these people          were sell ing cocaine

22   base .   The cocaine    -- the aspect     that I    would ask for

23   dis missal    on the cocaine    aspect   of the conspiracy        first

24   as to quantity     of 5 kilogram s or more .        It would be

25   mere speculation     if Ms. Hard en knew anything        about the




                                                                    Page 34
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 35 of 277



 1   volume     of that much cocaine .      She was never at the

 2   premises .     She was never observed       at the premises .           At

 3   best , the government 's information         and allegation s are

 4   that she bought        small amount s of cocaine    over a four -

 5   year period .     That hard ly qualifi es as a kilogram            or

 6   perhaps     even a 500 gram inclusion       in any conspiracy .

 7   In essence , with the conspiracy          count s there is

 8   absolute ly no inference s that Ms. Hard en agreed to

 9   enter a unit of this kind or agreed to further               its

10   interest .

11              Everything    -- with regard     to the other count s,

12   what we have is they're        all based on distributive

13   intent .     Without    distributive   intent , the government

14   has -- does n't have any telephone          count s, because       the

15   telephone     count s are to further      the conspiracy     as

16   charge d.     My argument    as to her lack of involve ment in

17   the conspiracy     would cause those count s to fall .

18              With regard    to the -- I would submit     that there

19   is nothing     to indicate    any distributive     intent    on Ms.

20   Hard en 's part at all .      There is no evidence     of sale s.

21   There 's no evidence       of materials .    There 's no evidence

22   of packaging .     There is no evidence of        the life of this

23   conspiracy     that Ms. Hard en ever sold drug s to anyone               or

24   engage d in sell activity .       Specifically , also ,with the

25   -- with regard     to the March 29 incident , which is




                                                                   Page 35
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 36 of 277



 1   indict ed as a PWID.      I would argue that for record

 2   purpose s that the indict ment was obtain ed through

 3   in appropriate    evidence , in asmuch as    the testimony       at

 4   the trial was that at the grand jury , Sergeant             Sakala

 5   testifi ed that a package      was pass ed without     stati ng

 6   that it was his opinion      that a package      was pass ed .        I

 7   think that give n the grand jury indict ed Ms. Hard en on

 8   that count , the impression      that it was fact and not

 9   just opinion     was mis lead ing and in appropriate      to base

10   the indict ment .

11           I think that 's the argument , Judge .

12           THE COURT:      All right .    Thank you .    With regard

13   to the argument s made by counsel        for the defendant

14   Harde n, first , the argument     with respect     to her

15   participation     in the allege d conspiracy      and the notion

16   that she may not know any of the other member s of the

17   conspiracy    other than Paulette      Martin   and may not know

18   all of the object s of the conspiracy , that may very

19   well be the case , but that 's simply        not what the law

20   require s.    It is not required      that the jury find that

21   the allege d member s of the conspiracy         met and

22   inter view ed and entered into      any ex press or formal

23   agreement .

24           They do not need to find that the conspirator s

25   state d in words or writing      what the scheme      was or its




                                                                  Page 36
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 37 of 277



 1   object     or purpose    or every precise      de tail .    What they

 2   must prove is that there was a mutual             understand ing ,

 3   either     spoken    or un spoken , between    two or more people

 4   to cooperate        with each other to accomplish          an un lawful

 5   act .     There is at least     that level of evidence          before

 6   the court on the conspiracy          count , and therefore        I find

 7   that the motion        would be appropriate      for denial      under

 8   Rule 29 of the forgivi ng standard            of the Fourth Circuit

 9   where I'm to consider         whether   any rational       trier of

10   fact s could have found the defendant            guilty     beyond a

11   reasonable doubt .

12              With respect     to the argument s as to the type of

13   drug .     The verdict    form that 's been agreed to in this

14   case does require        the jury to indicate       what type of

15   controlled     substance    she was involve d with , and they

16   will have the option        of what that was , and they will

17   also have the option        of indicati ng the amount          that they

18   attribute     to her as being in furtherance          of the

19   conspiracy .        Therefore , I will deny the defendant

20   Hard en 's motion .

21              MR. SUSSMAN :     Just a clarification          on that ,

22   Judge .     The fact that it 's submitted        to -- you're

23   denying     the motion    as to the particular       substance s and

24   amount s and that 's why it 's going          to the jury .      It 's

25   not a jury question        unless   the court den ies the        motion .




                                                                      Page 37
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 38 of 277



 1              I'm just clarify ing .

 2              THE COURT:      Your motion     is deni ed .

 3              MR. SUSSMAN :     Okay .

 4              THE COURT:      Mr. McKnett .

 5              MR. MCKNETT :     Your Honor , I first want to adopt

 6   the argument s made by Mr. Sussman , particular ly with

 7   regard     to the conspiracy        and collateral   drug s involve d,

 8   as well as the argu ments made by other defense                counsel .

 9              Ms. Ali is charge d in five separate            count s, and

10   I'll deal with them sequentially .             Count One is the

11   base conspiracy        count .     There has been absolute ly no

12   evidence     adduced    at all during     this trial at all that

13   Ms. Ali was involve d in any way with heroin .                Now , I

14   know that 's not a separate           count , but as the verdict

15   sheet is now exist s, that question            will be present ed to

16   the jury unless        the court rule s otherwise , because

17   there is absolute ly no evidence           involving      Ms. Ali and

18   heroin .     I think it 's totally       in appropriate     for that

19   question     even to go to the jury , and I think that at

20   least as far as        Count One address es an accusation            of

21   conspiracy     to at tribute       heroin , that motion     should    be

22   grant ed .

23              As far as    the over all conspiracy        to possess     with

24   intent     and distribute        the three substance s, the powder

25   cocaine , the heroin       and the cocaine      base or crack .




                                                                     Page 38
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 39 of 277



 1   There 's really       only four element s of evidence       that

 2   relate    to that .     Two of them are phone call s.         One is

 3   the phone call on A367 ; another          is B1233 .     They relate

 4   to Count Two , and I will address          them in connection

 5   with Count Two .

 6             If the possession     with intent     charge    should

 7   fall , so will at least       -- so will all of the other

 8   count s, because       they all relate    to the under lying

 9   charge    of possession     with intent    to distribute .      In

10   telephone    call A367 , March 20 , the only thing in there

11   that talk s about any sort of purchase          of -- any sort of

12   transaction    between     Ms. Ali and Ms. Martin        is Ms. Ali

13   asking    if she could come by because , you know , all I

14   want , and then later on .       So if you ain't there , is it

15   all right    if I get some ?     And Ms. Martin        says , yeah .

16   An d then later the same day Ms. Martin          says , in a

17   different    call , I fix ed your thing .      I have it with me ,

18   so you just call me .         The only person    who testifi ed

19   that that is a drug conversation           is Sergeant     Sakala

20   whom , I submit       by the very nature    of his position , is

21   biased , and certain ly his opinion         is subject ive .       I

22   don't think    the jury should     be allow ed to make

23   decision s based on subject ive and biased             information

24   without    any other factual     support    with regard     to those

25   two conversation s.




                                                                    Page 39
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 40 of 277



 1              There were no surveillance s no search es no

 2   seizure s no evidence      that Ms. Ali ever sold drug s to

 3   anybody .     There's n o evidence    that anybody     ever claim ed

 4   they bought      drug s from Ms. Ali ; no evidence      that

 5   anybody     ever saw Ms. Ali make a sale ; no evidence           that

 6   Ms. Ali was ever heard to arrange            a sale of drug s.

 7   There is evidence      clear ly , at least      adequate , to get to

 8   the jury of a possible         purchase    of cocaine , but

 9   absolute ly no other evidence        other than Detective

10   Sakala 's subject ive and biased          interpretation s to

11   support     a find ing beyond a reasonable doubt        of

12   possession      with intent    to distribute .

13              A jury simply   should n't be allow ed to determine

14   the guilt of somebody         based sole ly on the opinion       of

15   somebody     who , by his very nature , is biased       and

16   subject ive .

17              I could make the same arg ument and will make the

18   same argument      with regard    to Count 44 , which is another

19   -- I don't know      if I specif ied this .       Count 22 is a

20   telephone     use charge   made on March 20 , '04, and Count

21   44 is a similar      charge    with regard    to the 21st of

22   April , '04, and Count 45 is a charge            of possession    with

23   intent    to distribute    on April 21st , '04.       So , I will

24   deal with Count s 44 and        45 together .

25              For the same reason s that I proposed        with regard




                                                                    Page 40
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 41 of 277



 1   to Count 22 :     Other than the bias and subject ive

 2   opinion     of Officer   Sakala    -- Sergeant       Sakala , there is

 3   no evidence     that Ms. Ali purchase d any substance                with

 4   the intent     to distribute      it .    All she said was , in two

 5   calls,     A12 24 and A12 26 , which took place on August              21 ,

 6   the date of -- in 44 she said -- Ms. Martin                  says , you

 7   jus t want ed one tick et?        Ms. Ali says , I've got to make

 8   a call .     And then on the next conversation , which is --

 9   I mis place d it , but it 's a similar            comment   about having

10   to make a call or having          to find out .

11              Now , Sergeant   Sakala       interpret s that to mean

12   that Ms. Ali was check ing with customers , but there is

13   absolute ly no substantive         evidence       to support   that

14   conclusion     that it 's pure ly his opinion           -- pure ly a

15   subject ive opinion , and pure ly a biased              opinion    if for

16   no other than reason        than he is one of the           case agent s

17   who is investigati ng this case , and it was his goal to

18   convict     Ms. Ali on this -- on these charge s.

19              Again , a jury should         simply   not be allow ed to

20   come to a conclusion        about someone 's future          based

21   sole ly on subject ive and biased            opinion    evidence ,

22   without     any other subject      of support       for that opinion .

23   No surveillance s.       No search es .       No seizure s.       No call s

24   in which Ms. Ali is discuss ing sale s.                No other

25   evidence     at all .




                                                                        Page 41
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 42 of 277



 1              With regard    to Count 56 , which is the possession

 2   with intent     to distribute       crack cocaine    on the 16th of

 3   May ' 04.     That involve s, as the court will recall , the

 4   transfer     of item s from Ms. Martin 's house to her

 5   school .     I will simply    submit    my argument    on that and

 6   adopt the argument        made by Mr. Montemarano       with regard

 7   to that count .

 8              THE COURT:     All right .    With regard    to the

 9   motion     of acquittal    for defendant    LaNora Ali, I will

10   deny that motion .        Counsel    for Ms. Ali correct ly point s

11   out that there is a large amount           of circumstantial

12   evidence , and he claims,       as is his right , about the

13   absence     of direct    evidence    in certain   respect s.

14              However , under the very forgivi ng standard          in

15   the Fourth Circuit        of view ing the evidence      in the light

16   most favorable     to the government , whether         a rational

17   trier of fact could find the defendant              guilty , I am

18   required     to take into account       and do take into account

19   both the circumstantial        as well as the direct        evidence ,

20   and the government        is entitle d to the benefit       of all

21   reason able inference s from fact s proven           to those sought

22   to be establish ed .       And while in the case of Ms. Ali

23   there may be a number        of matter s that are prove d by

24   reasonable     inference s, that does not for that reason

25   alone mean that the government 's evidence             is




                                                                    Page 42
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 43 of 277



 1   in sufficient        at this stage .       According ly , I will deny

 2   the motion .

 3             Now , are with we ready for the first defense

 4   witness ?

 5             MR. MARTIN:      Can I     go out and check , Your Honor ?

 6             MS. GREENBERG:          Your Honor , I did alert the

 7   court to some legal issue s that may relate                to Mr.

 8   Martin 's witness es .

 9             THE COURT:       We'll take them up as they come in .

10             MS. GREENBERG:          Yes .

11             THE COURT:       I don't know       what they're    going to

12   say .

13             MR. MARTIN:          Let me go outside     and check , Your

14   Honor .     When I look ed just before          comi ng in here , no

15   one was here yet .

16             THE COURT:       All right .       Well , why don't we take

17   a five -minute        recess   while you do that , and I will ask

18   Ms. Merez to inquire           as to the health     of the jury and

19   bring them in and get them seat ed so we can commence .

20             I will tell the jury that I apologize               for the

21   delay ; it was occasion ed by my plea tak ing a little

22   long er than I anticipate d.              I will tell them that the

23   government     has rested       and we are now moving        into the

24   defense     case .

25             Counsel , do I understand           Mr. Martin   is going to




                                                                      Page 43
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 44 of 277



 1   be the first to proceed          with defense    case ?

 2             MR. MARTIN:      Your Honor , I have three witness es

 3   here .

 4             THE COURT:      I'm not going to go back and fort h

 5   between   defendant s.

 6             MR. MONTEMARANO :       Your Honor , our understanding

 7   was we were going to do exact ly that , but we have

 8   witness es from out of state in my case , and our

 9   intention      -- --

10             THE COURT:      I want to have a complete          flow of

11   witness es .

12             MR. MONTEMARANO :       We're going to     try to do that .

13             THE COURT:      Make sure you're      flow ing .

14             MR. MONTEMARANO :       For example , I have       a witness

15   comi ng in on Tuesday       from Florida .      To get her on and

16   off , we interrupt       Mr. Martin 's .

17             THE COURT:      I understand .     I don't mind

18   interruption s, but I like to have as much as                I can to

19   have one set of witnesses          and another    set of witnesses.

20   There may be one or two out of turn , but so the jury

21   can focus and say , okay , this is the defense               of this

22   defendant .      I don't think     -- I think it 's going to be

23   confusing      people   hopscotch ing back and forth , but so

24   that the jury can give individual ized assessment                that I

25   think you all want , I think they should            know that the




                                                                     Page 44
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 45 of 277



 1   witness es being call ed are being call ed by D efendant               X

 2   and that they can at tribute          that testimony    to the

 3   Defendant     X.

 4             MR. MARTIN:      Right .     As a practical   matter , Your

 5   Honor , that make s sense , but there 's another           side to

 6   that too .     Sometimes , scheduling       -- you know people

 7   have job s and thing s like that , and we don't have --

 8             THE COURT:      No , I understand .     I want to make

 9   certain    that the jury does not get confused            if we

10   hopscotch     back and fort h too much .

11             MS. JOHNSTON:        Your Honor , I know we're late to

12   the jury ,but there 's something          I need to mention       to

13   the court .        I know the court was very generous        with

14   defense    counsel     and permitted    them to get partial

15   transcript s of Mr. Thur man 's testimony ; apparent ly his

16   transcript s have been dispense d out on the street s.

17   Mrs. Thurman        contact ed our office --

18             THE COURT:      On the street ?

19             MS. JOHNSTON:        With individuals    out on the

20   street s, which cause s the government          concern    for the

21   safety    and well -being of not only Mr. Thurm an who , of

22   course , is incarcerate d, but his mother , his

23   girlfriend s, and I believe          he has at least    one child .

24             We don't know how it got out there , but clear ly

25   the government        didn't   dis close it to anyone , and I know




                                                                   Page 45
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 46 of 277



 1   that the court provided          copies    at court expense     to

 2   defense    counsel .    If anything       happen s in term s of any

 3   -- Mr. Thurman     or any of his family         member s, we're

 4   going to have to conduct          an investigation .       I don't

 5   know what the court can do , but there 's no reason                  in

 6   God 's creation    why that transcript         should    have gone

 7   outside    of the parti es in this matter .

 8             MR. MARTIN:        Your Honor , I'm going to state

 9   right up front that I gave the transcript                to one of Mr.

10   Goodwin 's friends .         I thought    this was a public     trial .

11   She asked for a copy of it .             Mr. Goodwin    authorize d me

12   to give it to her , and I did .

13             MS. JOHNSTON:        Your Honor , could we get the name

14   of the individual       who he gave it to ?

15             MR. MARTIN:        I only know her name as Jackie .             I

16   don't know     her last name , but I thought           it was a public

17   trial and anything       that might have been said or heard

18   in this courtroom       --

19             THE COURT:     While this is a public          trial , I

20   don't want to have a situation             where witness es for

21   either    side end up being subject          to harass ment for

22   intimidation     because      of their testimony .       If I

23   authorize    the preparation       of a transcript , I think

24   people    need to be very circumspect          with that and use it

25   as vigorous ly as they can in the defense               of the case ,




                                                                     Page 46
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 47 of 277



 1   but to distribute        it to other people       who might use it

 2   for im proper    purpose s is something         I think we should

 3   watch out for .     So , I'm going to be very care ful on

 4   further    transcript     request s if I can't get a comfort

 5   level that that 's not going to happen .

 6              All right .    Ready for the jury ?       All right ,

 7   bring them in .

 8              MS. JOHNSTON:     Your Honor , can we get an idea of

 9   who the witness es are , and what order ?

10              MR. MARTIN:     Yes .

11              THE COURT:     First witness .

12              MR. MARTIN:     The first witness       will be Mr.

13   Mario Bracke tt.        The second    witness    will be Margaret

14   Battle .    The third witness        will be Mr. Maurice

15   Alexander .

16              THE COURT:     All right .

17              MS. GREENBERG:     Your Honor , not to leave the

18   jury sitting     in the box while we have a bench

19   conference , but I think Mr. Bracket t is , as far as              I

20   understand , being call ed to testify            as to the

21   credibility     of Mr. Smith , and that is the subject           of

22   the government 's legal memoranda .

23              THE COURT:     I'll take that up before       he

24   testifi es .

25              MR. MARTIN:     He 's the first witness .




                                                                   Page 47
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 48 of 277



 1             THE COURT:       First witness ?     What is he going to

 2   testify     to ?

 3             MR. MARTIN:        He is going to testify       to a number

 4   of thing s, Your Honor .           Not only the credibility      of Mr.

 5   Mr. Horace         Smith who , by taking    the witness    stand , put

 6   his credibility         at issue , bu t Mr. Bracket t is also

 7   going to testify         regard ing the fact that he has seen

 8   Horace      Smith deal ing in drug s long before          he met Mr.

 9   Goodwin     and that , most important , as I said , he has an

10   opinion     regard ing his credibility        and know s other

11   people    who know s Mr. Smith and know s what his

12   reputation         is in that community .     We think that that 's

13   very important , because           the government   has essentially

14   made out this case not only with these record ings but

15   also through         the testimony    of people   who have been

16   offered     leniency     by the government .

17             THE COURT:       Well , are you contemplati ng having

18   this witness         offer any specific     instance s of conduct      a

19   witness ?

20             MR. MARTIN:        Yes .   I've asked him that , and he

21   has --

22             THE COURT:       How is that admissible ?

23             MR. MARTIN:        How is that admissible ?

24             THE COURT:       Yes .

25             MR. MARTIN:        Well , Your Honor , to begin with ,




                                                                    Page 48
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 49 of 277



 1   under R ule 60 , the credibility           of a witness    may be

 2   attack ed by any party including            the party call ing the

 3   witness .

 4             THE COURT:       You can impeach     him .    That 's fine .

 5             MR. MARTIN:       And then 608 --

 6             THE COURT:       There 's very specific       limitations      on

 7   your ability     to offer evidence         of specific    instance s of

 8   the conduct     of a witness     for the purpose        of attack ing

 9   --

10             MR. MARTIN:       Well , 608 (a), it seem s to me , would

11   allow him to talk about --

12             THE COURT:       You may call a witness        to the stand

13   and say what is the reputation             of so forth, and       what is

14   your opinion     of the     reputation     of so -and -so for

15   truthfulness , and you can get an answer               out of them .

16   But if you want to go into a specific               instance    about

17   conduct     about the witness     about whom he is testify ing ,

18   you have a pretty         significant     hurdle   to over come

19   because     of 608 (b).     All I can say is,       don't go there

20   unless    you think you 've got         a basis to go there that

21   satisfi es Rule 608 (b) .

22             MR. MARTIN:       Wait a minute .        I want to

23   understand     the court on this .         I thought    that in

24   put ting him on the stand , if he was going to give an

25   opinion     regard ing his own personal        opinion    regard ing




                                                                       Page 49
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 50 of 277



 1   this person 's credibility , I would then have to ask

 2   him , before    asking    him what his opinion     was , what the

 3   basis was for his opinion .        And in asking     him what the

 4   basis is , he would talk about specific           instance s where

 5   this person     prove d to be dis honest    or not truthful .

 6   Now the court is tell ing me that that 's not how they

 7   want me to proceed ?

 8              THE COURT:     I think there 's a significant       issue

 9   if you're going     to call a witness      to the stand and have

10   him give specific        instance s of conduct    of that witness .

11              MS. GREENBERG:     Your Honor , I think it 's even

12   further    than that .     In the Garza case cite d by the

13   government , which is a case from two month s ago , Mr.

14   Mart in has n't provided      the foundation     upon which this

15   witness    can form a re liable    opinion .     He is going     to

16   give his opinion        as to Mr. Smith , and I have heard

17   nothing    about his foundation :      About how he know s him ,

18   what the background        is , how he can offer this opinion .

19              And the second    area of testimony     -- I threw in

20   at the end of the memo the Bynum case , whereas            the

21   court excluded     cross-examination     of an individual        who

22   deni ed sell ing crack cocaine      when the defense      had some

23   evidence    that he did sell crack cocaine .         The Fourth

24   Circuit    specifically     state d that extrinsic    evidence        is

25   in admissible .    That was the second      part of the




                                                                 Page 50
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 51 of 277



 1   proffered     testimony    of Mr. Bracke tt, that he 's going to

 2   testify    that Mr. Smith dealt cocaine        at a time

 3   different     than he testifi ed on his direct         examination .

 4   So , I think both area s are excluded .            I don't   want us

 5   to get into a situation        where there 's a trial within

 6   the trial .     That 's what the advisory      committee      note s

 7   caution , and I think that 's what we're get ting to here .

 8   I've heard nothing        from Mr. Martin    as to this witness '

 9   foundation     for testify ing .

10              MR. MARTIN:     Again Your Honor , as I told the

11   court previous ly :       Mr. Bracke tt know s Mr. Smith .       He

12   know s people    who also know Mr. Smith .          With respect       to

13   specific    instance s of mis conduct .      I don't know      that I

14   have to tell the government           what my direct    examination

15   is going to be .        I've never heard of that before .          I've

16   call ed witness es in other case s who talk ed about

17   credibility     of people    and --

18              THE COURT:     You may call him and ask him , what

19   is your opinion     of the truthfulness       of Mr. X, and he

20   can say , yeah , he 's a liar .        You can do that .      What you

21   can't do is to go into specific           instance s of conduct .

22              MR. MARTIN:     All right .    Fine .

23              THE COURT:     If he says he 's a liar because        he

24   deal s drug s or he deal s drug s on different          date s than

25   he said on the witness        stand , that is going into




                                                                    Page 51
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 52 of 277



 1   specific    conduct .    If you're    going to tell me that the

 2   instance s you want to talk about is he lie d in this

 3   case ; he lie d in that case ; he lie d to me about this ;

 4   he promised     to do thing s he never did it ; he lie s to me

 5   all the time , that 's my basis for an opinion .

 6              MR. MARTIN:    Well , well .

 7              THE COURT:    That 's one thing .      But to say that

 8   he is an un truthful      person    because    he committed   some

 9   crime or was guilty       of some mis conduct      I don't think

10   you can do under 608 (b) .

11              MR. MARTIN:    Well , let 's assume     that the crime

12   involve d an act of di shonesty .

13              THE COURT:    Like perjury ?

14              MR. MARTIN:    Sorry ?

15              THE COURT:    Like perjury ?

16              MR. MARTIN:    No , like robbery .

17              THE COURT:    I don't think     that you can have the

18   person   come in and give testimony           concern ing specific

19   instance s of conduct      --

20              MR. MARTIN:    Well , well .

21              THE COURT:    -- f or the purpose      of attacking     the

22   witness 's -- the witness       who previous ly testifi ed 's

23   character    for truthfulness       other than conviction      of a

24   crime and other than is provided          in Rule 609 .

25              MR. MARTIN:    All right .     Then we may as well




                                                                   Page 52
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 53 of 277



 1   address     the other witness es as well .      I understand     the

 2   court's     admonition , and I will stay clear of that with

 3   respect     to Ms. Battle    and some of the other witness es

 4   who are going to testify         about Mr. Thurman     too , but I'm

 5   still going to ask them their opinion , as I understand

 6   I can do , but I can't ask them about the specific

 7   instance s that lay the basis for that opinion ; is that

 8   correct ?

 9             THE COURT:    Instance s involving      conduct .    Yes ,

10   that 's right .    Conduct     that does not meet the

11   requirement s of Rule 608 or 609 .

12             MR. MARTIN:     Court 's indulgence .

13             MS. JOHNSTON:        Your Honor , if I understand     the

14   court 's -- as I understand         the court 's ruling ,

15   preliminarily , counsel        is going to have to establish          a

16   basis for that opinion         in term s of how long the witness

17   has known the -- how long , for example , Mr. Bracke tt or

18   Ms. Battle     have known Mr. Smith or Mr. Thurman ; how

19   frequent ly they saw them ; what their relationship             was

20   with each other so that there 's a basis for the

21   opinion .     He can't just put him on the stand and say ,

22   do you have an opinion --

23             THE COURT:    No .     You have to have some basis for

24   it .

25             MR. MARTIN:     Exact ly .




                                                                   Page 53
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 54 of 277



 1             MS. JOHNSTON:      At the same time , he 's not going

 2   to be able to ask him , what do you know about their

 3   drug deal ing .

 4             THE COURT:     It cannot     be an opinion   based upon

 5   instance s of conduct       that are prohibited     by 608 , unless

 6   authorize d by 609 .       You can certain ly talk to the -- do

 7   you know this person ?        Have you dealt with them over a

 8   long period    of time ?     Have you asked him to do thing s

 9   and he 's done them ?       The kind of thing s you would go

10   into --

11             MR. MARTIN:      I understand    that , Your Honor , and

12   I had a bunch of predicate s here that I was going to

13   use to establish       that he knew him .     I also understand

14   from the court that I'm not able to go into specific

15   instance s of mis conduct , but I will lay a foundation .

16             THE COURT:     All right .     Ready for the jury ?

17             Okay .   Bring them in .

18                           (Jury returns     at 11 :10 a.m. )

19             THE COURT:     Good morn ing , ladies and gentlemen          .

20   First of all , I want to apologize          to you for the delay

21   in get ting start ed today .      Every piece of bad news has

22   good news with it though .        I understand    you're       well

23   nourish ed that you weren't       wasting    your time not

24   eat ing , so -- but hope fully you're        well fed and can

25   with stand a bit of a stretch          of testimony    now .     The




                                                                     Page 54
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 55 of 277



 1   good news is we have pass ed an important           milestone   in

 2   the case .     The government    has rested .     When the

 3   government rests, I have to handle some procedural

 4   matters which I have disposed of and resolved, and we

 5   are now ready for the defense case.

 6              The first defense    witness   will be call ed by

 7   counsel for     Mr. Goodwin .

 8              Mr. Martin , you may proceed .

 9              MR. MARTIN:    Thank you , Your Honor .

10              Mr. Goodwin   call s Mr. Mario Brackett     to the

11   witness    stand .

12   Thereupon,

13                        ROMERO    ARNEZ BRACKETT ,

14   having been called as a witness on behalf of the

15   Defendant Goodwin    , and having been first duly sworn by

16   the Courtroom Deputy, was examined and testified as

17   follows:

18                            DIRECT EXAMINATION

19              BY MR. MARTIN:

20   Q.         Mr. Brackett , why don't you pull that micro phone

21   closer    to you so that the ladies and gentlemen of the

22   jury can hear you .

23              In a loud and clear voice , would you state your

24   full name    for the jury , and spell your last name for

25   the court reporter , please ?




                                                                  Page 55
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 56 of 277



 1   A.      Romero    Arne z Brackett , B R A C K E T T.

 2   Q.      How old are you now , sir ?

 3   A.      27 .

 4   Q.      Mr. Brackett , let me ask you , have you ever

 5   testifi ed in court before ?

 6   A.      Yes .

 7   Q.      Are you a little      nervous   today ?

 8   A.      I'm okay .

 9   Q.      You're    okay ?

10           Mr. Brackett , do you know Mr. Learley           Reed

11   Goodwin ?

12   A.      No .

13   Q.      Have you ever met him ?

14   A.      No .

15   Q.      Do you know about him ?

16   A.      No .

17   Q.      Do you know other s who know Mr. Learley           Reed

18   Goodwin ?

19   A.      Yes .

20   Q.      Amongst    those who you know who know Learley            Reed

21   Goodwin , is Horace    smith one of them ?

22   A.      Yes .

23   Q.      How do you know Horace       Smith ?

24   A.      He 's my wife 's cousin .

25   Q.      Speak up , sir .




                                                                 Page 56
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 57 of 277



 1              THE COURT:     I could n't hear that .

 2              THE WITNESS:      He 's my wife 's cousin .

 3              BY MR. MARTIN:

 4   Q.         Who is your wife ?

 5   A.         Lakesha    [ph.] Brackett .

 6   Q.         Does she have any other relative s be sides Mr.

 7   Horace     Smith that you know ?

 8   A.         Yes .

 9   Q.         Who ?

10   A.         Raynard    Dorsey .

11   Q.         With respect    to Mr. Horace       Smith and Mr. Raynard

12   Dorsey .     Have you seen them together         at any time ?

13   A.         Yes .

14   Q.         How long have you known Horace          Smith ?

15   A.         Three year s -- three or four year s.

16   Q.         During    the three ore four year s that you have

17   come to know Mr. Horace          Smith , do you have an opinion

18   regard ing his credibility ?          That is , his truthfulness ,

19   his honesty        in term s of tell ing you thing s -- the more

20   important     thing s in life ?

21              MS. GREENBERG:        Objection .

22              Foundation , Your Honor .

23              THE COURT:     Add a little    more foundation , if you

24   would .

25              BY MR. MARTIN:




                                                                  Page 57
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 58 of 277



 1   Q.         Have you ever had occasion          to talk to Mr. Smith

 2   regard ing matter s that were important ?

 3   A.         No .

 4   Q.         Have you ever had occasion          to entrust      or -- this

 5   is going to be hard to do with your admonition , Your

 6   Honor .

 7              Have you ever had occasion          -- have you ever had

 8   occasion     to -- without      talk ing specifically       about any

 9   conduct , have you ever had occasion             to -- court 's

10   indulgence .

11              You knew other s who also knew him ; is that

12   correct ?

13   A.         Yes .

14   Q.         And amongst      those other s who also know him , what

15   is his reputation        amongst    them for truthfulness ?

16              MS. GREENBERG:       Objection .

17              Hearsay .    Foundation .

18              THE COURT:       Over ruled .

19              BY MR. MARTIN:

20   Q.         What is his reputation          with respect   to

21   truthfulness       amongst    those in the community        who know

22   him ?

23   A.         He 's a liar .

24   Q.         Now , you 've come here today , and other than the

25   compensation       that the court paid you for your travel




                                                                      Page 58
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 59 of 277



 1   expense s, do you expect        to get anything   else for comi ng

 2   here today ?

 3   A.        No .

 4   Q.        Are you under subpoena      to appear ?

 5   A.        Yes .

 6             MR. MARTIN :      Your Honor , I have   no further

 7   question s of this witness .

 8             THE COURT:     Cross-examination    ?

 9                            CROSS-EXAMINATION

10             BY MS. GREENBERG:

11   Q.        Good morn ing , sir .    My name is Bonnie Greenberg .

12   I'm with the United       States   -- the prosecution .

13   A.        Good morn ing .

14   Q.        How did you come to get here today , if you don't

15   know Mr. Goodwin ?       How did you come to be asked to be

16   here today ?

17   A.        Somehow    my name was brought     up in something .        I

18   don't know .

19   Q.        Who do you know that know s Mr. Goodwin ?

20   A.        I know Mr. Smith and Mr . Dorsey .

21   Q.        Okay .    Do you know who Mr. Goodwin      is ?

22   A.        No, ma'am .

23   Q.        You keep look ing over here .       Do you recognize

24   anybody    at that table ?

25   A.        No .




                                                                 Page 59
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 60 of 277



 1   Q.         Who did you talk to before      appear ing here today ?

 2   A.         You said , who did I talk to ?

 3   Q.         Yes .

 4   A.         The lawyer .

 5   Q.         Did he tell you how he came to get your name to

 6   come here today ?

 7   A.         He just said my name was brought       up , and that

 8   was it .

 9   Q.         You 've never met Mr. Goodwin ; is that your

10   testimony ?

11   A.         No .

12   Q.         Do you know anything    about his reputation       for

13   truthfulness ?

14   A.         No .

15              MR. MARTIN:     Your Honor , I object .    Mr. Goodwin

16   has n't taken the stand .

17              THE COURT:     Sustained .

18              BY MS. GREENBERG:

19   Q.         You have been involve d in drug deal ing in the

20   past ; correct , sir ?

21   A.         I have one time , yes, ma'am .

22   Q.         You have a charge    in 2004 of distribution       of

23   cocaine     in Washington , D. C; is that correct ?

24   A.         Yes .

25   Q.         You were convict ed of that ?




                                                                 Page 60
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 61 of 277



 1   A.        Yes .

 2   Q.        You also have another        one , attempt ed

 3   distribution       of cocaine   in D. C. in 2005 .

 4             Are you say ing that 's all one case ?

 5   A.        No .     I only have one case in D. C.          I t was in

 6   2005 .

 7   Q.        And you distributed       cocaine ?

 8   A.        No , I didn't .

 9   Q.        You pled guilty       to that , didn't   you ?

10   A.        Yes , I did .

11   Q.        Okay .     You pled guilty    to something       you didn't

12   do ?

13   A.        Yes .

14   Q.        So you went before       the court -- a judge like

15   this -- in the District of          Columbia , a nd they asked you

16   if you did something , and you said you did ?

17   A.        Yes .

18   Q.        And you lie d to the judge when you said you did

19   that ?

20   A.        (No response.)

21   Q.        When you pled guilty , are you say ing you lie d to

22   the judge ?

23             Let me take you back .        You're   in the District of

24   Columbia , and you're       charge d with distributing        cocaine ;

25   right ?    Is that right ?




                                                                     Page 61
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 62 of 277



 1   A.      I think it 's attempt ed distribution         or something

 2   like that .

 3   Q.      Well , it involve d cocaine ; right ?        A drug .

 4   A.      Yes .

 5   Q.      Either   distribution , or attempt ed distribution ;

 6   correct ?

 7   A.      Yes .

 8   Q.      It was   in Washington , D. C. , and you're        charge d

 9   with that ?

10   A.      Yes .

11   Q.      You went to court , a nd you could have chose n to

12   go to a trial or plead guilty ; correct ?

13   A.      Yes .

14   Q.      And you chose to plead guilty .

15   A.      Yes .

16   Q.      Is that a yes ?

17   A.      Yes .

18   Q.      Okay .   You have to be loud so this young lady

19   over here can --

20   A.      Yes .

21   Q.      You got up before      a judge , and the judge read to

22   you the charge ; correct ?

23   A.      Yes .

24   Q.      And you told the judge you did that charge .

25           MR. MONTEMARANO :      Foundation .




                                                                 Page 62
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 63 of 277



 1            THE COURT:         Overr uled .

 2            MR. MONTEMARANO :          Can we be heard at the bench ?

 3            MS. GREENBERG:          Your Honor , I don't think        Mr.

 4   Montemarano     has standing        to object   to this witness .

 5            MR. MONTEMARANO :          Court 's indulgence .       If I

 6   could speak to Mr. Martin            for a moment .

 7            MS. GREENBERG:          I object   to that , Your Honor .

 8            THE COURT:         You can speak to him .

 9            MR. MARTIN:         May we approach , Your Honor ?

10                       (At the bar of the court.)

11            MR. MARTIN:         Your Honor , learn ed counsel        has

12   suggest ed to me that the government              has to make a

13   foundation    before       asking   question s regard ing his plea

14   before   the court .        That being the case , I would ask her

15   to do that before          she goes into specific      question s that

16   she intends     to .

17            THE COURT:         She 's asked him if he plead guilty

18   to a charge     of attempt ed distribution          of cocaine , and

19   he said yes .       She 's simply     inquiring    about his decision

20   to plead guilty .          He says he didn't      do it but he pled

21   guilty   anyway .        I think it 's fair cross -exami nation .

22            MR. MONTEMARANO :          Your Honor , may I?

23            MS. GREENBERG:          I would object     to this .     If I

24   had a witness       --

25            THE COURT:         We're not going to have every single




                                                                      Page 63
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 64 of 277



 1   person    -- you're    all deem ed to join in these --

 2             MS. GREENBERG:      We don't double     team them ; they

 3   should n't double      team us .

 4             THE COURT:     Okay .

 5                           (Back in open court .)

 6             BY MS. GREENBERG:

 7   Q.        Sir , let me take you back here .          You're    in

 8   Washington,       D. C. and y ou're charge d with attempt ed

 9   distribution       of cocaine , a narcotic , a controlled

10   substance ; correct ?

11   A.        Yes .

12   Q.        You appear    before     a judge similar    to the judge

13   here sitting       up on a bench .     Do you recall      that ?

14   A.        Yes .

15   Q.        Pretty    significant     event , isn't it ?

16             That 's a pretty    significant     event in your life .

17   A.        Yes .

18   Q.        And the judge asks you if you're           guilty    or not

19   guilty,    and you say you're        guilty ; correct ?

20   A.        Yes .

21   Q.        And you tell the judge that .

22   A.        Yes .

23   Q.        But here before     this jury , you're      say ing you're

24   not guilty     of that ; i s that correct , sir ?

25   A.        Yes .




                                                                        Page 64
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 65 of 277



 1   Q.        You were also convict ed just last month ; is that

 2   correct   --

 3   A.        No .

 4   Q.        -- in Arlington , Virginia          for failure   to return

 5   property , a theft conviction ?

 6   A.        Yes .

 7   Q.        Okay .   Just to be clear .         You were just

 8   convict ed last month of a theft conviction             of failure

 9   to return      property .

10   A.        Yes .

11   Q.        And you pled guilty         to that , too ?

12   A.        Yes .

13   Q.        Were you guilty       of that one ?

14   A.        Yes .

15             MS. GREENBERG:        Nothing    further , Your Honor .

16             THE COURT:        Re direct ?

17             MR. MARTIN:        Yes .   Thank you , Your Honor .

18                           REDIRECT EXAMINATION

19             BY MR . MARTIN:

20   Q.        Mr. Brackett , how much time were you faci ng in

21   that case where you pled ?           That drug case .

22             MS. GREENBERG:        Objection .

23             THE COURT:        Over ruled .

24             BY MR. MARTIN:

25   Q.        How much time were you faci ng in that case ?




                                                                   Page 65
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 66 of 277



 1   A.        Six to 18 month s.

 2   Q.        Six to 18 month s.     And when you pled , how much

 3   time did you actual ly get ?

 4   A.        I got six month s, and five      year s parole .

 5   Q.        So you got sentence d at the low end of that

 6   range .

 7   A.        Yes .

 8   Q.        With respect    to your other testimony      that you

 9   made in front of the       ladies and gentlemen of the jury

10   today .    Are you fac ing any charge s here at this time ?

11   A.        No .

12   Q.        Have you told them the truth regard ing this

13   matter    today ?

14   A.        Yes .

15             MS. GREENBERG:     Objection .

16             THE COURT:     Over ruled .

17             BY MR. MARTIN:

18   Q.        Are you threaten ed with im prison ment in         this

19   case ?

20   A.        No .

21             MS. GREENBERG:     Objection .

22             Lead ing .

23             THE COURT:     Over ruled .

24             BY MR. MARTIN:

25   Q.        Were you offered     a reduction   in any jail time




                                                                  Page 66
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 67 of 277



 1   that you might get in this case if you didn't                testify

 2   truth fully to my examinatio n?

 3   A.        No .

 4             MS. GREENBERG:      Objection .

 5             He's lead ing again , Your Honor .

 6             THE COURT:      Sustained .

 7             BY MR. MARTIN:

 8   Q.        Have I offered     you anything     in ex change    for your

 9   testimony ?

10   A.        No .

11   Q.        And the failure     to return     that Ms. Green berg

12   just asked you about .        Whose car was that ?

13   A.        It was a rental     car , and the lady who -- the

14   company     we rent ed it from , the lady call ed us and tri ed

15   to sell us the vehicle        -- sell me and my wife the

16   vehicle .     I offered    to buy it , but come to find out the

17   lady didn't       work for the company .

18   Q.        Did you eventually     return     the vehicle ?

19   A.        Yes .

20   Q.        What if any sentence     did you receive      in that

21   case ?

22   A.        None .    I just had to pay a fine .

23             MR. MARTIN:     I have no further     question s of Mr.

24   Brackett .

25             THE COURT:      All right , you may step down .




                                                                    Page 67
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 68 of 277



 1           MS. GREENBERG:        Your Honor , may I brief ly --

 2           THE COURT:        Oh , I'm sorry .

 3

 4           BY MS. GREENBERG:

 5   Q.      Just to be clear :        You pled guilty        to theft ; is

 6   that correct ?

 7           For this case last month , y ou pled guilty              to

 8   theft ; is that correct?

 9   A.      Yes , I pled guilty .

10   Q.      I'd like to show you Miscellaneous               44 .

11   Actual ly , let me get the page before          that .

12           Sir , I'd like to show you this document .               Is

13   this the chart charge        we're talk ing about , the failure

14   to return    property ?

15   A.      Yes .

16   Q.      That was relating       to you -- you lived on Eastern

17   Avenue , Washington , D. C. , and that 's your Social

18   Security    number ?

19   A.      Yes .

20   Q.      And this is your Arlington           County , June 20 , 2006

21   guilty plea; is that correct?

22   A.      Yes .

23   Q.      What was the sentence        im pose d?

24   A.      It says 12 month s.

25   Q.      That was the sentence        that 's reflect ed in the




                                                                     Page 68
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 69 of 277



 1   records ?

 2   A.        Yes .

 3   Q.        And the judge suspend ed that sentence ?

 4   A.        Yes , that 's what it says .

 5   Q.        So it 's correct    you receive d more than a fine .

 6   You got a sentence       of 12 month s?

 7   A.        No .    I just -- I was told to pay $1,500 , which I

 8   did .

 9   Q.        You also got a 12 -month suspend ed sentence ?

10   A.        Mm-hmm .

11   Q.        Maybe you should        check your records , don't you

12   think ?

13             MR. MARTIN:     Object ion .

14             THE COURT:     Sustained .

15             MS. GREENBERG:      For the record , Your Honor ,

16   that 's Miscellaneous      44 .

17             No further    question s.

18                           REDIRECT EXAMINATION

19             BY MR. MARTIN:

20   Q.        Mr. Brackett , did you serve any jail time ?

21   A.        No .

22             MR. MARTIN:     Thank you .

23             I have no further        question s of Mr. Brackett ,

24   Your Honor .

25             THE COURT:     You may step down .      Thank you very




                                                                  Page 69
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 70 of 277



 1   much , Mr. Brackett .

 2                     (Witness      excused   at 11 :26 a.m. )

 3              MR. MARTIN:     Your Honor , if I may just go to the

 4   witness    room and get Ms. Battle .

 5              THE COURT:     Sure .    That 's fine .

 6   THEREUPON,

 7                              MARGARET BATTLE

 8   having been called as a witness on behalf of the

 9   Defendant     Learley    Goodwin, and having been first duly

10   sworn by the Courtroom Deputy, was examined and

11   testified as follows       :

12                            DIRECT EXAMINATION

13         BY MR. MARTIN:

14   Q.         Ms. Battle , there 's a micro phone in front of

15   you , ma'am .     If you would -- either        you can move up

16   toward    that or pull it back toward          you .

17              In a loud and clear voice , I'd like you to

18   state your full name           for the ladies and gentlemen of

19   the jury     and spell your last name for the court

20   reporter .

21   A.         Margaret    Yvonne B attle , B A T T L E.

22   Q.         Ms. Battle    where do you live ?

23   A.         Northeast    Washington .

24   Q.         What is your occupation , ma'am ?

25   A.         Self- employ ed .




                                                                  Page 70
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 71 of 277



 1   Q.      Do you know Mr. Learley        Reed Goodwin ?

 2   A.      Yes .

 3   Q.      How long have you known him ?

 4   A.      About four or five year s.

 5   Q.      What is your relationship        to Mr. Goodwin ?

 6   A.      Strict ly friends .

 7   Q.      Mr. Goodwin , you know , is incarcerate d; right ?

 8   A.      Right .

 9   Q.      Have you spoken with       him since he 's been

10   incarcerate d?

11   A.      Yes .

12   Q.      When was that ?

13   A.      About , oh , two week s ago .

14   Q.      Where did you speak to Mr. Goodwin ?

15   A.      Where they got him at in Marlboro .

16   Q.      In Upper Marlboro ?

17   A.      Mm-hmm .

18   Q.      Ms. Battle , I'm going to ask you some delicate

19   question s here .

20           Do you have a drug habit ?

21   A.      Yes .

22   Q.      How long have you had a drug habit ?

23   A.      For some year s.

24   Q.      What is your drug of choice         or preference ?

25   A.      Cocaine .




                                                                 Page 71
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 72 of 277



 1   Q.       Was there a time when you live d at Anacostia

 2   Road ?

 3   A.       Yes .

 4   Q.       What was the address        that you live d at ?

 5   A.       I forget    the address .

 6   Q.       All right .        Well , with respect    to the build ing

 7   that you live d in .        How many unit s were in that

 8   build ing ?

 9   A.       Four .

10   Q.       Did you live on the first floor , the second

11   floor , the third floor ?

12   A.       The second     floor .

13   Q.       How many floor s did the build ing have ?

14   A.       Two .

15   Q.       How many apartment s are on the second           floor ?

16   A.       Two .

17   Q.       Of those two , which did you live in ?

18   A.       Apartment     3.

19   Q.       As you go up the step s, was that to the left or

20   to the right of the staircase ?

21   A.       To the left .

22   Q.       With respect        to the apartment     on the right .    Who

23   live d in that apartment ?

24   A.       On the right .

25            MS. JOHNSTON:         Objection .




                                                                  Page 72
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 73 of 277



 1             Can we have a time frame , Your Honor ?

 2             BY MR. MARTIN:

 3   Q.        When did you live there ?

 4   A.        About a year or two year s ago .

 5   Q.        Did you have occasion      to either       live there or

 6   visit in the 2001 -2002 time frame ?

 7   A.        Yes .

 8   Q.        Get ting back to my earlier        question .     With

 9   respect     to Apartment    3 and Apartment     4.     When you were

10   living    there , do you recall     who live d in Apartment         4?

11   A.        Yes .

12   Q.        Who live d there ?

13   A.        Richard    and Tiffany,   and who else was there ?

14   Q.        You said Richard     and you said Tiffany .           Do you

15   know Tiffany 's last name ?

16   A.        Vessel .

17   Q.        Do you know a gentleman         by the name of Michael

18   Thurman ?

19   A.        Yes .

20   Q.        Tell the ladies and gentlemen of the jury                where

21   if any place you 've ever seen Michael              Thurman ?

22   A.        At the shop , and at the apartment .

23   Q.        When you say "the apartment ," are you talk ing

24   about the apartment        on Anacostia    Road ?

25   A.        Yes .




                                                                     Page 73
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 74 of 277



 1   Q.        Was he in your apartment ?

 2   A.        The one I was stay ing in .

 3   Q.        In Apartment     3?

 4   A.        Mm-hmm .

 5   Q.        Did you ever have occasion        to see Mr. Michael

 6   Thurman    in Apartment    4?

 7   A.        Yes .

 8   Q.        Ms. Battle , you told me that -- and you told the

 9   ladies and gentlemen of the jury           that you have a drug

10   habit , and you've      had one for some time ; corr ect?

11   A.        Right .

12   Q.        Have you ever seen Michael        Thurman   with drug s in

13   Apartment    4?

14   A.        Yes .

15   Q.        On those occasion s that you 'v e seen him with

16   drug s, who else was there ?

17   A.        Me , Tiffany , and I can't recollect        who else was

18   there .

19   Q.        Do you have any idea how Mr. Thurman          got those

20   drug s?

21   A.        No .

22   Q.        During     the time when you had drug s in that

23   apartment , was Mr. Goodwin       ever there ?

24   A.        No .    I never seen him there .     He was always    on

25   the road taking       care of business .




                                                                 Page 74
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 75 of 277



 1   Q.        What about -- you said you've           also been down to

 2   the shop .       Where is the shop ?

 3   A.        It 's right there on Florida         Avenue .

 4   Q.        Why would you go down to the shop ?

 5   A.        Me ?

 6   Q.        Yes , you .

 7   A.        I us ed to live there at the shop before               I got

 8   move d in that apartment .

 9   Q.        Before    you move d in the apartment , who would be

10   at the shop ?

11   A.        Everybody       was there that work ed there , and

12   Michael     Thurman   was .    He was suppose d to have been

13   work ing but he was work ing on other thing s.

14   Q.        You said he was suppose d to be work ing .              What

15   was your understand ing that Michael             Thurman   was

16   suppose d to be do ing at the shop ?

17   A.        De tail ing .

18             MS. JOHNSTON:        Objection .

19             THE COURT:        What's   the --

20             MS. JOHNSTON:        Basis and knowledge .

21             THE COURT:        Lay a foundation     for her knowledge

22   of that .

23             BY MR. MARTIN:

24   Q.        How often would you go to the shop ?

25   A.        Are you talking       about M ichael    Thurman ?




                                                                      Page 75
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 76 of 277



 1   Q.         No .     How often would you go to the shop ?

 2   A.         I use d to stay there .

 3   Q.         How do you know Michael            Thurman   work ed there ?

 4   A.         I use d to stay there .

 5   Q.         Is it your testimony         that you knew who the

 6   employee s were ?

 7   A.         Yes .

 8   Q.         Who employ ed Mr. Thurman           to work there ?

 9   A.         Mr. Goody .

10   Q.         Aside from Michael         Thurman , who else work ed

11   there ?

12   A.         Robert     Day , Maurice    Lovell           --

13   Q.         Do know anybody         else who work ed there ?

14   A.         No .     I don't know     the Spanish    boy .

15   Q.         The Spanish     boy ?     Now , let me ask you about

16   Michael     Jackson .     Do you know him ?

17   A.         Yeah .     He work ed there .

18   Q.         What did Michael         Jackson    do at the shop ?

19   A.         Paperwork , main ly .

20   Q.         While you were at the shop , did you see any drug

21   activity     there ?

22   A.         Yeah .

23   Q.         Who did you see engage d in drug activity              at the

24   shop on Florida         Avenue ?

25   A.         People     was comi ng to Michael .




                                                                       Page 76
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 77 of 277



 1   Q.        Now , you said people    were comi ng to see Michael .

 2   The people     who were comi ng to see Michael      at the shop ,

 3   would that be at a time when Mr. Goodwin           was there ?

 4   A.        Whether    he was there or not they was comi ng to

 5   see him .

 6   Q.        I'm talk ing about Mr. Goodwin .       When Mr. Goodwin

 7   was there , were people      comi ng --

 8   A.        Yeah .

 9   Q.        -- to see Michael     Thurman ?

10             When those people     would come to the shop to see

11   Michael     Thurman , where would they get their drug s?

12   A.        From Michael .

13   Q.        No , but where ?

14   A.        From the outside .     On the outside , in the yard .

15   Q.        When Mr. Goodwin     would come to the shop , where

16   would he be ?

17   A.        In the office .

18   Q.        I may have    asked you before     -- my memory   isn't

19   what it use d to be -- how long have you known Michael

20   Thurman ?

21   A.        For about four or five year s.        About the same .

22   Q.        During    that four or five year period      of time ,

23   have you come to form an opinion          as to his honesty ?

24             In other words     his credibility , his speak ing the

25   truth about more important        thing s?




                                                                 Page 77
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 78 of 277



 1   A.         No .

 2   Q.         You don't have an opinion         regard ing that ?

 3   A.         No .

 4   Q.         Do you know other people         who know Michael

 5   Thurman ?

 6   A.         Yes , I do .

 7   Q.         Do you know whether        he has a reputation    amongst

 8   them for being truthful ?

 9   A.         No .

10   Q.         No , you don't know or no --

11   A.         I don't know .

12   Q.         You don't know ?

13              Okay .    I have no further      question s of Ms.

14   Battle .

15              THE COURT:      Cross-examination       .

16              MS. JOHNSTON:      Just a few question s.

17                              CROSS-EXAMINATION

18              BY MS . JOHNSTON:

19   Q.         Ms. Battle     you're    self- employ ed ?

20   A.         Yes .

21   Q.         What do you do ?

22   A.         I sell    antique s.

23   Q.         Antique    furniture ?     Antique s?

24   A.         Yes .

25   Q.         Have you made -- you've         made a living   do ing




                                                                     Page 78
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 79 of 277



 1   other thing s as well ; isn't that correct ?

 2   A.       Yes .

 3   Q.       How else have you made your liv ing ?

 4   A.       I use d to hustle     back in the day , back in the

 5   '80s .

 6   Q.       When you s ay you use d to hustle , do you mean

 7   sell ing drug s or engagi ng in prostitution ?

 8   A.       Yes .

 9   Q.       Sell ing drug s?

10   A.       Right .

11   Q.       Have you also engage d in prostitution            as a mean s

12   to support   yourself ?

13   A.       Right .

14   Q.       When was the las t -- prior to comi ng to court

15   here today , when was the last time you use d cocaine ?

16   A.       Last time I use d it ?         Probably   night before

17   last .

18   Q.       Excuse    me ?

19   A.       Probably    the other night .

20   Q.       What night was that ?

21   A.       What's    today ?   Sunday .

22   Q.       Was that crack cocaine          that you use d?

23   A.       Yes , it was .

24   Q.       How often do you use crack cocaine ?

25   A.       Whenever    I feel like it .




                                                                   Page 79
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 80 of 277



 1   Q.        Are you under the influence               of crack cocaine    now

 2   as you sit here in court ?

 3   A.        Excuse     me ?

 4   Q.        Are you under the influence               of crack here in

 5   court ?

 6   A.        No , I'm not .

 7   Q.        No ?    But you use d it within           the last few day s;

 8   is that correct ?

 9   A.        I haven't         use d it since Sunday .

10   Q.        And you use it whenever            you feel like it ; is

11   that correct ?

12   A.        That 's true .

13   Q.        And you're         here today because          you had a

14   conversation       with Mr. Goodwin ; is that correct ?

15   A.        Yes .

16   Q.        You went to see him at the jail ; is that right ?

17   A.        Yes .     We're friends       -- old -time friends .

18   Q.        You've     been friends       with Mr. Goodwin        for ?

19   A.        Four or five year s.

20   Q.        Four or fife year s?

21   A.        Right .

22   Q.        When you first -- how did you first meet him ?

23   A.        I met him through         Robert       day .

24   Q.        Excuse     my ?     Through   whom ?

25   A.        I met him through         Robert       Day .




                                                                          Page 80
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 81 of 277



 1   Q.         Robert    Day is the individual      whom you said was

 2   living    in one of Mr. Goody 's apartment s in the build ing

 3   over on ; is that correct ?

 4   A.         Yes .

 5   Q.         And Robert      Day was in the apart ment with Ms.

 6   Vessels;     is that correct ?

 7   A.         Yes .

 8   Q.         You stay ed in another        one of Mr. Goodwin 's

 9   apartment s there ; is that correct ?

10   A.         Yes .

11   Q.         While you were living         there living   in Mr.

12   Goodwin 's apartment , you were engage d in using crack

13   cocaine     then , weren't     you ?

14   A.         Yes , I was .

15   Q.         You've    use d it fair ly regular ly for how many

16   year s now ?

17   A.         For about five -- five or six year s.

18   Q.         An d Mr . Goodwin    would come to that apartment

19   build ing fair ly frequently           over on Anacostia   while you

20   were liv ing there ; isn't that correct ?

21   A.         Yes .

22   Q.         You would see him both in your apartment              and in

23   the apartment       that you said that Robert       Day an d Ms .

24   Vessel s live d in ; isn't that correct ?

25   A.         No .    Robert D ay stay ed with me .




                                                                      Page 81
          Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 82 of 277



 1   Q.          Robert    Day stay ed with you ?

 2   A.          In the apart ment I was stay ing in , which was

 3   Apartment 3 .

 4   Q.          The other apart ment Ms. Vessel s stay ed in ?

 5   A.          It's across     the hall .

 6   Q.          Across the hall on the second          floor ?

 7   A.          Yes .

 8   Q.          This building     is own ed by Mr. Goodwin ; isn't

 9   that right ?

10   A.          Yes .

11   Q.          Did you have to pay rent to Mr. Goodwin , or did

12   you provide         service s to him instead     of pay ing rent ?

13   A.          I paid rent .

14   Q.          Did you also provide         service s to him ?

15   A.          No , I didn't .

16   Q.          Ms. Vessel s living     across the hall from you .

17   Have you seen -- you saw Mr. Goodwin              in that apartment

18   as   well as your apartment ; isn't that correct ?

19   A.          That 's right .

20   Q.          In both your -- in your apartment          -- you would

21   smoke crack cocaine         in your apartment;       isn't that

22   correct?

23   A.          I smoke d in my house , yeah .

24   Q.          And Ms. Vessel s would .        She smoke crack cocaine

25   in her apartment ?




                                                                     Page 82
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 83 of 277



 1   A.         I don't even know if Ms. Vessel s smoke d cocaine .

 2   I never said she did .

 3   Q.         You don't know if she smoke d crack ?

 4   A.         Right .

 5   Q.         Have you ever been in that apartment        where Ms.

 6   Vessel s was ?

 7   A.         Yes .

 8   Q.         Have you seen crack cocaine       in that apartment ?

 9   A.         Yes .

10   Q.         Have you seen contain er s that have false bottom s

11   in it where they kept the crack cocaine ?

12   A.         No , I haven't .

13   Q.         You didn't      seen any of those ?

14   A.         No .

15   Q.         Have you purchase d cocaine     out of the apartment

16   where Ms. Vessel s was living ?

17   A.         Yes , I did .

18   Q.         When you purchase d that crack cocaine , you would

19   purchase     $10 , $20 a rock s at the time ; is that correct ?

20   A.         Yes .

21   Q.         And sometimes      when you went into that apartment ,

22   would you buy a working          $50 so that you could sell some

23   of the crack and use some of that ?

24   A.         Mm-hmm .

25   Q.         You have to say yes or no .




                                                                 Page 83
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 84 of 277



 1   A.         Yes , yes , yes .

 2   Q.         Thank you .

 3              So , you would use some and sell some of the

 4   crack ; is that correct ?

 5   A.         Right .

 6   Q.         Was it before       or after you live d at Anacostia

 7   Road that you stay ed at Lobo 's , Mr. Goodwin 's other

 8   business ?

 9   A.         It was before .

10   Q.         So , you stay ed at -- do you recall         whether    you

11   were living        at Anacostia   R oad in 2002 when a search

12   warrant     was executed    at the other apartment       on the

13   second    floor ?     Were you living    there then ?

14   A.         No .

15   Q.         Okay .

16   A.         Well , yeah .   I was there when they came there .

17   Q.         When the FBI came there --

18   A.         Yes .

19   Q.         -- a nd search ed ?

20   A.         Right .

21   Q.         And they seize d drug s and paraphernalia .            You

22   remember     that ?

23   A.         Right .

24   Q.         And that was back when Mr. Goodwin           own ed that

25   apartment ; is that right ?




                                                                   Page 84
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 85 of 277



 1   A.         Right .

 2   Q.         And when he would come to see you sometimes ; is

 3   that right ?

 4   A.         Right .

 5   Q.         Mr. Thurman      was n't there when the FBI came and

 6   executed     --

 7   A.         He was n't in the apartment .          All of them went to

 8   the shop .        Thurman   stay ed in the apart ment that I was

 9   stay ing in .       It was me , him and Robert       Day .   I was the

10   only one in the apartment           when they came in there .

11   Q.         Mr. Thurman      sometimes    stay ed in your apartment ?

12   A.         No .     He stay ed in the apartment .

13   Q.         In the apartment        with you ?

14   A.         Right .     Apartment    3.

15   Q.         Okay .     And the search     warrant .   Was that at the

16   other apartment         across   the hall ?

17   A.         Right .

18   Q.         Did you know Mr. Goodwin           was Ms. Vessel 's

19   boyfriend ?

20   A.         Yes , I did .

21   Q.         Had you seen Mr. Goodwin           with Ms. Vessel s on a

22   number   of occasion s?

23   A.         Yes .

24   Q.         More recent ly , right before         his arrest ?

25   A.         Right .




                                                                     Page 85
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 86 of 277



 1   Q.      Would you see Mr. Goodwin          with Ms. Vessel s over

 2   at Anacostia     Road right before      he got arrested ?

 3   A.      Yes .

 4   Q.      Were you get ting drug s at that -- were you using

 5   drug s back in 2004 , right before        Mr. Goodwin   got

 6   arrested ?

 7   A.      Right .

 8   Q.      You were buy ing little         tiny quantiti es ; is that

 9   correct ?

10   A.      Right .

11   Q.      And back in 2004 , when you were buy ing drug s,

12   were you buy ing some to sell at that time ?

13   A.      Yes , I was .

14   Q.      What was the largest       quantity    you would buy when

15   you were buy ing drug s to use and to sell?

16           MR. MARTIN:       Objection .

17           Irrelevant .

18           THE COURT:       Over ruled .

19           THE WITNESS:       Maybe a half .

20           BY MS. JOHNSTON:

21   Q.      Excuse    me ?

22   A.      Maybe a half , or maybe two ounce .

23   Q.      That would be the most you would buy ?

24   A.      Yes .

25   Q.      What would you usually          buy back in 2004 , right




                                                                   Page 86
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 87 of 277



 1   before    Mr. Goodwin     got arrested ?

 2   A.        I don't know .

 3   Q.        You were     buy ing some to sell and keep ing some to

 4   use out of what you bought ?

 5   A.        I was buy ing to sell and stuff for myself .

 6   Q.        But you would buy one of quantity , am I correct ?

 7   A.        Mm-hmm .

 8   Q.        You would take some of that and sell it ; is that

 9   right ?

10   A.        Right .

11   Q.        And then you would keep the rest to use .

12   A.        Right .

13   Q.        And sometimes     you would buy -- would it be safe

14   to say that sometimes        you would buy an eight ball to do

15   that ?

16   A.        Mm-hmm .

17   Q.        You have to say yes or no for the report er.

18   A.        Yes .

19   Q.        And sometimes     even less than an eight ball ; is

20   that correct ?

21   A.        Yes .

22   Q.        Tell the ladies and gentlemen        what a work ing 50

23   is .

24   A.        I really     don't know .

25   Q.        Okay .     Well , did you ever spend $50 to buy some




                                                                  Page 87
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 88 of 277



 1   crack ?

 2   A.        Yes , I did .

 3   Q.        What would you do when you bought        the $50 worth

 4   of crack ?

 5   A.        I could show it to you so that you could see it .

 6   Q.        You would show it to me ?

 7   A.        I would have to if you want ed to know .

 8   Q.        Okay .     You bought    $50 worth of crack .     What

 9   would you do with the $50 worth of crack ?

10   A.        I use d it .

11   Q.        Did you sell some of the $50 that you bought ?

12   A.        Maybe .     Dep ends .

13   Q.        So , sometimes     you would buy $50 worth of crack ,

14   keep some , use it and sell some of that ; is that

15   correct ?

16   A.        Mm-hmm .

17   Q.        You didn't      need a scale to weigh that when you

18   were sell ing that , did you ?

19   A.        No , I didn't .

20   Q.        You didn't      need to plastic   it up in plastic       bag s

21   when you were sell ing it .

22   A.        No .

23   Q.        You would just show it to the person            and sell

24   them whatever       piece s you broke off ; right ?

25   A.        Right .




                                                                  Page 88
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 89 of 277



 1   Q.      Sometimes     you would spend $100 to do the same

 2   thing ; is that correct ?

 3   A.      Yes .

 4           What is the point , though ?

 5   Q.      Please     be patient   with me , Ms. Battle .     I won't

 6   go too much long er with you .

 7           Now , you also mention ed that you live d at

 8   Lobo 's ; is that correct ?

 9   A.      Right .

10   Q.      And Mr. Goodwin     own ed Lobo 's ; is that right ?

11   A.      Mm-hmm .

12   Q.      And Mr. Lobo would be there fair ly regular ly ; is

13   that correct ?

14   A.      Yes , he would .

15   Q.      Did you pay him rent to stay at Lobo 's ?

16   A.      No .

17   Q.      He let you stay there ?

18   A.      Until I got a place .

19   Q.      Until you got a place ?

20           While you were stay ing there , you were buy ing

21   crack cocaine     and smoki ng it ; correct ?

22   A.      Yes , I was .

23   Q.      And buy ing crack and sell ing it ; is that

24   correct ?

25   A.      Right .




                                                                 Page 89
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 90 of 277



 1   Q.      Mr. Thurman       and other individuals      were sell ing

 2   crack cocaine     right   there on the garage     lot ; isn't that

 3   correct ?

 4   A.      Mm-hmm .

 5   Q.      And they were sell ing $20 rock s, $50 rock s; is

 6   that correct ?

 7   A.      Yeah .

 8   Q.      Okay .     So you would see them out there sell ing

 9   the rock s, and sometimes       you bought   from them as well

10   isn't ; is that correct ?

11   A.      Right .

12   Q.      You could tell what they were do ing when you saw

13   them out there , could n't you ?

14   A.      Yeah .

15           MS. JOHNSTON:        Court 's indulgence .

16           I have     nothing   further .

17           THE COURT:        Any re direct ?

18                         REDIRECT EXAMINATION

19           BY MR. MARTIN:

20   Q.      When you bought       drug s at Lobo 's , who did you buy

21   it from ?

22   A.      From Michael       Thurman .

23   Q.      When you bought       the drug s from Michael     Thurman ,

24   where was Mr. Goodwin ?

25   A.      I don't know .       He was n't there .




                                                                 Page 90
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 91 of 277



 1             MR. MARTIN:       I have no further        question s, Your

 2   Honor .

 3             THE COURT:     All right .        Any further    re cross ?

 4             MS. JOHNSTON:         No, sir .

 5             THE COURT:     All right .        You may step down .

 6   Thank you very much , ma'am .

 7                    (Witness       excused     at 11 :46   a.m. )

 8             MR. MARTIN:       The next witness , Your H onor , is

 9   Mr. Maurice Alexander       .

10   Thereupon,

11                           MAURICE ALEXANDER        ,

12   having been called as a witness on behalf of the

13   Defendant    Learley    Goodwin,     and having been first duly

14   sworn by the Courtroom Deputy, was examined and

15   testified as follows:

16                           DIRECT EXAMINATION

17             BY MR. MARTIN:

18   Q.        Good morn ing , Mr. Alexander .

19   A.        Good morn ing .       How are you ?

20   Q.        I'm do ing fine , thank you , sir .

21             In a loud and clear voice , would you state your

22   full name    for the ladies and gentlemen of the jury              , and

23   spell your last name for the court reporter                 please ?

24   A.        My name is Maurice        August us Alexander .        The last

25   name is spell ed A L E X A N D E R.




                                                                      Page 91
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 92 of 277



 1   Q.       Where do you live, Mr. Alexander ?

 2   A.       1353 Maryland     Avenue , Northeast , Washington , D.

 3   C. , ZIP Code    20002 .

 4   Q.       What is your occupation , sir ?

 5   A.       I work for the Agriculture        Department .

 6   Q.       Mr. Alexander , do you know Mr. Goodwin ?

 7   A.       Yes , I do .

 8   Q.       Would you tell the ladies and gentlemen of the

 9   jury how it is that you know Learley            Reed Goodwin ?

10   A.       I think it was about two year s ago I use d to buy

11   cigar s from Mr. Goodwin , and we also took neighborhood

12   kids out for extracurricular         activities .

13   Q.       You said that you use d to buy cigar s from Mr.

14   Goodwin .   You're   a cigar smoker , I take it .

15   A.       Well , I manage d to stop smoki ng about a year

16   ago .

17   Q.       These cigar s that you would buy from Mr.

18   Goodwin .   Was it a particular       brand ?

19   A.       Yes .

20   Q.       What was the brand ?

21   A.       They were from Cuba .       Cub an cigar s.

22   Q.       Cub an cigar s?    Do you know the brand name ?

23   A.       Not particular ly .

24   Q.       Have you any idea where Mr. Goodwin           use d to get

25   these cigar s from ?




                                                                  Page 92
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 93 of 277



 1   A.        No .

 2   Q.        When you would buy cigar s from Mr. Goodwin , how

 3   many would you buy at one time ?

 4   A.        Twelve and        24 .

 5   Q.        How much would you buy them for ?

 6   A.        $5 a piece .

 7   Q.        What would you do with them ?

 8   A.        Re sell them .

 9   Q.        Did you make a profit ?

10   A.        Yeah .

11   Q.        Now , the Cub an cigar s that you would buy from

12   Mr. Goodwin       -- let me ask you :   How were they wrap ped ?

13   A.        In bulk , as if they was maybe -- they could have

14   been re wrap ped , but when I get them they would be a

15   package    based on what I request ed .      If I want ed 18 ,

16   there would be 18 wrap ped in , like , Saran Wrap .          If it

17   was 24 , it would be wrap ped .

18   Q.        You don't know if they were in the original

19   wrapper s or not ?

20   A.        No , I do not .

21   Q.        Have you ever been over to Mr. Goodwin 's place

22   on Florida       Avenue ?

23   A.        Yes .    It 's a few block s from where I live .

24   Q.        When you went over to Mr. Goodwin 's place , would

25   you go there alone or would you go with someone             else ?




                                                                 Page 93
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 94 of 277



 1   A.      I would go alone .

 2   Q.      When you would go there ,who would you be

 3   look ing for ?

 4   A.      Mr. Goodwin .

 5   Q.      During     the occasion s that you came or went over

 6   to Lobo 's , would you see other people        there ?

 7   A.      Yeah .

 8   Q.      Did you social ize with them ?

 9   A.      No .     There was no one that I knew personally .

10   Q.      I'm sorry , sir ?

11   A.      No .     There was no people    that I knew personal .

12   Q.      Were they the type of people         that you would

13   social ize with ?

14   A.      No .     No , not really .

15   Q.      Did you see any illegal        activity   there when you

16   were there ?

17   A.      What do you call illegal ?        I mean , people     would

18   be fix ing car s and they would be deal ing with client s

19   comi ng in to get their car s fix ed , that sort of stuff .

20   Q.      When you would go over to Lobo 's , would there

21   ever been an occasion       when you would be there with Mr.

22   Goodwin ?

23   A.      Yeah .

24   Q.      And when there with Mr. Goodwin , did you have

25   any occasion     to see any illegal    activity ?




                                                                 Page 94
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 95 of 277



 1   A.        No .    Never .

 2   Q.        Now , you said you knew Mr. Goodwin .             Have you

 3   had occasion      to speak with Mr. Goodwin            since June of

 4   2004 ?

 5   A.        No .    I think -- well , maybe -- yeah , I think I

 6   vi sited him .      Yes , I did , about a year ago .

 7   Q.        Where did you visit him ?

 8   A.        This was at the detention           center    in Upper

 9   Marlboro .

10   Q.        How many time s did you visit him there ?

11   A.        I think it was twice .

12   Q.        Have you had occasion           to talk to him on the

13   phone ?

14   A.        Yes .

15   Q.        On t hose occasion s when you've         talk ed to him on

16   the phone , what did you talk about ?

17   A.        Well , it was usually      he --

18             MS. GREENBERG:        Objection .

19             Hearsay , Your Honor .

20             THE COURT:        Sustained .

21             MR. MARTIN:        I withdraw     the question , Your

22   Honor .

23             I have no further       question s for Mr. Alex ander.

24             Your witness .

25             THE COURT:        All right .     Cross-examination      .




                                                                        Page 95
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 96 of 277



 1                            CROSS-EXAMINATION

 2              BY MS. GREENBERG:

 3   Q.         Good morn ing , sir .

 4   A.         Good morn ing .

 5   Q.         How long have you known Mr . Goodwin ?

 6   A.         Maybe three to four year s.

 7   Q.         So if this is 2006 , you're           say ing 2002 -2003 ?

 8   A.         Yeah .   That sounds       --

 9   Q.         How did you meet him ?

10   A.         Well , I use d to run a program          that required       us

11   to take kids in our neighborhood , like , on picnic s, to

12   beaches,     and give them some extracurricular             activity .

13   And because       he was in charge         of the auto mechanic

14   place , he seem ed always       to have access        to a mini bus or

15   bus , an d he would actual ly help me drive these

16   children , because      we -- it was pretty          difficult    to get

17   men .

18   Q.         Did you ever have any connection             with car rental

19   place s yourself ?

20   A.         Car rent al places      myself ?

21   Q.         Did you ever work at one or anything             like that ?

22   A.         No .

23   Q.         What 's your position           with the Department    of

24   Agriculture ?

25   A.         I do contract     work .        Employ ment contract   work .




                                                                       Page 96
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 97 of 277



 1   Q.       How long have you work ed at the Department               of

 2   Agriculture ?

 3   A.       About two year s.

 4   Q.       So , that was after you met Mr. Goody that you

 5   start ed work ing there -- Mr. Goodwin ?

 6   A.       Yeah .   Before     then I was with the Labor

 7   Department .

 8   Q.       You're   a government         employee ?

 9   A.       Yeah .   Let me just say , I'm a government

10   contractor .

11   Q.       Government       contractor .

12   A.       Yeah .

13   Q.       Show ing you Goodwin          6   If you could look up on

14   your screen     there .

15            Do you see your name there , "Maurice Alexander                ?"

16   That 's you ; right ?

17   A.       Where are you look ing ?

18   Q.       Right here .       (Indicating.)

19            Do you want me to come bring the document             up to

20   you ?

21   A.       Yeah , I can see .

22            MS. GREENBERG:            May I approach , Your Honor ?

23            THE COURT:        Yes .

24            BY MS. GREENBERG:

25   Q.       It 's Goodwin      6, Your Honor , previous ly




                                                                  Page 97
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 98 of 277



 1   introduced      into evidence .

 2            Do you see that there , Goodwin           6?   That 's you as

 3   the rent er .

 4   A.       Okay .     Okay , yes .

 5   Q.       September     14 , 2005 .

 6   A.       Yeah .

 7   Q.       This is from Budget Rent -A -C ar --

 8   A.       Mm-hmm .

 9   Q.       -- Massachusetts          Avenue ?

10   A.       Oh , yeah .    Union Station .

11   Q.       This is a car that you rent ed ?

12   A.       Yes .

13   Q.       And this was for Mr. Goodwin ?

14   A.       It could have been .          I don't know .    Yeah , but

15   that could -- yeah .        Again , like I said , he would

16   always   be responsible      for get ting us vehicle s,

17   something    to drive people        around    -- the kids around .

18   That was the other part of our relationship .

19   Q.       This was a vehicle          rent ed at Union Station ; is

20   that correct ?

21   A.       Yes .

22   Q.       It was $21 .99 a day?

23            Here .     Let me put it up on the screen .

24   A.       I'm not disputing          the price for two year s ago .

25   Q.       Court 's indulgence .




                                                                   Page 98
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 99 of 277



 1            I referred     you here to Union Station .        Do you

 2   see that ?    I'm going the try to zoom in as close as I

 3   can .

 4            If you can look on your little          screen   there .

 5   "Union Station ?"

 6   A.       Yes .

 7   Q.       And this due date is 2-27 -93 .         Do you see that ?

 8   I'm sorry .      It's 2 -27 -03.

 9   A.       Okay .     Yeah , I see that .

10   Q.       Do you see that ?

11   A.       Uh-huh .

12   Q.       That car was rent ed for $21 .99 a day ?

13   A.       Yeah , I see the figure s.

14   Q.       And $8 for insurance ?

15   A.       I see the figure s.

16   Q.       And $7 .99 tax for $87.98 a day ?

17   A.       Yes .

18   Q.       To you ; is that     correct ?

19   A.       Yes .

20   Q.       Did you pay for this car ?

21   A.       Partial ly .

22   Q.       How much did you pay for this car ?

23   A.       Maybe about half .

24   Q.       How long did you typically        rent the car for the

25   kids around      the neighborhood ?




                                                                  Page 99
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 100 of 277



 1   A.      We would usually        try to -- we would end up

 2   keep ing the vehicle     on average    of a week .

 3   Q.      One week ?

 4   A.      Yeah , on average .

 5   Q.      Who paid the rest of the $1,098 due ?

 6   A.      I work ed with a group call ed CURE, and --

 7   Q.      I'm sorry , sir .

 8   A.      I work ed --

 9   Q.      Answer    my question .     Who did you --

10           MR. MONTEMARANO :        Objection , Your Honor .

11           MR. MARTIN:      He 's try ing to answer     the question ,

12   Your Honor .     Objection .

13           THE COURT:      Over ruled .

14           BY MS. GREENBERG:

15   Q.      Who paid the rest of this money ?

16   A.      The organization        I work ed for that sponsored      it .

17   Q.      There were late charge s as part of that , is that

18   correct , reflect ed on this ?

19   A.      Yeah .

20   Q.      Do you know Mr. Irby ?

21   A.      Mr. Irby ?

22           MR. MARTIN:      Objection .

23           Beyond    the scope .

24           THE COURT:      Sustained .

25           BY MS. GREENBERG:




                                                                 Page 100
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 101 of 277



 1   Q.        Did y ou rent any other vehicle s for anybody

 2   associate d with Mr. Goodwin        be sides the Budget

 3   Rent-A-Car       that we saw in Goodwin     6?

 4             MR. MARTIN:      Again , objection .

 5             Beyond    the scope .

 6             THE COURT:      Over ruled .

 7             THE WITNESS:      What was the question ?

 8             BY MS. GREENBERG:

 9   Q.        Did you rent any other vehicle s for anyone              else

10   associate d with Mr. Goodwin        be sides what we saw here in

11   the Budget Rent-A-Car ?

12   A.        I'm not sure .

13   Q.        Do you know Mr. Irby ?

14   A.        No .

15             MR. MARTIN:      Objection .

16             THE COURT:      Over ruled .

17             MS. GREENBERG:      May I have the next

18   miscellaneous       number , please ?

19             Your Honor , with the court 's indulgence          - I

20   understand       I might be duplicati ng something     that 's

21   already    in evidence    and I don't     want to add to the

22   jury 's paper load .      So , if we could --

23             MR. MARTIN:      Objection     to the comment s.

24             THE COURT:      All right .

25             MS. GREENBERG:      To get the absolute     exhibit , and




                                                                  Page 101
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 102 of 277



 1   I won't use Miscellaneous         45 if we can locate       it .

 2           I withdraw the M iscellaneous        number , Your Honor ,

 3   and I'm going to draw counsel         and the witness       to

 4   Oglethorpe     31 .

 5           MR. MCKNETT :     What is that again ?

 6           MS. GREENBERG:       Oglethorpe    31 .

 7           MR. MARTIN:      Can I see that ?

 8           BY MS. GREENBERG:

 9   Q.      Put ting Page 2 of that document            on the screen .

10   Again , this is Oglethorpe 31 .
11           Sir , do you see that date August            30 , 2003 ?

12   A.      Yes .

13   Q.      That 's address ed to you ?

14   A.      Mm-hmm .

15   Q.      Is that your address ?

16   A.      Yes .

17   Q.      And this is -- this is from you ; is that

18   correct ?

19   A.      Yes .

20   Q.      To manage ment at Rental -A-W reck ?

21   A.      Yes.

22   Q.      Or what happens      it 's a typo.        Rent -A-W reck , 1101

23   West Broad Street , Fall s Church , Virginia ; is that

24   correct ?

25   A.      Yes .




                                                                   Page 102
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 103 of 277



 1   Q.      This is a letter        in which you indicate        that you

 2   got full coverage     for the auto insurance           for rent ing a

 3   car from Rental -A-W reck a few week s ago .            So , that

 4   would be in August        2003 ; is that correct ?

 5   A.      I'm not sure this letter           is from me or not .        I

 6   mean , I'm not -- it could be .           I'm not sure , because      I

 7   do a lot of paperwork        -- a lot of paperwork .        So , if

 8   you could produce     one that bear s my signature , then I

 9   could --

10   Q.      You don't recall        writing    this letter , is that

11   what you're   say ing ?     Huh ?

12   A.      I don't recall .

13   Q.      You don't wall recall           writing   this letter ?

14   A.      I don't recall       writing     that letter    specifically .

15   I do a lot of paperwork .           If you can produce     one with

16   my signature , then I can verify           it .

17   Q.      Do you recall       an auto accident       on a car that you

18   rent ed from Rent -A-W reck ?

19   A.      I'm not sure .

20   Q.      Did you ever rent car s in which someone              that was

21   drivi ng a car that you rent ed had an accident ?

22   A.      Yeah .

23   Q.      Who w as that ?

24   A.      I had an accident           in one about two week s ago .

25   Q.      Okay .   Did you rent a car back in 2003 in which




                                                                   Page 103
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 104 of 277



 1   the car you rent ed for someone          else that person    had an

 2   accident ?

 3   A.         2003 ?     I don't recall .

 4   Q.         Show ing you the first page of Oglethorpe         31 .

 5   See if this refreshes           your recollection .   This is from

 6   the insurance       company .     Do you see there by Bituminous

 7   Insurance     Company ?

 8   A.         Yes, ma'am .

 9   Q.         This is to you ?

10   A.         Mm-hmm .

11   Q.         John Irby , C.O.U.       Is that your address ?

12   A.         Yes , it is .

13   Q.         This is the claim number ?

14   A.         Yes .

15   Q.         The insured ?

16   A.         Mm-hmm .

17   Q.         The adverse     driver , John Irby ; the vehicle

18   owner , Rent -A-W reck ; and the rent er is you .

19   A.         Mm-hmm .

20   Q.         The date of loss 8-15 -03 at 8 a.m. and the

21   location     at High way 17 1, D erider , Louisiana .

22   A.         Yes .

23   Q.         Did you rent a car for John Irby that had an

24   accident     in Louisiana ?

25   A.         Okay .     First of all , I don't know     a John Irby ,




                                                                  Page 104
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 105 of 277



 1   okay ?    I rent many car s.     Again , I need something       in

 2   order to verify     it with my signature      that bear s my

 3   signature .

 4             MR. MARTIN:     Your Honor , I'm going to renew my

 5   objection .     This is well beyond     the scope of my direct

 6   examination .

 7             THE COURT:     Over ruled .

 8             BY MS. GREENBERG:

 9   Q.        Did you rent a car for Mr. Goodwin         in which

10   someone    else drove the car in Louisiana        and they had an

11   accident ?

12             MR. MARTIN:     Objection .

13             Call s for speculation .

14             THE COURT:     Over ruled .

15             MR. MARTIN:     He said he does n't know a John

16   Irby .

17             THE COURT:     Over ruled .

18             BY MS. GREENBERG:

19   Q.        Did you rent a car from for Mr. Goodwin           in which

20   someone    in a rental   car that you rent ed under your name

21   as the rent er had an accident ?

22   A.        If I rent a car for Mr. Goodwin , he drove the

23   car .    If that in fact    did happen , how can I say who he

24   lent the car to ?

25   Q.        Sir , what you're    look ing at on the screen      right




                                                                 Page 105
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 106 of 277



 1   here says your name as the rent er ; correct ?

 2   A.         Yes , that 's my name .

 3   Q.         Did you rent car s for Mr. Goodwin         under your

 4   name ?

 5   A.         Yeah .   Amongst    other people .     He 's not the only

 6   person     I rent ed car s for .

 7   Q.         And this car , apparent ly , that you rented , had

 8   an accident     in Louisiana ; is that correct ?

 9   A.         I don't think so .      I don't recall .

10   Q.         Just to be clear .      The second     part of Oglethorpe

11   31 :     That is your name and address ; correct ?

12              MR. MARTIN:     Objection .

13              Your Honor , this has been asked and answered .

14   He said he does n't know .         I don't know    how many time s

15   --

16              THE COURT:     That 's not the question .      The

17   question     is , is that his address .

18              Over ruled .

19              THE WITNESS:       For the third time , yes , that is

20   my address .

21              BY MS. GREENBERG:

22   Q.         When you rent ed car s for Mr. Goodwin , would you

23   pay out of your pocket , or would you get paid for them ?

24   A.         I h ad an expense     account   for the organization      I

25   work ed for at that time , and so I would pay for car s,




                                                                  Page 106
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 107 of 277



 1   hotel s or whatever      that was in my budget .

 2   Q.      This expense      account    would pay for the car s; is

 3   that your testimony       here today ?

 4   A.      Yeah .      Hotel s, meal s, expense s.

 5   Q.      Did you reimburse        Mr. Irby for any of these

 6   expense s for this trip in August          of 2003 ?

 7   A.      Who is Mr. Irby ?

 8   Q.      Apparent ly , on this letter , he 's somebody             that

 9   was a driver     of a car that you rent ed .

10           Did you reimburse        him from the ex tense account ?

11   A.      I don't know      a Mr. Irby .

12           MR. MARTIN:       Objection     again .

13           MS. GREENBERG:      Is    it your testimony       --

14           THE COURT:       Over ruled .

15           MS. GREENBERG:       -- t he expense      account      did not

16   reimburse   him ?

17           MR. MARTIN:       Objection , Your Honor .        He does n't

18   know Mr. Irby .      These question s -- objection .           These

19   question s are irrelevant .         This question      has been asked

20   and asked over and over again .           He does n't know John

21   Irby , and she keep s asking        him about John Irby .

22           THE COURT:       The objection     is sustained .

23           MS. GREENBERG:        Your Honor , I'm try ing to         figure

24   out who the money from the expense           account     went to .

25           THE COURT:       Ask him who it went to .         Ask him who




                                                                     Page 107
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 108 of 277



 1   the money went to .

 2              BY MS. GREENBERG:

 3   Q.         Sir , where did the money of the expense         account

 4   go for the car that you rented         on or about August      of

 5   2003 ?

 6   A.         For any expense s I paid , I paid it to whoever

 7   rent ed the service .      If it was a rental     agent , they are

 8   the ones who got the check or however           they were paid .

 9   If it was a hotel , the hotel got a check or however                it

10   was paid .

11   Q.         How many time s over the two to three year period

12   that you knew Mr. Goodwin        did you rent car s for him ?

13   A.         It was n't actual ly Mr. Goodwin .      It was the

14   projects     we was work ing on for taking      our trip s.

15   Q.         I'll ask you again , sir .     How many time s did you

16   rent car s for Mr. Goodwin       for his project s?

17   A.         At least   three .   Three to four time s.

18   Q.         Did any of these project s occur in Louisiana , to

19   your knowledge ?

20   A.         No , not to my knowledge .

21   Q.         Now , you testifi ed you got Cuban cigar s from Mr.

22   Goodwin ; is that correct ?

23   A.         Yes .

24   Q.         Would he sell the Cuban cigar s to you from

25   Lobo's or from a store out on the street ?




                                                                 Page 108
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 109 of 277



 1   A.       Oh , from Lobo 's .    That 's the    reason   for me going

 2   to Lobo 's .

 3   Q.       I'm sorry ?

 4   A.       The reason     for me to go to that shop was to get

 5   the cigar s.

 6   Q.       Are you familiar , sir , with the Department           of

 7   Treasury     regulation s that Cuban cigar s are illegal         to

 8   sell in the United       States ?

 9   A.       Well --

10            MR. WARD:      Objection , Your Honor .

11            THE COURT:      Over ruled .

12            BY MS. GREENBERG:

13   Q.       I'm sorry ?

14   A.       I learn ed about a year ago .

15   Q.       That Cuban cigar s are illegal         to sell in the

16   United   States ?

17   A.       Yeah .

18   Q.       Is that when you stopped       buy ing them ?

19   A.       No .

20            MR. WARD:      Your Honor , I think the witness        ought

21   to be advised       of his Fifth Amendment      privilege    if he 's

22   going to be question ed about criminal           conduct , in all

23   fairness .

24            THE COURT:      S ir , do understand    that if you admit

25   to a crime you could be prosecuted            for that ?    You need




                                                                  Page 109
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 110 of 277



 1   to consider       that when you answer        these question s.

 2             THE WITNESS:        Yes , I do .

 3             THE COURT:     All right .

 4             BY MS. GREENBERG:

 5   Q.        So you said you learn ed it was illegal             about a

 6   year ago ?

 7   A.        Yes .

 8   Q.        Is that when you stopped            buy ing them from Mr.

 9   Goodwin ?

10   A.        It was before       that , because     I believe   Mr.

11   Goodwin     was detain ed at least       a year ago .

12   Q.        You understand       now that when you were buy ing

13   Cuban cigar s from Mr. Goodwin           --

14   A.        Yes , I understand      that now .

15   Q.        -- i t was illegal      for him to sell them ?

16   A.        Yes .

17   Q.        And it was illegal        for you to buy them ?

18   A.        Yes .

19             MS. GREENBERG:        No further      question s, Your

20   Honor .

21             MR. MARTIN:      I have no further        question s for Mr.

22   Alexander .

23             THE COURT:     You may step down .         Thank you very

24   much , sir .

25                      (Witness    excused   at 12 :09 p.m. )




                                                                    Page 110
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 111 of 277



 1             MR. MARTIN:      Mr. Goodwin     call s Mr.    Maurice

 2   Bowman    to the stand .

 3             MR. SUSSMAN :     Judge , just a scheduling       question .

 4   Sir , are we going to go to 1:00 now , or take a break

 5   now ?

 6             THE COURT:      We can take a break now if you want .

 7             MR. SUSSMAN :     W ell , I'm not asking .      I just

 8   thought     --

 9             THE COURT:      All right .    I'll take a break until

10   12 :25 and then we'll go until, like, 1:15.

11                            (Jury excused at 12:09 p.m.)

12                            (Off the record     at 12 :09 p.m. )

13                            (On the record     at 12 :33 p.m. )

14             THE COURT:      Yes, sir .

15             MR. MARTIN:      Your Honor , I've got two more

16   witness es , and then I believe         Mr. Goodwin     would like to

17   take the stand .        I just want ed the court to advise         Mr.

18   Goodwin     once again of his constitutional          right s, and I

19   have talk ed to him at length          ab out this over several

20   day s and even month s and again , in deed , this morn ing we

21   spoke about it , and he still want s to proceed             and take

22   the stand against        counsel 's advice .

23             THE COURT:      All right .    Mr. Goodwin , my

24   understand ing is that you want to take the stand and

25   testify .        Do you understand   that I will be advisi ng




                                                                    Page 111
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 112 of 277



 1   this jury that they may not infer anything                  adverse    to

 2   any defendant         who does not testify ?        Do you understand

 3   that ?

 4              DEFENDANT GOODWIN:         Yes .

 5              THE COURT:      You have a constitutional          right to

 6   remain     silent .     It 's the government 's problem        -- it 's

 7   their burden     to prove you're        guilty .     You don't have to

 8   prove you're     innocent .     By taking       the stand , you ex pose

 9   yourself     to vigorous     examination      by counsel     for the

10   government     of the type you've        just seen with these

11   witness es .    Do you understand        that ?

12              DEFENDANT GOODWIN:         Yes .

13              THE COURT:      Your counsel       has recommend ed that

14   you not take the stand .            I can't force you not to take

15   the stand .     If you want to take the stand , that 's your

16   right to do that , but you may want to further                 consider

17   what your counsel         has recommend ed .       It 's up to you ,

18   though .     It 's your personal       choice     to make after you've

19   had the benefit         of advice    of counsel , and I want to

20   just re affirm        for you that you have no obligation             to

21   take the stand , and the jury will be advise d that they

22   may not infer anything         adverse    to you because       of your

23   decision     not to testify .

24              All right .     Anything    further     before   we bring the

25   jury in ?




                                                                     Page 112
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 113 of 277



 1              MR. MARTIN:      No, sir .   O ur next witness    is Mr.

 2   Maurice Bowman .

 3              THE COURT:     All right .    Bring the jury in .

 4                            (Jury returns    at 12 :36 p.m. )

 5   Thereupon,

 6                               MAURICE BOWMAN ,

 7   having been called as a witness on behalf of the

 8   Defendant Goodwin       , and having been first duly sworn by

 9   the Courtroom Deputy, was examined and testified as

10   follows:

11                            DIRECT EXAMINATION

12              BY MR. MARTIN:

13   Q.         Mr. Bowman , would you be so kind to sit closer

14   to that mike and bring it toward           you , sir ?   Very good .

15              In a loud an d clear voice , state your full name

16   and spell your last .

17   A.         Maurice Bowman      -- Maurice N .   Bow man .

18   Q.         Spell your last name , please .

19   A.         B O W M A N.

20   Q.         Thank you , sir .

21              Mr. Bowman , where do you live ?

22   A.         6421 North Capitol .

23   Q.         What is your occupation ?

24   A.         I'm not work ing right now .

25   Q.         You're   not work ing right now .




                                                                  Page 113
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 114 of 277



 1            Do you know Mr. Learley         Reed Goodwin ?

 2   A.       Yes .

 3   Q.       How long have you known him ?

 4   A.       Oh , I'd say around       -- about ten year s.

 5   Q.       About ten year s?        Is he a good friend     of your s?

 6   A.       Yes .

 7   Q.       Mr. Bowman,     you know that Mr. Goodwin 's been

 8   lock ed up since about June of 2004 .

 9   A.       Yes .

10   Q.       Have you had occasion         to speak with him since

11   then ?

12   A.       Once .

13   Q.       Where was that ?

14   A.       I went to see him .

15   Q.       When did you go to see him ?

16   A.       Last Sunday .

17   Q.       Last Sunday ?        What if anything   did you discuss

18   with Mr. Goodwin      last Sunday ?

19            MS. JOHNSTON:         Objection .

20            Call s for hearsay .

21            THE COURT:      Sustained .

22            BY MR. MARTIN:

23   Q.       Do you know Michael        Thurman ?

24   A.       Michael    Thurman ?

25   Q.       Cadillac    Mike ?




                                                                 Page 114
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 115 of 277



 1   A.        Yes .

 2   Q.        How do you know him ?

 3   A.        From down the shop where I use d to work .

 4   Q.        What was the name of that shop ?

 5   A.        Lobo 's Dis count Auto C enter .

 6   Q.        Where was it locate d?

 7   A.        Florida    Avenue , Northeast .

 8   Q.        When did you -- well, did you work at that shop ?

 9   A.        Yes .

10   Q.        When did you work there ?

11   A.        I don't know       the exact date s, but it 's been

12   about two years      ago .

13   Q.        How long did you work at Lobo 's ?

14   A.        I think I stay ed there about five year s, I

15   think .

16   Q.        Who was the manager       of Lobo 's Dis count Auto ?

17   A.        Fellow's    name was Lobo .

18   Q.        Who else work ed at Lobo 's ?

19   A.        Well , we had a bunch of Spanish         fell as work ing

20   there , and we had Lobo .         He was the manager    of that

21   shop .

22   Q.        Did Michael    Thurman    work there ?

23   A.        He was there .

24             MS. JOHNSTON:        Objection .

25             The witness    has not said he know s Michael




                                                                 Page 115
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 116 of 277



 1   Thurman .

 2              THE COURT:     He s aid he didn't         know him .

 3              BY MR. MARTIN:

 4   Q.         Did Cadillac     Mike work there ?

 5   A.         No , he didn't    work there .     He was there .

 6              THE COURT:     He what ?     I could n't hear that .

 7              MR. MARTIN:      I believe    the witness      said he

 8   didn't   work there ; he was there .

 9              THE COURT:     He was there .

10              BY MR. MARTIN:

11   Q.         Sir , you have to stay as close to that mike as

12   you can .

13              Did I state correct ly to the court that you said

14   that Cadillac      Mike didn't    work there , but he was there ?

15   A.         He did little     odds and ends there , yes .

16   Q.         What did you do at Lobo 's ?

17   A.         I was a mechanic .

18   Q.         When you saw Michael        Thurman   at Lobo 's , what was

19   he do ing ?

20   A.         You said Michael     Thurman ?     Or are you say ing

21   Cadillac      -- are you referring      to Cadillac ?

22   Q.         I'm sorry sir .     Cadillac     Mike .     When you saw

23   Cadillac      Mike at Thurman 's (sic),       what was he do ing ?

24   A.         He was do ing little       -- mostly , he was sell ing

25   drug s, actual ly .




                                                                       Page 116
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 117 of 277



 1   Q.        What kind of drug s was he sell ing ?

 2   A.        Cocaine .

 3   Q.        Who was he get ting his drug s from ?

 4   A.        I have no idea .

 5   Q.        When you saw him sell ing cocaine        during   those

 6   periods    of time , would Mr. Goodwin      be present ?

 7   A.        No .

 8   Q.        How often would Mr. Goodwin       come to Lobo 's

 9   dis count ?

10   A.        I use d to see him about once a week .         Once or

11   twice a week .

12   Q.        He came in    once or twice a week ?      When he came ,

13   what if anything       would you see him do ing ?

14   A.        Well , we discuss ed the car s that he would be

15   get ting from the auction      and what want ed me to do --

16   what he want ed Lobo to do to them , check them out and

17   see .

18   Q.        Please , sir , if you would stay close to the

19   mike .

20   A.        Mostly , he would be -- he want ed us to check the

21   car s out he'd get from the auction .         A lot of time s I

22   would ride with him to bring car s back .

23   Q.        When he would talk to you about these car s,

24   where would you be ?

25   A.        In the yard .




                                                                 Page 117
          Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 118 of 277



 1   Q.          At the office ?

 2   A.          Right .

 3   Q.          As opposed      to the yard ?

 4   A.          Right .

 5               MS. JOHNSTON:        Objection .

 6               Counsel      is mis stati ng his answer .

 7               Lead ing .

 8               THE COURT:        Sustained .

 9               BY MR. MARTIN:

10   Q.          Let me ask you again to make it perfect ly clear :

11   Where would Mr. Goodwin               discuss   this with you ?

12   A.          Sometimes      we 'd be in the office.          Most of the

13   time we would be in the yard .

14   Q.          When you were in the yard , would Michael                  Thurman

15   be there at the same time Mr. Goodwin                    was there ?

16               MS. JOHNSTON:        Objection .

17               THE COURT:        Sustained .

18               BY MR. MARTIN:

19   Q.          When   you were in the yard with Mr. Goodwin ,               would

20   Cadillac           Mike be around ?

21   A.          Sometimes .       Most of the time he leave s.

22   Q.          When Mr. Goodwin          came around , it 's your

23   testimony           that Cadillac     Mike would leave ?

24   A.          Right .

25               MS. JOHNSTON:        Objection      to the    lead ing .




                                                                            Page 118
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 119 of 277



 1             THE COURT:        Sustained .

 2             BY MR. MARTIN:

 3   Q.        How long did you know Cadillac           Mike ?

 4   A.        I'd say about a couple          of year s.

 5   Q.        A couple    of year s?    During    that period     of time

 6   that you've    known Cadillac       Mike , did you have an

 7   opinion   regard ing his truthfulness ?

 8             MS. JOHNSTON:        Objection .

 9             Foundation .

10             THE COURT:        Lay a foundation .

11             BY MR. MARTIN:

12   Q.        Have you ever had any deal ings with Cadillac

13   Mike that led you to believe          that he was truthful ?

14             MS. JOHNSTON:        Objection .

15             THE COURT:        Sustained .

16             BY MR. MARTIN:

17   Q.        Do you know people       who know Cadillac        Mike ?

18   A.        Yeah , I know people .

19   Q.        Do you know whether       he has a reputation        amongst

20   those people       for truthfulness       and honesty ?

21   A.        As far as    --

22             MS. JOHNSTON:        Objection .

23             THE COURT:        Well , let me hear what he says .

24             What ?

25             BY MR. MARTIN:




                                                                    Page 119
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 120 of 277



 1   Q.         Do you know people      who know Cadillac       Mike ?

 2   A.         Yes .

 3   Q.         Do you know whether      he has a reputation       for

 4   truthfulness       and honesty    amongst    the people    who know

 5   him ?

 6              MS. JOHNSTON:       Objection .

 7              THE COURT:     Over ruled .

 8              MS. JOHNSTON:       Foundation .

 9              BY MR. MARTIN:

10   Q.         You may answer .

11   A.         Yeah , I know a whole -- lot of people           that knew

12   him .

13   Q.         What --

14              THE COURT:     Sir , I can't hear the witness .            He 's

15   going to have to get closer          to that mike .       I can't hear

16   him , and the jury can't hear him .

17              THE WITNESS:       I know a lot of people       that know s

18   Cadillac     Mike .

19              BY MR. MARTIN:

20   Q.         What is his reputation        amongst the   people       that

21   know him ?

22   A.         It was terrible .      It was terrible .

23   Q.         It 's terrible ?

24   A.         Right .

25   Q.         Mr. Bowman , you've     been in trouble     before ,




                                                                   Page 120
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 121 of 277



 1   haven't     you , sir ?

 2   A.         Right .

 3   Q.         You've    been convict ed before ; right ?

 4   A.         Right .

 5   Q.         Have you ever been convict ed for perjury ?

 6   A.         No .

 7              MR. MARTIN:     I have no further     question s for Mr.

 8   Bowman .

 9              THE COURT:     All right .    Cross-examination   .

10                             CROSS-EXAMINATION

11              BY MS. JOHNSTON:

12   Q.         Just a few question s, Mr. Bowman .

13              You've    been convict ed of drug offense s before ;

14   is that correct ?

15   A.         Once .

16              MR. MARTIN:     Objection .

17              MS. JOHNSTON:     What kind of drug s?

18              MR. MARTIN:     Objection .

19              THE COURT:     Wait , wait , wait .

20              What's    the basis of the objection ?

21              MR. MARTIN:     It does n't go to credibility .       And

22   also , I'd like to know what time frame she 's talk ing

23   about .

24              THE COURT:     Let 's get the time frame

25   establish ed .




                                                                  Page 121
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 122 of 277



 1              MS. JOHNSTON:       There 's one from 19 92 .

 2              MR. MARTIN:       Your Honor , if we could do this at

 3   the bench .

 4              THE COURT:       All right .

 5                           (At the bar of the Court.)

 6              MS. JOHNSTON:       In 19 92 there was a conviction

 7   for attempt ed distribution         of cocaine .     He was place d

 8   on three year s probation         for that .   He had a PWID on

 9   6-20 of 2000 -- strike          that .

10              On January    29 of 19 99 , he was sentence d to 18 0

11   day s and three year s probation ,          condition ed upon

12   completi ng a drug program .

13              MR. MARTIN:       I'm sorry , ma'am .    I was

14   distract ed .

15              THE COURT:       What was the charge     in that case ?

16              MS. JOHNSTON:       Possession   with intent     to

17   distribute      cocaine .    He was sentenced      -- it look s like

18   18 0 day s suspend ed , three year s probation , with a

19   referral    to drug program       and condition ed upon

20   success ful completion         of that drug program .

21              He has a prior conviction        for assault     in 19 97 .

22   He has a prior conviction          Count s 4 and 5.     Count 4

23   would be a CDS possession          --

24              MR. MARTIN:       What was the year ?

25              THE COURT:       What was the CDS possession ?




                                                                      Page 122
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 123 of 277



 1             MS. JOHNSTON:      The CDS possession       would be --

 2   let me find the year here .            I'm look ing for the year on

 3   this one .      It 's not comi ng to me right now .         19 93 was

 4   that possession .

 5             THE COURT:      '93 ?     Okay .   And what's   the nature

 6   of the drug itself ?

 7             MS. JOHNSTON:      Your Honor , it does not -- the

 8   records      don't say what it was .         I'm try ing to see what

 9   sentence .      It just says as to possession .

10             MS. GREENBERG:          Your Honor , for the record , this

11   is -- we believe       that we had to -- counsel          gave us the

12   date of birth but did not give us the rap sheet s, so we

13   just got them yesterday .

14             MR. MARTIN:      I'm not going to make a notice

15   argument , Your Honor .

16             MS. JOHNSTON:      This is a 19 89 --

17             THE COURT:      What is it ?

18             MS. JOHNSTON:      A 1989 theft conviction , which

19   would go to his credibility .

20             There is also a break ing and entering            conviction

21   in 19 87 .

22             I think there may also be an obstruction             of

23   justice , but let me -- that would be it , Your Honor .

24             THE COURT:      You said obstruction       of justice .

25             MS. JOHNSTON:      No .     That would be a different




                                                                   Page 123
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 124 of 277



 1   witness .

 2             THE COURT:      Let me go back through        the -- go

 3   back to the ones you mention ed first .             I was n't able to

 4   take note s.

 5             MS. JOHNSTON:       The first one that I mention ed

 6   with the witness        was an attempt    distribution     of

 7   cocaine .     He was sentence d -- there are two date s here .

 8   One is -- the most recent           date is 5-14 of 19 92 .

 9             MR. MARTIN:      I would argue that that 's well

10   beyond    ten year s, Your Honor .

11             THE COURT:      Get to the next one .

12             MS. JOHNSTON:       The next one is a drug -- there 's

13   another     drug possession    one -- well , he --

14             THE COURT:      I have    a '93 .

15             MS. JOHNSTON:       The '93 ?       That was one -- the

16   '93 , yes, sir .

17             THE COURT:      That was possession        with intent    to

18   distribute ?

19             MS. JOHNSTON:       That was attempt       distribution    of

20   cocaine .     Attempt    distribution .

21             And then there was 19 92 -- strike           that .   A 19 99

22   conviction     of possession       with intent    to distribute

23   cane .

24             And then we have the assault            that I mention ed to

25   the court in '97 .




                                                                     Page 124
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 125 of 277



 1             THE COURT:    Assault   in '97 ?

 2             MS. JOHNSTON:     In '97 .

 3             THE COURT:    Any de tail s on the assault ?

 4             MS. JOHNSTON:     I don't have      any de tail s on the

 5   assault .     As my co-counsel    indicated , we just got this

 6   information .     This printout    was run on July 25 of 2006 ,

 7   because     that 's when we received     the information      from

 8   counsel     concern ing these people .

 9             We also have the theft in '89 .

10             THE COURT:    Are all of these more than one year ?

11             MS. JOHNSTON:     All of these .

12             THE COURT:    Offense s.

13             MR. MARTIN:     Convictions .

14             THE COURT :   C onvictions ?

15             MS. JOHNSTON:     Yes, sir .     The exposure      is more

16   than one year .

17             THE COURT:    What is --

18             MS. JOHNSTON:     The maximum      penalty   is more than

19   one year .

20             THE COURT:    All right .

21             MR. MARTIN:     Two objections      on my part .     One on

22   the time limit , obvious ly , and the second           one is these

23   don't go to false statement s and they don't involve

24   dis honesty .    For that reason , I would ask the court not

25   to admit these -- to do a balanci ng under 40 3 and not




                                                                   Page 125
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 126 of 277



 1   allow this to come in .

 2              MS. JOHNSTON:     I believe    someone    convict ed --

 3   that an individual        convict ed of attempt ed distribution

 4   and possession     with intent       to distribute , those crime s

 5   certain ly would be crime s that would be considered              in

 6   term s of whether       this is a person      that the jury want s

 7   to believe .

 8              In term s of the old er convictions , the theft and

 9   the break ing and entering , they clear ly go to one 's

10   truthfulness , one 's honesty .

11              MR. MARTIN:     What was the date of the break ing

12   and entering ?

13              MS. JOHNSTON:     One was '89 and on e was '87 .

14              MR. MARTIN:     They're    too remote , Your Honor .

15   They're     far too remote .

16              THE COURT:     I will n ot permit     examination    with

17   regard     to the 19 97 assault      even though    that 's within

18   the ten year s.     There 's concern      about the prejudicial

19   effect .

20              I do think that the -- this is a witness            who 's

21   profess ing not to know anything          about drug activities

22   at Lobo 's ; is that correct ?

23              MR. MARTIN:     No .   He didn't    say there was n't

24   drug activity .     He said there was , but Mr. Goodwin

25   was n't present    when there was drug activity .




                                                                    Page 126
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 127 of 277



 1             THE COURT:       Well , there 's a serious    question       of

 2   his credibility     in maki ng those kind of statement s if

 3   he personally     has these kind of convictions .          The '87

 4   and '89     convictions    go to credibility , and the

 5   attempt ed distribution        in '92, and the attempt ed

 6   distribution     of cocaine     in '93, and the possession         with

 7   intent    to distribute     in '99 are all very probative ; and

 8   I think that the probative         value of those convictions

 9   substantially     outweighs     their prejudicial      effect .    I

10   will , therefore , permit       them to be use d in his cross -

11   examination .

12             As you indicate d, the      notice    question   is not a

13   factor    here because     the government      did not know of this

14   witness .

15             MR. MARTIN:       I'm not raisi ng notice , but I

16   object    to the government      do ing this , Your Honor , and I

17   want the record     to so reflect .

18             THE COURT:       Well , I sustained    it on the assault .

19             MS. JOHNSTON:       Thank you , Your Honor .

20                             (Back in open court .)

21             BY MS. JOHNSTON:

22   Q.        Mr. Bowman , you indicated        that you had gone to

23   see Mr. Goodwin     just last Sunday ; is that correct ?

24   A.        That 's correct .

25   Q.        How is it that you happened          to go last Sunday        to




                                                                  Page 127
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 128 of 277



 1   see him ?

 2   A.         Because     I was over due .   I should   have been to

 3   seen him .

 4   Q.         Excuse     me ?

 5   A.         I said I was over due , and I should        have been to

 6   seen him .

 7   Q.         Was that the only time you've        seen him since

 8   he 's been incarcerate d on June 1st of 2004 ?

 9   A.         Yes .

10   Q.         Do you talk to him on the telephone ?

11   A.         Once or twice .

12   Q.         Did h e discuss     with you an individual     name d

13   Cadillac     Mike ?

14   A.         No .

15   Q.         Have you use d drug s yourself ?

16   A.         Yes .

17   Q.         When was the last time you use d drug s?

18   A.         It 's been about a year ago .

19   Q.         A year ago ?      So that would have been sometime       in

20   2005 ?

21   A.         Pardon ?

22   Q.         That would have been sometime        in 2005 ; is that

23   correct ?

24   A.         Yes .

25   Q.         During     the -- were you work ing for Mr. Goodwin




                                                                 Page 128
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 129 of 277



 1   at Lobo 's until he got arrested        on June 1st of 2004 ?

 2   A.      No .

 3   Q.      When did you stop work ing for him ?

 4   A.      About three month s before        that .

 5   Q.      Okay .   In the spring      of 2004 , you stopped

 6   work ing ; is that correct ?

 7   A.      Yes .

 8   Q.      And you had work ed for him for about five year s;

 9   is that correct ?

10   A.      Yes .

11   Q.      So , rough ly , from 19 99 until the spring         of 2004 ?

12   A.      Yes.

13   Q.      Excuse   me ?

14   A.      Yes .

15   Q.      Can I ask you to lean forward          into the

16   micro phone , please ?

17           And during      that time , you were using drug s; is

18   that correct ?

19   A.      Yes .

20   Q.      And the drug you use d was cocaine ; is that

21   correct ?

22   A.      Yes .

23   Q.      Crack cocaine ?

24   A.      Crack cocaine .

25   Q.      And powder      cocaine ?




                                                                 Page 129
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 130 of 277



 1   A.       No .

 2   Q.       Just crack cocaine ?

 3   A.       Yes .

 4   Q.       How long have you use d crack cocaine ?

 5   A.       I'd say about around        seven or eight year s.

 6   Q.       Okay .    Seven , eight year s?      Start ing about when ,

 7   do you think ?

 8   A.       I can't remember       exact ly .

 9   Q.       In fact , you have not only yourself             use d drug s;

10   you've   distributed      drug s, isn't that correct ?

11   A.       No .

12   Q.       Have you been found guilty          of attempt     to

13   distribute      drug s?

14   A.       No .

15   Q.       You don't recall       being in court in the District

16   of Columbia ?

17   A.       That 's not for distributing         drug s.

18   Q.       What was it for then , sir ?

19   A.       Possession .

20   Q.       Possession       of what drug ?

21   A.       Crack cocaine .

22   Q.       When were you convict ed of possession ?

23   A.       I was n't convict ed .      They dropped       the charge s.

24   Q.       You went to a drug program ; is that correct ?

25   A.       No .




                                                                      Page 130
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 131 of 277



 1   Q.         What 's your date of birth Mr. Bowman ?

 2   A.         12 -7-41 .

 3              MS. JOHNSTON:      Your Honor , may we approach             the

 4   bench just brief ly , please ?

 5              THE COURT:      You may .

 6                       (At the bar of the Court.)

 7              MS. JOHNSTON:      Court 's indulgence      one moment .

 8              Here is one of the issue s in term s of these

 9   records .     We have a Nathan       Bowman     and a Maurice    Nathan

10   Bowman , and it look s like the date of birth that he 's

11   just given on the stand is not the date of birth that 's

12   on these records .

13              MR. MARTIN:      Nathan     is his brother .

14              MS. JOHNSTON:      It says     here July '43 .      I think

15   that 's the birth date he just gave .

16              MR. MARTIN:      No .   He gave December       7, 19 41 .

17              THE COURT:      He gave Pearl Harbor Day .

18              MS. JOHNSTON:      Then it would appear         that he is

19   not either     one of these individuals .           The birth date we

20   have is 7-23 -43 is a Nathan           Bowman    and a Maurice    Nathan

21   Bowman .

22              THE COURT:      His birthday     date is different .

23              MS. JOHNSTON:      I want ed to advise      the court .

24                            (Back in open court .)

25              BY MS. JOHNSTON:




                                                                      Page 131
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 132 of 277



 1   Q.        Mr. Bowman , your drug use continued           until the

 2   spring    of 2004 ; is that correct ?

 3   A.        Yes .

 4   Q.        How regular ly were you using crack cocaine

 5   between    19 99 and the spring     of 2004 ?

 6   A.        How regular ly ?

 7   Q.        Yeah .

 8   A.        Every day .

 9   Q.        Every day .     Where were you living        during    that

10   time period ?

11   A.        I was living     on Minnesota     Avenue .

12   Q.        When did you meet Mr. Goodwin ?

13   A.        Actual ly , we growed    up together .

14   Q.        So you've     known him for many , many year s.

15   A.        And then he got away from me for a while , and

16   then we got back together .

17   Q.        When did you get back together         with him ?

18   A.        When he opened     up Lobo 's .

19   Q.        When he opened     Lobo 's ?   Do you remember        when

20   that was ?

21             And Lobo 's was his shop ; is that correct ?

22   A.        Yes .

23   Q.        When you were work ing there back in that five -

24   year period , up through       the spring    of 2004 , where were

25   you buy ing your crack ?




                                                                     Page 132
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 133 of 277



 1   A.       I was get ting it from Cadillac         Mike .

 2   Q.       Who else did you get it from ?

 3   A.       I was get ting it from Cadillac         Mike .

 4   Q.       I understand       you got it from Cadillac      Mike .

 5            During    the time Cadillac     Mike was n't there , who

 6   did you get it from ?

 7   A.       There was other people        in the area .

 8   Q.       Who are some of the other people            in the area

 9   that you bought      your crack from ?

10   A.       I don't know       name s.

11   Q.       You don't know the name s of anyone           else you

12   bought   crack from ?       Only Cadillac   Mike ?   That 's the

13   only name you remember ?

14   A.       Because    he was closer .

15   Q.       Who else did you buy drug s from at Lobo 's ?

16   A.       Nobody    else .

17   Q.       You bought     drug s from   Cadillac   Mike at Lobo 's ;

18   is that correct ?

19            You have to say yes or no .

20   A.       Yes .

21   Q.       When you bought       the drug s from Cadillac     Mike ,

22   you -- was it out in the yard at Lobo 's ?

23   A.       Well , it was anywhere       in the shop .

24   Q.       In the shop or outside        in the yard ; is that

25   correct ?




                                                                 Page 133
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 134 of 277



 1   A.      Or outside       the build ing .   Either     one .   It made

 2   no difference .

 3   Q.      In that area ?

 4   A.      Yes .

 5   Q.      And you bought       it from him every day ?

 6   A.      Every day he was there .

 7   Q.      How about the day s when he was n't there ?              Who

 8   did you get your crack from then?

 9   A.      Oh .    He would show up soon er or later .

10   Q.      Excuse    me ?

11   A.      He would show up sooner or          later .

12   Q.      You said there were days he was n't there .

13   A.      Then I don't get it.

14   Q.      Who did you get your crack from ?

15           MR. MONTEMARANO :          Asked and answered .

16           BY MS. JOHNSTON:

17   Q.      On the day s Cadillac         Mike was n't there , who did

18   you get your drug s from ?

19   A.      Somebody    in the area .

20   Q.      What were the name s of the " somebody " in the

21   area that you bought        your crack from ?

22   A.      I don't know       any .

23   Q.      You don't know their name s?

24   A.      No .    They have nickname s but , you know , I don't

25   know their real --




                                                                    Page 134
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 135 of 277



 1   Q.       What were the nickname s of the other people                 you

 2   bought   the drug s from ?

 3   A.       What do you call him ?            It 's been so long .   I

 4   just can't remember         half of them .

 5   Q.       In the spring        of 2004 , while Cadillac     Mike was

 6   out of the area in Texas or elsewhere , on a daily basis

 7   who did you get your drug s from up until you quit in

 8   the spring      of 2004 ?

 9   A.       Oh .    He had somebody      in the area sell ing .

10   Q.       Who were the people         that you would buy from in

11   the spring      of 2004 when Cadillac         Mike was n't in the

12   area ?

13   A.       I don't remember         the name s.

14   Q.       How about their nickname s?

15            MR. MARTIN:         Your Honor , asked and answered .

16            THE COURT:         Over ruled .

17            MR. MARTIN:         Objection .

18            THE COURT:         Over ruled .

19            BY MS. JOHNSTON:

20   Q.       How about their nickname s?

21   A.       I don't know .        Well , I can't remember     half of

22   them .   This has been a while ago .

23   Q.       You do remember        Cadillac     Mike ; is that correct ?

24   A.       Yeah, because        he was close .     Not real close .       He

25   was there all the time .          I know him .




                                                                   Page 135
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 136 of 277



 1   Q.       And the quantiti es that you bought         from Cadillac

 2   Mike .   That was a $20 rock ?      $50 rock ?     How much did

 3   you buy from him on a daily base ?

 4   A.       20 s and 50 s.

 5   Q.       So you would buy $20 from him ?         Would you use

 6   all that 20 yourself ?

 7   A.       No .

 8   Q.       So what would you do with it sometimes ?

 9   A.       I have friends     I share d with .

10   Q.       You say you had friends       you would    share with .

11   So you would get a $20 rock , and in addition            to you

12   using some of it , you would give it to your friends ; is

13   that correct ?

14   A.       Yes .

15   Q.       In fact , sometimes     did some of your friends         give

16   you money so that you could buy more than a $20 rock

17   for you all to share ?

18   A.       No .

19   Q.       So you all just bought       it yourselves?

20            Who were the friends      that you all went and

21   share d it with ?

22   A.       It was a young lady that live d in the

23   neighborhood .

24   Q.       Who was that ?

25   A.       Her name was Rose .




                                                                 Page 136
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 137 of 277



 1   Q.         Excuse     me ?

 2   A.         Her name was Rose .

 3   Q.         Rose ?     So you would share it with Rose .

 4              Who were the other friends          you would   share it

 5   with ?

 6   A.         That 's probably      the only one I would share it

 7   with .

 8   Q.         You indicated       to me initial ly that you share d it

 9   with some friends .           So , who were some of the other

10   people     in addition       to this   lady , Rose ?

11   A.         Well , I had another        friend , and his name was

12   Cedric .

13   Q.         Cedric ?

14   A.         Right .

15   Q.         So you would share some of your drug s with

16   Cedric.      How much would you give Cedric ?

17   A.         I could n't tell you how much          I would give him .

18   A $20 rock was n't that much .

19   Q.         So , sometimes      you would buy more than a $20

20   rock ?

21   A.         A $50 rock would n't have much either .

22   Q.         You would get a $50 rock ?

23   A.         I would give him a piece and share with him .

24   Q.         You would break off a piece and give it to

25   Cedric?      How often would you do that with a $50 rock ?




                                                                   Page 137
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 138 of 277



 1   A.        Not often .      Not every day , because   I didn't have

 2   it every day .

 3   Q.        Well , you -- and with Rose , how often would you

 4   share your $50 rock with her ?

 5   A.        Whenever    I had it .

 6   Q.        Okay .    How often -- did I understand       you

 7   correct ly to say you use d crack every day ?

 8   A.        Every day .      If I could get it every day .       A l ot

 9   of time s I didn't have        the money .

10   Q.        Did Cadillac      Mike ever give it to you and let

11   you own him the 20 buck s?

12   A.        Yeah .

13   Q.        And you would pay him that ?        And this would

14   happen    at Lobo 's ?

15   A.        Yes .

16   Q.        Did you ever go to the Anacostia         Road apartment

17   build ing that Mr. Goodwin         own ed ?

18   A.        Yeah , I've been there .

19   Q.        You've    been there ?    All right .

20             Has Mr. Goodwin      been there when you 've been

21   there ?

22   A.        Yeah , because     I've done some work at the

23   apartment s.

24   Q.        Excuse    me ?

25   A.        Yes .    I have done some work there .      Cut grass




                                                                   Page 138
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 139 of 277



 1   and emp tied the       trash .

 2   Q.       And he paid you ?          Mr. Goodwin    paid you to do

 3   that ?

 4   A.       Yes .

 5   Q.       Did you use that money to then go buy crack ?

 6   A.       Wait a minute .          Okay .   Yeah , I use d that money

 7   to go buy crack .

 8   Q.       And you would       buy crack .      Would you buy crack

 9   from the people        who were liv ing at 1323 Anacostia           Road ,

10   Mr. Goodwin 's build ing ?

11   A.       Cadillac      Mike was living       there at one time .

12   Q.       Well , I didn't         ask you if Cadillac     Mike was

13   liv ing there .       Did you buy --

14   A.       You asked me -- say that again .

15   Q.       My question      to you , Mr. Bowman , is this .          Did

16   you buy crack with the money that Mr. Goodwin                   paid you

17   for with the service s you did at Anacostia               Road ?

18   A.       Yeah .    With the money he gave me , yes .

19   Q.       Did you buy it from people            at his build ing on

20   Anacostia   R oad ?

21   A.       No .

22   Q.       You never bought          drug s -- did you ever buy drug s

23   from people      in side at his apartment         build ing ?

24   A.       No .

25   Q.       You never bought          drug s from people    there .    Did




                                                                      Page 139
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 140 of 277



 1   you see drug s in that build ing ?

 2   A.      Cadillac     Mike use d to live there .

 3   Q.      Okay .    What drug s did you see in side the

 4   apartment s?

 5   A.      Crack cocaine .

 6   Q.      Other than Cadillac       Mike , who else did you see

 7   at Anacostia     Road ?

 8   A.      The tenant s that live d there .

 9   Q.      Who were they ?

10   A.      I don't know .

11   Q.      You don't know their name s?

12           Do you know Tiffany       Vessel s?

13   A.      Yeah , I know Tiffany .

14   Q.      Who was Tiffany ?

15   A.      She 's a friend     of Mr. Goodwin .

16   Q.      She 's Mr. Goodwin 's girlfriend ; isn't that

17   correct ?

18   A.      Right .

19   Q.      You would see Tiffany       with Mr. Good win ; is that

20   correct ?

21   A.      Yes .

22   Q.      She began with the shop sometimes ?

23   A.      Yes .

24   Q.      Did you ever get drugs from Ms. Vessels           ?

25   A.      No .




                                                                   Page 140
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 141 of 277



 1   Q.       Ever see her with crack cocaine ?

 2   A.       No .

 3   Q.       In add ition to    Cadillac      Mike , there were other

 4   individuals      who would sell out by Lobo 's ; isn't that

 5   correct ?

 6   A.       You say around     Lobo 's ?

 7   Q.       Yes .

 8   A.       Yes .

 9   Q.       In the park ing lot , in the yard area , there were

10   other people      from whom you got crack from .

11   A.       Yard area outside       the shop , yeah .

12   Q.       Outside    the shop .

13            And in term s of cad Cadillac         Mike .   Did you ever

14   buy drug s from him -- crack from him in the apartment s

15   over at Anacostia      Road ?

16   A.       No .

17   Q.       Did you know Mr. Goodwin 's stepson , Larry Lane ?

18   A.       Yes .

19   Q.       Where did you know him from ?

20   A.       He come s down the shop every often .

21   Q.       Was h e with Mr. Goodwin         when he came to the

22   shop ?

23   A.       Sometimes .    Sometimes       he would come down and

24   want his car fix ed .

25   Q.       Were you work ing at the shop when the FBI




                                                                 Page 141
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 142 of 277



 1   executed     a search    warrant    there in October    of 2002 ?

 2   A.         No .

 3   Q.         So you weren't     work ing there in 2002 ?

 4   A.         No .

 5   Q.         If I understood     you correct ly , you said you were

 6   work ing there about five year s?

 7   A.         I was n't work ing there when they raid ed the

 8   shop , if that 's what you're         say ing .

 9   Q.         You weren't    present    that day or --

10   A.         I was n't work ing .

11   Q.         You weren't    work ing at the shop then .

12              Did you hear about that ?

13   A.         Yeah , I heard about it.

14   Q.         Who told you about that ?

15   A.         I had just left there -- left out the back and

16   went around       the front , and that' s when I saw the police

17   going in .

18   Q.         So you were there that day .

19              Had you spoke n to Mr. Goodwin         that day ?

20   A.         No .   I hadn't   seen him .

21   Q.         You were there purchasi ng drug s that day .          Who

22   did you purchase        drug s from that day ?     Not Cadillac

23   Mike .   He was n't there that day .

24   A.         He was n't there that day .        He left ten minute s

25   before   I did .




                                                                    Page 142
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 143 of 277



 1   Q.         Okay .   And who else was there that day ?

 2   A.         A bunch of Spanish          people   and a fellow   name d

 3   Pop .     He was there .   A whole lot of people          was there .

 4   Q.         Did you see Ms. Battle , who testifi ed here this

 5   morn ing ?

 6   A.         Was she there ?      No .

 7   Q.         Did you see her this morn ing ?

 8              Ms. Battle .    You know Ms. Battle , don't you ?            Is

 9   that correct ?

10   A.         Yes .

11   Q.         You have to say yes or no for the record ,

12   please .

13   A.         Yes .

14   Q.         You know Ms. Battle          use s drug s; isn't that

15   right ?

16   A.         Yes .

17   Q.         And that she used to live at Lobo 's ; is that

18   correct ?

19   A.         She use d to live at Lobo 's ?

20   Q.         She use d to live at Lobo 's .          Did you know that ?

21   A.         No , I didn't know     that .

22   Q.         You know she bought          crack there ; is that

23   correct ?

24   A.         At the shop ?     Yeah .

25   Q.         She would buy crack there at the shop , and other




                                                                     Page 143
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 144 of 277



 1   people    came to the shop and bought        crack too isn't that

 2   right ?

 3   A.        Yeah , a few of them .

 4   Q.        Okay .    Who were a few of the other people          who

 5   came to Lobo 's and bought         crack ?

 6   A.        I don't know     their name s.     I didn't know

 7   everybody    that came in there .

 8   Q.        Do you know their nickname s?

 9   A.        No .

10   Q.        So , in addition    to yourself     and Ms. Battle ,

11   there are a few other people          who would come by Lobo 's

12   and buy crack .

13   A.        I didn't know     them .   I didn't know     everybody

14   that came in there .       I knew the people      who work ed

15   there .

16   Q.        I appreciate     you didn't    know everybody      who came ,

17   but my question       to you is that in addition       to you and

18   Ms. Battle , there were other people          who came to Lobo 's

19   and bought       crack ; is that correct ?

20   A.        Sure , there was other people        that came .

21   Q.        Be fair to say that other people           came by on a

22   daily ba sis to      buy crack .

23   A.        Yeah , a daily basis .

24   Q.        And they weren't     buy ing it from you , were they ?

25   A.        No .




                                                                   Page 144
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 145 of 277



 1   Q.      But you knew that that 's what they were do ing

 2   there ; isn't that right ?

 3   A.      Obvious ly , yeah .

 4   Q.      Excuse     me ?

 5   A.      Yes .

 6   Q.      It was obvious        to you ?

 7   A.      Right .

 8           MS. JOHNSTON:         Court 's indulgence .

 9           Court 's indulgence , one moment .

10           Nothing     further    Your Honor .

11           THE COURT:        Any re direct ?

12           MR. MONTEMARANO :        Your Honor , I have a few

13   question s, if I could .

14           THE COURT:        All right .

15                             CROSS-EXAMINATION

16           BY MR. MONTEMARANO :

17   Q.      Good afternoon , Mr. Bowman .         How are you ?

18   A.      Fine .

19   Q.      We 've never met before , have we ?

20   A.      No .

21   Q.      We 've never spoken       before ?

22   A.      No .

23   Q.      I'd like to ask you a few question s.

24           MS. JOHNSTON:         Your Honor , may we approach     the

25   bench , please ?




                                                                 Page 145
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 146 of 277



 1             THE COURT:     Yes .

 2                     (At the bar of the Court.)

 3             THE COURT:     What 's the basis for you to ask

 4   these question s?

 5             MR. MONTEMARANO :        These are based upon the

 6   question s Ms. Johnston      asked regard ing his knowledge            of

 7   street    sells and her attempt ing to elicit         certain

 8   information    regard ing street       sells .   I'd like to clear

 9   some thing s up .      The s treet sells have been issue d with

10   regard    to this case about knowledge , about the nature

11   and ex tent of them , and I would like to clarify               it .   I

12   have ten , 15 question s top s.

13             MS. JOHNSTON:     No .     Your Honor , the government

14   is permit ted to do its cross-examination            of a defense

15   witness    after all defense       counsel   have finish ed .     There

16   is --

17             MR. MONTEMARANO :        We were asked if we had

18   question s.    My understand ing is the government         goes

19   first .    If Ms. Johnston       has question s flow ing from

20   mine , that 's fine .

21             When Mr. Martin        complete d every witness , you

22   have turn ed to Ms. Johnston          and never to us .   If you

23   want ed me to go first --

24             THE COURT:     We can't have all seven defense

25   attorney s do ing that .




                                                                 Page 146
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 147 of 277



 1             MR. MONTEMARANO :     Your Honor , if I have

 2   mis understood    the procedure , that 's my bad and I

 3   apologize , but I would have been more than happy to ask

 4   these before     Ms. Johnston , except      that they are -- they

 5   stem direct ly from Ms. Johnston 's question s.

 6             THE COURT:     This is a witness      call ed by Mr.

 7   Martin    for his client .

 8             MR. MONTEMARANO :     I understand     that .

 9             THE COURT:     She is the principal      proponent      of

10   this witness .

11             MS. JOHNSTON:      Your Honor , Mr. Martin       should      now

12   be do ing re direct .     If there is something      he does n't

13   cover on re direct , then I don't know          how we'll possibly

14   then --

15             MR. MARTIN:     Mike , you can always      call him .

16             MR. WARD:     This is a conspiracy      case .    We're all

17   on the hook .     Why can't we cross -examine       if we want to ?

18             MS. JOHNSTON:      I don't have     any problem s of them

19   asking    question s, but --

20             THE COURT:     I'm concerned      about how re dun dant

21   this will be .

22             MR. MONTEMARANO :     I don't think     it will be very

23   redundant    at all .

24             THE COURT:     You will be very efficient ?

25             MR. MONTEMARANO :     Absolute ly , Your Honor .        My




                                                                  Page 147
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 148 of 277



 1   hallmark .

 2                          (Back in open court .)

 3           MR. MONTEMARANO :         Thank you , Your Honor .

 4           BY MR. MONTEMARANO :

 5   Q.      Mr. Bowman , I don't want wish to embarrass               you ,

 6   but I'd like to get some clarif ication            if I could .

 7           When Cadillac     Mike -- Cadillac        Mike .   Would it

 8   be fair to say he 's a tall gentlem an?

 9   A.      Yes .

10           MS. JOHNSTON:          Object   to the form of the

11   question .     This is a defense        witness ; it 's a lead ing

12   question .

13           MR. MONTEMARANO :         I'm entitled    to cross -exam ine ,

14   Your Honor .     He 's not my witness , Your Honor .

15           THE COURT:      Over ruled .

16           BY MR. MONTEMARANO :

17   Q.      Tall gentleman ?

18   A.      Who .

19   Q.      Cadillac     Mike is about 6'7" maybe ?

20   A.      Yes .

21   Q.      Glass es ?

22   A.      No .     I ain't never seen him with glass es .

23   Q.      Okay .     Late 20s ?     Maybe 30 , top s?

24   A.      He'd probably     be in his 30s .

25   Q.      Okay .    S lender ?




                                                                  Page 148
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 149 of 277



 1   A.         Slender .

 2   Q.         Ms. Johnston     had asked you question s about when

 3   you would go look ing for drug s when Cadillac               Mike

 4   was n't available .        Do you remember    that , sir ?

 5   A.         What ?     Do what now ?

 6   Q.         Ms. Johnston , sitting       here in the pail gray

 7   suit , had asked you question s about where you would get

 8   drug s when Cadillac        Mike might not be available .            Do

 9   you remember        those question s?

10   A.         Yes .

11   Q.         You said you would try to get them from Cadillac

12   Mike regular ly ; correct , sir ?

13   A.         Right .

14   Q.         You would establish        a business   relationship       with

15   Cadillac     Mike ?

16   A.         Did I have a business        relationship ?

17   Q.         You would go to him routine ly when you want ed

18   crack ; right , sir ?

19   A.         Right .

20   Q.         Occasionally,     you would get crack on the street ;

21   is that correct , sir ?

22   A.         Right .

23   Q.         Would it be fair to say on the street             there

24   would be different         people   sell ing at different      time s?

25   A.         Yes .




                                                                    Page 149
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 150 of 277



 1   Q.       Would it be fair to say it would be different

 2   people   sell ing on different      day s; correct, sir?

 3   A.       Yes .

 4   Q.       It wasn't always the same people all the time;

 5   is that a fair statement?

 6   A.       No.

 7   Q.       Also fair to say you would n't know the people                on

 8   the street selling drugs         routine ly ?

 9   A.       I didn't know     them personally , no .

10   Q.       Since you didn't        know them , would it be fair to

11   say you would have a fear of get ting rip ped off , sir ?

12   A.       Yeah .

13            MS. JOHNSTON:      Objection .     Lead ing .

14            THE COURT:      Over ruled .

15            BY MR.   MONTEMARANO :

16   Q.       Would it be fair to say you had a fear of

17   get ting a rip ped off , sir ?

18   A.       Yes .

19   Q.       That 's by being sold what's           call ed a " burn bag "

20   which is not drug s.

21            MS. JOHNSTON:      Objection .

22            Your Honor,     may we approach        the bench , please ?

23            THE COURT:      Yes .

24                     (At the bar of the Court.)

25            MS. JOHNSTON:      This witness        has been call ed by




                                                                   Page 150
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 151 of 277



 1   the defense        in this case .     Mr. Montemarano      --

 2              MR. MONTEMARANO :        Not by me .

 3              MS. JOHNSTON:       The witness       has not testifi ed

 4   concern ing his client , but he does not have the right

 5   to cross -examine       this witness      and ask lead ing question s

 6   to get out his theory         of what's     going on .

 7              MR. WARD:      Why not ?

 8              MR. MONTEMARANO :        I concur     with Mr . Ward :     Why

 9   not ?     He 's not my witness .        I will tell you , as an

10   officer     of the court , there has been no kabala             between

11   myself     and Mr. Martin     for me to make Mr. M art in 's case

12   through     question s.

13              THE COURT:      I don't know .        There 's not much

14   more .

15              MR. MONTEMARANO :        Exact ly .    There is not much

16   more , and I would be done by now --

17              MS. JOHNSTON:       Do I get to cross -examine           when

18   Mr.      Martin    is finish ed ?

19              THE COURT:      If we have seven people , and if

20   everybody     does this , this is going to be a long or deal .

21                             (Back in open court .)

22              BY MR. MONTEMARANO :

23   Q.         As I was asking      you :    Part of that fear would be

24   get ting what 's call ed a "burn bag ;" right , sir ?

25   A.         Yes .




                                                                     Page 151
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 152 of 277



 1   Q.       Which is get ting sold something           that look s like

 2   crack but it 's not .

 3   A.       Right .

 4   Q.       And it would be fair to say you don't have

 5   enough   money to be buy ing burn bag s, so you want to be

 6   sure you're      get ting crack if you're      buy ing something ;

 7   is that a fair statement ?

 8   A.       That 's true .

 9   Q.       In addition , when you're        out on the street ,

10   would it be fair to say that buy ing drug s on the street

11   is dangerous ?

12   A.       Really    dangerous .

13   Q.       Really    dangerous , because     people    are look ing to

14   rob people who are looking         to buy ?

15   A.       Yes .

16   Q.       And sometimes    people    rob the seller s?

17   A.       True .

18   Q.       And sometimes    there 's shoot out s; correct , sir ?

19   A.       True .

20            MS. JOHNSTON:      Objection .       Irrelevant .

21            BY MR. MONTEMARANO :

22   Q.       It would be fair to say you prefer red to           deal

23   with Cadillac      Mike on every circumstance , instead        of

24   going out and buy ing ton the s treet .           Is that fair ,

25   sir ?




                                                                  Page 152
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 153 of 277



 1   A.        Yeah .    It would be a whole lot better          than going

 2   out on the street .

 3             MR. MONTEMARANO :        That 's all I want ed to be

 4   clear on .      Thank you , sir .

 5             MR. WARD:     May I, Your Honor ?

 6             THE COURT:     Okay .

 7                            CROSS-EXAMINATION

 8             BY MR. WARD:

 9   Q.        Mr. Bowman , you've       testifi ed to your ex ten sive

10   history    of drug use and buy ing drug s, and you were

11   press ed by Ms. Johnston          for the name s of the people         you

12   bought    from when you went outside        Lobo 's .

13             You didn't    know the name s, the nickname s; is

14   that right , sir ?

15   A.        Some of them .

16   Q.        In a ll of your experience , sir , have you ever

17   had a drug deal er come up to you on the street               and say ,

18   hello , sir .      Let me shake your hand .      My name is Fred

19   Smith , and let me show you the wonderful               drug s I have

20   for sale .      Have you ever had anything       like happen      to

21   you ?

22   A.        No, sir .

23             MR. WARD:     Thank you , sir .

24             THE COURT:     Any other cross ?

25             MR. MARTIN:      No .




                                                                    Page 153
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 154 of 277



 1              THE COURT:     All right .

 2              MR. MARTIN:      No re direct .

 3              THE COURT:     Does the government      wish to have

 4   further    cross ?

 5              MS. JOHNSTON:      Your Honor , I don't believe       it 's

 6   necessary .     Thank you .

 7              THE COURT:     You may step down , sir .

 8                            (Witness    excused   at 1:16 p.m. )

 9              THE COURT:     We will take a little      bit short er

10   luncheon    recess   so we can get more testimony        in .    We

11   will be in recess un        til 2:20 .

12                            (Jury excused at 1:16 p.m.)

13                            (Off the record at 1:16 p.m.)

14                            (On the record at 2:25 p.m.)

15              MS. GREENBERG:      Your Honor , if I could raise a

16   legal matter     while we wait for the defendant s to

17   arrive .

18              MR. MONTEMARANO :       Your Honor , I will not waive

19   my client 's presence        for a legal argument .     She is

20   entitle d to be here .

21              THE COURT:     I just want to sit down .

22              MR. MONTEMARANO :       I know the feeling, Your

23   Honor.

24              THE COURT:    I hurt.

25                    (Defendants arrive at 2:27 p.m.)




                                                                   Page 154
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 155 of 277



 1               MS. GREENBERG:     Your Honor , now if I could

 2   address     a legal matter     for two minute s.

 3               THE COURT:   Let 's let them sit down .

 4               THE COURT:   All right .    Ms. Green berg .

 5               MS. GREENBERG:     Your Honor , I've provided

 6   counsel     and the court with case s obtain ed over the

 7   lunch hour .      Of course , the mode of interrogation            of

 8   witness es is whatever        the court practice s.       We submit

 9   it make s more sense to have the defense            finish      their

10   examination      of their witness es first before         the

11   government      goes ; but , clear ly , the Fourth Circuit         law

12   and other circuit s, as set forth in these case s, set s

13   forth that it is per missible         for the court to not allow

14   a codefendant      to cross -examine    what is term ed as a

15   "friend ly codefendant ."

16               In other words , if a defense     witness     does not

17   incriminate      a codefendant     in his or her testimony ,

18   court s have historically        not permitted     other defense

19   attorney s to get up and cross -examine          them .    I gave the

20   court United States       versus    Wimberly , a 19 95 unpublished

21   case.     I've also attached the cases of Crockett and

22   Burke, upon with the         Fourth Circuit   appropriately

23   reli ed .

24               Both Crockett and Burke     are publish ed opinion s,

25   but the reason      why I cite d Wimberly     is not only because




                                                                     Page 155
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 156 of 277



 1   it is a brief er case but it correct ly summarize s the

 2   two publish ed case s as follow s:        I n other words , we

 3   find that the district       court did not err in allow ing a

 4   codefendant    to cross -examine      two codefendant s in an

 5   effort    to elicit    friend ly testimony   from them when

 6   neither    codefendant    in criminate d that codefendant          in

 7   their direct    testimony    -- again , citi ng Crockett       and

 8   Burke .

 9             Then there is a First Circuit           case which is

10   attach ed .   Again , I've given cop ies to        all counsel      as

11   well as the court :       Unite d State s versus      [ph.] , and it

12   was a landlord       called by    one defendant    to come testify .

13   Did not in criminate      the codefendant , and the First

14   Circuit    found it was not error for the district court

15   to refuse to allow codefendants to examine             the

16   landlord , and the landlord         did not incriminate      the

17   other codefendant s.

18             I would submit to       the court that is the

19   appropriate    way to proceed .       Again , everybody has

20   copies    of all of these opinion s.       Thank you .

21             THE COURT:     First of all , I recognize       what my

22   discretion    is .    I exercise d it on the side of let ting

23   Mr. Montemarano       examine .    I've warn ed Mr. Montemarano

24   and all counsel       that we have to provide       for an order ly

25   ebb and flow of testimony         and in fairness     to all sides .




                                                                  Page 156
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 157 of 277



 1   You know there 's going       to be a limit that 's going to be

 2   cross ed , and I'm going to say , that 's it .           So , be

 3   forewarn ed .      If one defendant      call s a witness      who is

 4   only deal ing with that defendant             and not any other

 5   defendant , I'm going to be very , very conservative                in

 6   allow ing every single       defense     attorney    to cross -examine

 7   that witness .        So , just --

 8             MS. GREENBERG:       Your Honor , we --

 9             THE COURT:      I'm try ing to      give everybody     as free

10   a reign as I can .        Just don't take too much of the

11   reign and lose it .

12             MS. GREENBERG:       I further      submit , if the court

13   does do that then they should            go before    we go , as it

14   should    finish     that side before     we come over here .

15             THE COURT:      Yeah .     I think that 's a reasonable

16   request .     If any defense       attorney    want s to cross -

17   examine     a defense    witness     of another   defendant , go

18   before    the government     so I don't have to bring the

19   government      back .

20             MR. MONTEMARANO :        Your Honor , if I might .

21             THE COURT:      You may .

22             MR. MONTEMARANO :        I'd like to make two thing s

23   clear .     Number    one , I certain ly appreciate      and

24   understand      the court 's point of view and understand               the

25   court 's discretion .       I would point out , so the record




                                                                     Page 157
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 158 of 277



 1   is clear , in my view , I did not choose             to cross -

 2   examine     any of Mr. Goodwin 's witness es because            I have   a

 3   well -defined     sense of -- well -understood         sense of

 4   propriety .      I don't like to interfere          in my

 5   codefendant 's case s, and I would n't expect               them to

 6   interfere      in mine .    However , the cross I sought          to

 7   elicit    I thought    was appropriate     and was evoke d only by

 8   Ms. Johnston 's question s, which I thought             would tend to

 9   create    a mis understand ing and mis apprehension            on the

10   part of the jury .         Whether   or not that was her

11   intention , I am not suggest ing that in any way , shape

12   or form .

13             THE COURT:       I permitted   you to do it .

14             MR. MONTEMARANO :        I only asked a few question s.

15   Frankly , I think my question s would have taken less

16   time than our hash ing it out at the be nch .

17             THE COURT:       Counsel , who is the next witness ?

18             MR. MARTIN:       The next witness        is Ms. Cynthia

19   Wine stock .

20             THE COURT:       Cynthia   Wine stock ?

21             THE COURT:       Yes .

22             MR. SUSSMAN :      Judge , before    the witness      come s

23   in , just to speak to this issue .            I think that the

24   notion    that in criminati ng a defendant          require s them to

25   name a defendant       and talk specifically         about them .




                                                                     Page 158
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 159 of 277



 1              THE COURT:      I'm not necessarily       going to be that

 2   narrow .     Mr. Sussman , I'm not going to be that narrow .

 3   All I'm say ing is if you --

 4              MS. GREENBERG:        We agree with you .

 5              THE COURT:      If you believe      something     came out of

 6   the words of a witness          for a codefendant      that you wish

 7   to cross -examine       on , then I want you to go before               the

 8   government .     Now , that 's not to say that there might

 9   not be something        that come s out of the government 's

10   cross -examination       that does in fact       come within       the

11   grounds     that we've di scussed         t hat I might permit         you to

12   do cross-examination       .

13              MR. SUSSMAN :       I object    on relevance    grounds .

14              THE COURT:      I'm just say ing for the mercy of the

15   court and juror s:        I don't    want to get into un necessary

16   or redundant     cross-examination          of witness es on either

17   side .

18              MR. SUSSMAN :       I don't think     that 's been my

19   style , but there may come some thing s from               the

20   government     that require       a response    and require       somebody

21   out and --

22              THE COURT:      I'll deal with that when it happen s.

23   I don't have     a close d mind .         I'm just say ing , you know ,

24   please     understand    that I have       some latitude .       I'm

25   try ing to    give you as much free latitude           as I can in




                                                                       Page 159
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 160 of 277



 1   fairness     to all parti es , but I've got some limit s that

 2   are going to be butt ed up against,            and I'm going to say

 3   no .

 4              Bring the jury in .

 5              Bring the next witness      in .

 6                           (Jury returns      at 2:35 p.m. )

 7   Thereupon,

 8                             CYNTHIA   WINESTOCK ,

 9   having been called as a witness on behalf of the

10   Defendant Goodwin     , and having been first duly sworn by

11   the Courtroom Deputy, was examined and testified as

12   follows:

13                             DIRECT EXAMINATION

14              BY MR. MARTIN:

15   Q.         Good afternoon , Ms. Wine stock .

16   A.         Good afternoon .

17   Q.         In a loud an d clear voice , would you state your

18   full name     for the ladies and gentlemen of the jury           , and

19   spell your last name for the benefit              of the court

20   reporter , please ?

21   A.         Cynthia   Denise   Wine stock

22   Q.         Where do you live , Ms. Winestock ?

23   A.         6904 Verness    A venue , Oxon H ill , Maryland .

24   Q.         Do you know Mr. Learley         Reed Goodwin ?

25   A.         I do .




                                                                 Page 160
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 161 of 277



 1   Q.         Would it be fair to say he 's a good friend         of

 2   your s?

 3   A.         Yes, sir .

 4   Q.         How long have you known Mr. Goodwin ?

 5   A.         Quite a few year s.     Maybe about -- I must have

 6   been about in my 20s .

 7   Q.         Was there a time that you live d over on Ayers

 8   Road ?

 9   A.         Yes , Ayers Place .

10   Q.         Ayers Place ?   Is that the residence      of a Mr.

11   Williams ?

12   A.         Yes, sir .

13   Q.         Do you know Mr. Williams ' full name ?

14   A.         James Williams .

15   Q.         Does he have a nickname ?

16   A.         Chico .

17   Q.         Does Mr. Chico Williams     have any relation      to

18   Tiffany    Vessel s?

19   A.         Yes .

20   Q.         What is his relationship     to Tiffany    Vessels ?

21   A.         Her father .

22   Q.         Does Mr. Williams     have any relationship      to a

23   Dorsey ?

24   A.         Yes, sir .

25   Q.         Does he also have any relationship        to a




                                                                 Page 161
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 162 of 277



 1   gentleman    by the name of Horace        Smith ?

 2   A.        Yes .

 3   Q.        Does Horace     Smith have a nickname ?

 4   A.        I'm not sure .     I only knew him by Horace .

 5   Q.        When did you first meet Horace            Smith ?

 6   A.        Year s ago when Mr. Williams        was stay ing on

 7   Wilmington    Place .

 8   Q.        Do you recall     the circumstance s under which you

 9   met Mr.     Smith ?

10   A.        Yes, I do .

11   Q.        What was that ?

12             MS. JOHNSTON:      Objection .     Relevance .

13             THE COURT:      What's   the relevance ?

14             MR. MARTIN:      I'll move on , Your Honor .

15             THE COURT:      All right .

16             BY MR. MARTIN:

17   Q.        Have you ever seen Mr. Horace         Smith and Mr.

18   Raynard   Dorsey      in his place ?

19   A.        Yes .

20   Q.        Are there any specific         activities    that you might

21   have seen them engage d in ?

22             MS. JOHNSTON:      Objection .

23             THE COURT:      Over ruled .

24             MS. JOHNSTON:      Your Honor , may we approach ?

25             THE COURT:      All right .




                                                                   Page 162
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 163 of 277



 1              MS. JOHNSTON:     I don't know      if we're get ting

 2   into some kind of specific           bad conduct     that he 's try ing

 3   to use to impeach        or attack     Mr. Smith 's credibility        as

 4   a witness .     We were told that these witness es were

 5   going to be call ed as character           witness es to attack        the

 6   character     with this witness        an d Mr. Thurman , but I

 7   understand     now it 's Mr. Smith .       Second,    we don't have

 8   any time frame .        So , the court could n't even      accurate ly

 9   determine     whether    information     is relevant .

10              MR. MARTIN:     I can get the time frame out .          With

11   respect     to this , Your Honor , our theory         of the defense

12   will be that Mr. Horace        Smith was involve d in drug

13   deal ing long before       he met Learley     Goodwin , and not

14   just in a small way but in a large way .

15              Mr. Smith came , took the stand and testifi ed

16   before     the ladies and gentlemen of the jury           that he was

17   a small time deal er and only became           a big time deal er

18   after meet ing Mr. Goodwin .           Ms. Winestock , it 's

19   proffered , will be able to show that that 's not the

20   case and that Mr. Smith was deal ing in larger

21   quantities     before    meet ing Mr. Goodwin .

22              MS. JOHNSTON:     Your Honor , again , I think this

23   is direct ly under the Bynum case that Ms. Green berg

24   cite d to the court and that we filed this morn ing under

25   608 (b).    I t's not an admissible        prior bad conduct      of




                                                                    Page 163
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 164 of 277



 1   the witness .        So , we would object    to it comi ng in .

 2   It 's nothing       -- he has n't -- I'm not sure what time

 3   frame it is, and        I don't know -- I don't know        that she

 4   has a basis of knowledge            for say ing any of this .      And

 5   more clear ly , under Bynum , it is a specific          attempt      to

 6   impeach    the credibility      of a witness     by specific    prior

 7   act s of the witness       being Mr. Smith .

 8             MR. MARTIN:      Again , it goes to credibility .          I

 9   think that the witness        should     be allow ed to testify      to

10   these --

11             THE COURT:      She can give an opinion       about the

12   truthfulness        of somebody .     I think we're run ning right

13   into 608 (b) problem s of specific          instance s of the

14   conduct    of the witness     by extrinsic      evidence.    I'm

15   going to sustain        the objection .

16             MR. MARTIN:      Very good , sir .

17             MS. JOHNSTON:       Thank you , Your Honor .

18                            (Back in open court .)

19             BY MR. MARTIN:

20   Q.        Ms. Winestock , you said you had occasion             to meet

21   Horace    Smith .     How long did you know him ?

22   A.        Maybe about 15 or 20 year s.

23   Q.        During     that 15 - to 20 -year period , did you have

24   -- did you form an opinion            regard ing his credibility ?

25   That is , his believability ?




                                                                    Page 164
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 165 of 277



 1   A.       Yes .

 2   Q.       What is that opinion ?

 3   A.       Not good .

 4   Q.       With respect     to other people    who might know Mr.

 5   Horace   Smith .   Do you know other people        who know him ?

 6   A.       Yes , I do .

 7   Q.       Within    the community    of people    who know Mr.

 8   Horace   Smith , what is his reputation         for truthfulness ?

 9   A.       Not honest     at all .

10   Q.       Ms. Winestock , Mr. Goodwin 's been lock ed up for

11   some time now .     You know that , right ?

12   A.       Yes, sir .

13   Q.       Have you had occasion       to speak with Mr. Goodwin

14   since he 's been lock ed up ?

15   A.       Of course .

16   Q.       Why have you had occasion        to speak with Mr.

17   Goodwin ?

18   A.       We're friends .

19   Q.       Are y ou handli ng any business        matter s for him ?

20   A.       Yes, sir .

21   Q.       Would you tell the ladies and gentlemen of the

22   jury what kind of business         matter s you're   handli ng for

23   him ?

24   A.       Sure .    I take care of some property       and -- well ,

25   taking   care of property , real estate , etcetera .




                                                                 Page 165
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 166 of 277



 1   Q.        If you could be a little          more specific   with

 2   respect     to the real estate .      Exact ly what are you do ing

 3   for him ?

 4             MS. JOHNSTON:       Objection .     Relevance .

 5             THE COURT:       Over ruled .

 6             MR. MARTIN:       Ms. Winestock     -- Your Honor , I'm

 7   going to stop .        I have no further     question s of this

 8   witness .

 9             Madam government , your witness .

10             MS. JOHNSTON:       Thank you , Mr. Martin .

11             THE COURT:       All right .

12                              CROSS-EXAMINATION

13             BY MS. JOHNSTON:

14   Q.        Ms. Wines tock , have you ever been employ ed by

15   Mr. Goodwin ?

16   A.        No, ma'am .

17   Q.        Are you familiar       with the property    he own s on

18   Anacostia     Road ?

19   A.        Yes, ma'am .

20   Q.        Had you been there before          his arrest ?

21   A.        Yes, ma'am .

22   Q.        Who did you visit with when you went over to

23   Road ?

24   A.        Tiffany      and Mr. Goodwin    as well .

25   Q.        When you visited       with Tiffany    and Mr. Goodwin




                                                                  Page 166
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 167 of 277



 1   over at Anacostia       Road , was that on the second      level in

 2   one of the two apartment s occup ied up there ?

 3   A.        Yes, ma'am .

 4   Q.        What time period      are we talk ing about here ?

 5   2000 to 2004 ?

 6   A.        Yes .

 7   Q.        Does that sound about right ?

 8   A.        Well , before    then .   I've been know ing him for

 9   year s.

10   Q.        Okay .   So in term s of when you went to         Road and

11   when you visited       with Mr. Goodwin      and Ms. Vessel s in

12   one of those second        floor apartment s --

13             MR. MARTIN:      Your Honor , I'm going to object .

14             This is beyond     the scope of my direct

15   examination .

16             THE COURT:      Overr uled .

17             MR. MARTIN:      This is a very narrow     scope .

18             BY MS. JOHNSTON:

19   Q.        It start ed back before        even 2000 ; is that

20   correct ?

21   A.        Yes .

22   Q.        Did it continue     up until the time of his arrest

23   in 2004 ?

24   A.        Yes .

25   Q.        How often would you see Mr. Goodwin          over at




                                                                 Page 167
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 168 of 277



 1   Road during     that time period ?

 2   A.       Not that often .      I mostly   saw Tiffany    Vessels .

 3   Q.       What was the last time that you saw Mr. Goodwin

 4   with Ms. Vessel s before       his arrest   in June of 2004 ?

 5   A.       I never said I saw them together , but I said

 6   I've seen Mr. Goodwin        and Ms. Vessel s.

 7   Q.       At Anacostia      Road ?

 8   A.       Yes, ma'am .

 9   Q.       But not together .

10   A.       Yes, ma'am .

11   Q.       And it was in one of those second          story

12   apartment s?

13   A.       Yes , it was .

14   Q.       Was it in the apartment       that had the

15   surveillance      camera s in it ?

16   A.       I'm not sure .

17   Q.       In addition      to see ing Mr. - -- strike    that .

18            So I'm clear .      You never saw Mr. Goodwin       and Ms.

19   Vessel s together     anywhere ?

20   A.       I've seen them together , but not at Anacostia

21   Road .

22   Q.       You've    seen them together     at other place s?

23   A.       Out eat ing and , you know , thing s like that of

24   that nature .

25   Q.       How about at the residence         over on Farragut




                                                                 Page 168
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 169 of 277



 1   Place ?

 2   A.         No .

 3   Q.         Have you ever been to the residence          on Farragut

 4   Place ?

 5   A.         Yes, I have .

 6   Q.         Who have you been to see there on Farragut

 7   Place ?

 8   A.         I live d there for a min ute.

 9   Q.         When was that that you live d there ?

10   A.         Recent ly .    Maybe about six month s ago .

11   Q.         Was it after Mr. Goodwin       got arrested    that you

12   live d there --

13   A.         Yes, ma'am .

14   Q.         -- o r before    he got arrested ?

15              Did you ever go there ?

16   A.         No, ma'am .

17   Q.         So you weren't     familiar   with that location ?

18   A.         Not at all .

19   Q.         Now , what about Oglethorpe      Street ?    Are you

20   familiar     with any res idents    on Oglethorpe      Street ?

21   A.         No, ma'am .

22   Q.         Have you ever met with Mr. Goodwin 's stepson ,

23   Larry Lane ?

24              MR. MARTIN:      Your Honor , objection .

25              This is well beyond     the scope of direct       at this




                                                                  Page 169
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 170 of 277



 1   point .

 2             MS. JOHNSTON:      I'll re phrase    the question .

 3             BY MS. JOHNSTON:

 4   Q.        In addition     to know ing Ms. Vessel s and her

 5   father , Chico -- how did you meet Ms. Vessels?

 6   A.        Ms. Vessel s' brother    and I grew up together .

 7   Q.        So , you grew up with her brother s?

 8   A.        Yes, ma'am .

 9   Q.        Did Mr. Goodwin     ever introduce      you to , or were

10   you ever with Mr. Goodwin        and Chico together ?

11   A.        No, ma'am .

12   Q.        In term s of your relationship         with Mr. Goodwin .

13   How often would you see or speak with him before              he

14   went to jail in June of 2004 ?

15   A.        Quite often .     We're friends     so , you know , we

16   kept in contact      with each other and see how each other

17   was do ing , you know .

18   Q.        Let me show you what's      been mark ed as Oglethorpe

19   7, and let me just put it up here on the screen .

20             Can you see Government 's Exhibit         Oglethorpe     7?

21   A.        Mm-hmm .

22   Q.        Do you recognize     the name Cynthia      Winestock , W I

23   N E S T O C K?

24   A.        That would be me .

25   Q.        Is that your telephone      number ?




                                                                 Page 170
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 171 of 277



 1   A.        Yes, ma'am , it is .

 2   Q.        Who did you give your telephone             number      to ?

 3   A.        Mr. Goodwin .

 4   Q.        That 's not your handwriting , is it ?

 5   A.        No, ma'am .

 6   Q.        Is that Mr. Goodwin 's handwriting ?

 7   A.        Yes , it is .

 8             MR. MARTIN:      Objection .         Objection .

 9             THE COURT:      Basis ?

10             MR. MARTIN:      Scope .     Relevance .

11             THE COURT:      Over ruled .

12             BY MS. JOHNSTON:

13   Q.        That 's Mr. Goodwin 's writing ?

14   A.        Yes .

15   Q.        Let me show you another         page from Goodwin              16 .

16             Do you see that page , the reference               to

17   Cynthia /Butch ?      Do you recognize         those number s?

18   A.        No .

19   Q.        Do you know Butch ?

20   A.        No, ma'am , I don't .

21   Q.        In terms of Horace         Smith .     Did you work with Mr.

22   Smith ?

23   A.        No .    I purchase d drug s from Mr . Smith .

24   Q.        So you use d drug s, too ?

25   A.        I did at that time .




                                                                        Page 171
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 172 of 277



 1   Q.      First of all , what kind of drug s did you use ?

 2   A.      I use d cocaine .

 3   Q.      Cocaine .     Would that be powder        cocaine   or crack ?

 4   A.      Crack .

 5   Q.      How long have you use d crack cocaine ?

 6   A.      Some year s.

 7   Q.      Well , give us an idea .

 8           When was the last time you use d crack cocaine ?

 9   A.      I haven't     use d crack cocaine     in maybe about nine

10   or ten month s.

11   Q.      Nine or ten month s?

12   A.      Yes, ma'am .

13   Q.      So it would be safe to say that you quit maybe

14   last fall of 2005 ?

15   A.      Yes .     Smoki ng crack , yes .

16   Q.      Were you using any other drug s?

17   A.      Weed .     Marijuana .

18   Q.      So you use d marijuana        and you use d crack .

19   A.      Yes, ma'am .

20   Q.      Before     you quit using crack in the fall of 200 5,

21   for what period      of time had you been using it ?

22   A.      Could you repeat         the question ?

23   Q.      For what period       of time had you been using crack

24   cocaine ?

25   A.      Before     I quit ?




                                                                  Page 172
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 173 of 277



 1   Q.          Yes .

 2   A.          Maybe about seven year s.

 3   Q.          Seven year s?

 4   A.          Eight .     Seven or eight year s.

 5   Q.          And you indicated      that you obtain ed your crack

 6   cocaine      on occasion     from Mr. Smith ; is that correct ?

 7   A.          Yes, ma'am .     And Renaldo Dorsey .

 8   Q.          And Renaldo Dorsey ?

 9   A.          Yes, ma'am .

10   Q.          Who else did you get crack from ?

11   A.          That 's it .    I use d to go to Southwest     and buy it

12   off the street s -- S outhwest         D. C. and buy it off the

13   street .

14   Q.          Have you ever been to Mr. Goodwin 's business ,

15   Lobo 's ?

16   A.          I've been there , yes, ma'am .

17   Q.          Ever buy crack from other people         at Lobo 's ?

18   A.          No .     I went there to get my car fix ed .     Part s

19   for my car .         That 's why I attend ed Lobo 's .

20   Q.          Ever see anyone     there sell ing crack ?

21   A.          No, ma'am .     I was n't for that .    I was there to

22   get my car fix ed .

23   Q.          When you went to       Road , for what purpose    did you

24   go to       Road ?

25   A.          To visit .     I didn't   only have friends    Mr. G. --




                                                                  Page 173
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 174 of 277



 1   Mr. Goodwin       and Tiffany    were not my only friends .     I

 2   had other friends        that live d in the build ing .    I had a

 3   cousin that lived        in the building .

 4   Q.         Were you using crack cocaine       at the time you

 5   were visiting ?

 6   A.         How often did I use it ?

 7   Q.         During    the time period    that you use d it , the

 8   seven year s that you use d it , how often did you use

 9   crack ?

10   A.         Occasional ly .

11   Q.         Occasion ally mean ing , what , once a creek ?      Twice

12   a week ?     Three time s a week ?

13   A.         Maybe twice a week .

14              MR. MARTIN:       Your Honor , there 's a continui ng

15   objection     to this entire      line of question ing .

16              THE COURT:     So note d.

17              BY MS. JOHNSTON:

18   Q.         Did you discuss       your use of crack cocaine    with

19   Mr. Goodwin ?

20   A.         No .

21   Q.         You n ever told him about it ?

22   A.         No .

23   Q.         In term s of Mr. Smith .      Mr. Smith you met

24   through     whom ?

25   A.         Renaldo    Dorsey .




                                                                 Page 174
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 175 of 277



 1   Q.        And Mr. Dorsey    was related    to Ms. Vessel s; is

 2   that correct ?

 3   A.        Yes, ma'am .

 4   Q.        Did you ever see Mr. Goodwin       at Ms. Vessel s'

 5   father 's house ?

 6   A.        Yes, ma'am .

 7   Q.        And that would be Chico 's house ; is that

 8   correct ?

 9   A.        Yes, ma'am .

10   Q.        How often did you see Mr. Goodwin         at Chico 's

11   house ?

12   A.        Not often .

13   Q.        Was Chico also involve d in sell ing drug s?

14   A.        I'm not sure , ma'am .

15   Q.        Was Chico there when Mr. Goodwin         --

16   A.        Sometimes .

17   Q.        Okay .   When Mr. Goodwin    would be there ,

18   sometimes    was Mr. Dorsey    also present ?

19   A.        Mr. Goodwin    would come sometimes      to pick up Ms.

20   Vessel s.

21   Q.        My question    to you was this .     Was Mr. Dorsey

22   sometimes    present    at Chico 's house when Mr. Goodwin

23   would come over to the house ?

24   A.        I'm not sure .

25   Q.        What about Mr. Smith ?      Was he there sometimes ?




                                                                 Page 175
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 176 of 277



 1   A.        Mr. Smith and Renaldo       was there often .     I rent ed

 2   a room from Mr. Williams , so that 's how I know .

 3   Q.        You rent ed a room from Chico -- Mr. Williams?

 4   A.        Yes, ma'am .

 5   Q.        So you were there a while .

 6   A.        But I was n't work ing , yes , I was .

 7   Q.        So you stay ed there ?

 8   A.        Yes, ma'am .

 9   Q.        So , when Mr. Goodwin      would come over to see Ms.

10   Vessel s or to pick her up , were there occasion s when

11   Mr. Smith was present ?

12   A.        I'm not sure .     Not while I was there .

13   Q.        Are you not sure , or it didn't       happen    while you

14   were there ?

15   A.        It didn't     happen   while I was there .

16   Q.        That you recall ?

17   A.        That I recall .

18   Q.        Mr. Dorsey .     Was Mr. Dorsey   there sometimes      when

19   Mr. Goodwin    would come by ?

20   A.        Sometimes .

21   Q.        Did you ever hear any conversation s between           Mr.

22   Goodwin   and Mr. Dorsey ?

23   A.        No, ma'am .

24   Q.        So you didn't     participate ?

25   A.        Not that I recall , no .




                                                                 Page 176
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 177 of 277



 1   Q.        You didn't       participate    in their conversation s.

 2   A.        No, ma'am .

 3   Q.        And the quantity       of drug s that you were buy ing

 4   from Mr. Smith .       Was it just Mr. Smith you got drug s

 5   from , or also Mr. Dorsey ?

 6   A.        And Renaldo .

 7   Q.        In t erm s of Mr. Smith and the quantity          of drug s

 8   that you got from him .          Are we talk ing about a $20 rock

 9   of crack ?

10   A.        Yes, ma'am .

11   Q.        Sometimes       would you get more than a $20 ?

12   A.        No .   No, ma'am .

13   Q.        Just got $20 ?

14   A.        Dime s and 20 s.      $10 bag s and $ 20 bag s.

15   Q.        That was crack ; correct ?

16   A.        Yes, ma'am .

17   Q.        And you got it from Mr. Dorsey          and Mr. Smith ?

18   A.        Yes, ma'am .

19   Q.        They weren't       offering    you kilogram s of drug s,

20   were they ?

21   A.        Excuse   me ?

22   Q.        They weren't       sell ing you kilogram s of drug s,

23   were they ?

24   A.        No, ma'am .       But I've seen them fix up kilogram s,

25   because    I was the tester .




                                                                  Page 177
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 178 of 277



 1   Q.      You were the tester       for them ?

 2   A.      Yes, ma'am .

 3   Q.      And when they fix ed up their crack cocaine            from

 4   the powder   cocaine , did you observe       them using alcohol ,

 5   like vodka , to mix it up with       the crack cocaine      so that

 6   it would be better ?

 7   A.      I'm not sure what they use .

 8   Q.      Well , do you recall      see ing alcohol    being use d?

 9   A.      No, ma'am .

10   Q.      This was done at Chico 's house ?

11   A.      Yes, ma'am .

12   Q.      Where Ms. Vessels      was living ?

13   A.      Yes, ma'am .

14   Q.      Where Mr. Goodwin      would come to pick her up ?

15   A.      Sometimes .

16   Q.      And it would be Mr. Dorsey         that you saw ?

17   A.      Yes, ma'am .     And Mr. Smith .

18   Q.      They would both cook it up there ?

19   A.      Yes, ma'am .

20   Q.      You don't know where they got the powder             cocaine

21   from , do you ?

22   A.      I have no idea .

23   Q.      And they would sell you a $20 rock ?

24   A.      They would first ask me to try it out and to

25   tell them how it was , and I would do so .           If I like d




                                                                 Page 178
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 179 of 277



 1   it , I would buy it -- I would purchase            some .

 2   Q.      In addition     to do ing testing       there at Ms.

 3   Vessel 's father 's house , did you also do testing              at --

 4   test drug s at other location s for other people ?

 5   A.      No, ma'am .

 6   Q.      Just there ?

 7   A.      Just there .

 8   Q.      What about      Road .

 9   A.      No, ma'am .     I knew them , and I felt like I could

10   trust them that they would n't sell me anything                or give

11   me anything     -- have me try anything .

12   Q.      In addition     to buy ing from them , also over the

13   seven year s you bought     crack from other people ; isn't

14   that correct ?

15   A.      Yes, ma'am .     It was always        someone   I knew off

16   the street    over Southwest , people         I knew , you know .

17   Q.      So you trusted      other people       as well ?

18   A.      The ones that I knew , yes, ma'am .

19   Q.      And this cocaine         conversion    was taking      place in

20   the same residence     where you saw Ms. Vessel s and where

21   Ms. Vessel s live d and where Mr. Goodwin           would come by

22   and see her and pick her up ?

23   A.      Yes, ma'am .

24   Q.      Did you know an individual            name d Vicki ?

25   A.      Who ?




                                                                     Page 179
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 180 of 277



 1   Q.        Vicki ?

 2   A.        Vicki ?

 3   Q.        Yeah .

 4   A.        Yes, ma'am .

 5   Q.        Vicki is someone         Mr. Goodwin    knew ; is that

 6   correct ?

 7   A.        I'm not sure if Vicki and Mr. Goodwin                knew each

 8   other or not .

 9   Q.        Are you aware of the fact that Vicki delivered

10   drug s to Mr. Goodwin      -- to Mr. Smith at that residence ?

11   A.        I have no knowledge         of that , ma'am .

12   Q.        And the -- if I understood          you correct ly , the

13   reason    you tested    for Mr. Smith and Mr. Dorsey            is

14   because     you could trust them ; is that correct ?

15   A.        I thought    so , yes, ma'am .

16             MS. JOHNSTON:    I have       nothing    further .

17             THE COURT:      All right .     Any re direct ?

18             MR. MARTIN:      Yes .     Brief ly , Your Honor .

19                           REDIRECT EXAMINATION

20             BY MR. MARTIN:

21   Q.        Ms . Winestock , you testifi ed that you saw Mr.

22   Dorsey    and Mr. Smith cook ing up drug s at Ayers P lace ;

23   is that correct ?

24   A.        Yes .

25   Q.        In addition     to cook ing it up , did you see them




                                                                      Page 180
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 181 of 277



 1   package     it ?

 2   A.        Yes, sir .

 3   Q.        Did you see them distribute               it ?

 4   A.        Yes, sir .

 5   Q.        Is that before          Mr. Horace    Smith knew Mr.

 6   Goodwin ?

 7   A.        Excuse      me .     Could you repeat      that , Mr. Martin ?

 8   Q.        Was that before          Mr. Smith knew Mr. Goodwin ?        The

 9   distributing         and pack ing .

10   A.        Yes , out of         course .

11             MR. MARTIN:           Nothing    further , Your honor .

12             THE COURT:           Thank you very much .       You may step

13   down .

14                                 (Witness    excused   at 2:56 p.m. )

15             MR. MARTIN:           Your Honor , may I approach      brief ly ?

16             THE COURT:           You may .

17                                (At the bar of the Court.)

18             MR. MARTIN:           Thank you for your patience , Your

19   Honor .     Mr. Goodwin         has asked me to ask the court if he

20   can testify         out of order Y our Honor .         He says his cap

21   has fallen         out in the front of his mouth , and he is

22   willing     to come and show the court what the situation

23   is .

24             THE COURT:           Who wants to testify ?

25             MR. MARTIN:           This is the defendant , Mr. Goodwin .




                                                                      Page 181
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 182 of 277



 1           THE COURT:      He wants to     testify ?      Would this be

 2   the right time ?

 3           MR. MARTIN:      Not now , because      --

 4           MS. JOHNSTON:        Your Honor , now is the right time

 5   for Mr. Goodwin     to testify .     We have many defendant s in

 6   this case .     The government     has to be prepared .

 7           THE COURT:      This is your case .          Unless   there 's

 8   some extraordinary      reason , I think he ought to testify .

 9           MR. MARTIN:      He submit s that that 's the

10   extraordinary     reason .

11           THE COURT:      What is the issue ?

12           MR. MARTIN:      The issue is his bridge .

13   Apparently,     it 's fallen    out dur ing the lunch hour .

14           THE COURT:      I don't think     a problem      with

15   dentistry     is going to be enough     to --

16           MR. MARTIN:      Very good , Your Honor .

17           THE COURT:     I have     no idea when that can be

18   fix ed or if it can be fix ed .

19           MR. MARTIN:      I've brought     it to the attention            of

20   the court .     Mr. Goodwin     has offered   to come up and show

21   the court .

22           THE COURT:      I've urge d him not to testify , as

23   I'm sure you have too , but I think if he wants to

24   testify , the time is now .

25           MR. MARTIN:      I'm sure he 's hear ing that on the




                                                                     Page 182
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 183 of 277



 1   mike .

 2             MS. JOHNSTON:      I don't know    if the court would

 3   like to take five minute s and to question            him to make

 4   the record     clear and ask him if he 's discuss ed it with

 5   his attorney     and if he 's given consideration        to the

 6   advice    of his attorney     and the court and if he 's maki ng

 7   this decision     to testify      free ly and voluntarily , just

 8   so   it is extra clear on the record          down the road if

 9   there are issue s in term s effective         assistance   of

10   counsel .    I just would like the record        to be very

11   clear .

12             MR. MARTIN:      Just for the record , I met with him

13   at lunchtime     and we discuss ed this again at length .

14             THE COURT:      Well , Ms. Johnston , I'm try ing to

15   think of a way     to do this without       having   to send the

16   jury out .

17             MS. JOHNSTON:      I understand    that , Your Honor .        I

18   don't suggest     it light ly .     I just would like the record

19   very clear that it is his decision .

20             MR. MARTIN:      I didn't   mean to in convenience      the

21   court or the jury .       He told me this after our meet ing

22   downstairs .     This is when I came upstairs         here an d he

23   was seat ed that he told me about the problem            with his

24   mouth .

25             THE COURT:      I just don't think that 's a




                                                                 Page 183
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 184 of 277



 1   sufficient         reason   to allow him to go on to another

 2   defendant     and sudden ly come out of the blue and do

 3   this .    This is a problem         that may or may not be

 4   resolve d that I simply           won't testify     eloquent ly with

 5   bridge    work that 's got problem s.            That 's not going to

 6   pre vent him from talk ing .          Worried     about his

 7   appearance ?

 8             MS. JOHNSTON:         Perhaps      the court should   inquire

 9   of Mr. Goodwin         or at least    during     the court 's inquir y

10   the court could ascertain            if he 's able to talk with

11   that problem .

12             THE COURT:         We will send the jury out for five

13   minute s.

14             MR. MARTIN:         I'm sorry to do this to the court ,

15   believe     me .     I'm really    sorry .

16                               (Back in open court .)

17             THE COURT:         Ladies and gentlemen     , there 's a

18   min or matter        I need to attend        to without   you present ,

19   so I'm going to send you back to the jury room                  for

20   perhaps     five minute s and bring you right back in .

21                               (Jury excused      at 2:59 p.m. )

22             THE COURT:         All right .      Mr. Goodwin , you were

23   able to hear the conversation                I had at the bench ; is

24   that correct ?

25             MS. JOHNSTON:         Your Honor , we can't hear Mr.




                                                                      Page 184
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 185 of 277



 1   Goodwin 's response s to the court .

 2             THE COURT:     You're    going to have to put the mike

 3   in front of you , Mr. Goodwin .

 4             MR. MARTIN:     Can he be seat ed , Your Honor ?       It

 5   might be easier .

 6             THE COURT:     You can be seat ed , sure ly , if we can

 7   hear him better .       Put the mike right next to your

 8   mouth , Mr. Goodwin , so I can hear you .

 9             Mr. Goodwin , I have      a conversation   with you

10   before    we broke for lunch about your right not to

11   testify    and about the fact that not testify ing would be

12   something    I would advise       the jury could not be use d to

13   infer anything    adverse    to you .

14             Do you remember    that conversation ?

15             DEFENDANT GOODWIN:        Yes .

16             THE COURT:     My understand ing is that you have

17   had a discussion       with your attorney    about the question

18   of whether    to testify    or not ; is that correct ?

19             DEFENDANT GOODWIN:        Yes .

20             THE COURT:     My understand ing is your attorney

21   has fully advise d you about your right to testify             or

22   not testify , as the case may be ; is that right ?

23             DEFENDANT GOODWIN:        Yes .

24             THE COURT:     My understand ing is your attorney

25   has advise d you not to testify ; is that correct ?




                                                                 Page 185
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 186 of 277



 1              DEFENDANT GOODWIN:         Yes .

 2              THE COURT:      In spite     of your attorney 's advice ,

 3   you still wish to testify , know ing that if you testify ,

 4   you will be ex pos ing yourself          to c ross-examination , as

 5   is the right for any prosecutor               to engage   in with a

 6   person     testify ing .

 7              Do you understand      that ?

 8              DEFENDANT GOODWIN:         Yes, sir .

 9              THE COURT:      Do you understand         that testify ing in

10   some case s might make thing s worse , not better ?                Do you

11   understand     that ?

12              DEFENDANT GOODWIN:         Yes, sir .

13              THE COURT:      In spite     of those risk s, you still

14   want to testify ?

15              DEFENDANT GOODWIN:     Yes      , sir .

16              THE COURT:      You do .

17              Now , my understand ing is you have some problem

18   with your dental        work .   What is the problem        you're

19   having ?

20              DEFENDANT GOODWIN:         It came out .       My cap came

21   loose .

22              THE COURT:      I'm sorry .        I can't hear you .

23              DEFENDANT GOODWIN:         At lunchtime , my cap broke

24   loose .

25              THE COURT:      A cap broke loose on a tooth ?




                                                                     Page 186
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 187 of 277



 1             DEFENDANT GOODWIN:              Two of them .     It 's a bridge

 2   thing .

 3             THE COURT:        All right .        What problem    is that

 4   causi ng for you , if any ?

 5             DEFENDANT GOODWIN:              It 's achi ng .

 6             THE COURT:        It 's what ?

 7             DEFENDANT GOODWIN:         It     's achi ng .

 8             THE COURT:        It 's achi ng ?      I can't hear what

 9   you're    say ing , sir .

10             DEFENDANT GOODWIN?              I s aid , it 's achi ng .

11             THE COURT:        I'm sorry .        I can't understand       what

12   you're    say ing .

13             MR. MONTEMARANO :          I think he 's try ing to         say

14   it 's achi ng .

15             MS. JOHNSTON:        Your Honor , if Mr. Montemarano

16   would not interject         and let the court conduct            its voir

17   dire --

18             THE COURT:        You're    say ing it ache s?

19             DEFENDANT GOODWIN:              It ex pose d the nerve , I

20   guess .

21             THE COURT:        Are you able to talk ?

22             DEFENDANT GOODWIN:              As best I can .     I'm try ing

23   to hold it up .       It came loose .          I was biti ng into a

24   hard sandwich , and it came loose .

25             THE COURT:        Well , you're       able to converse       with




                                                                           Page 187
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 188 of 277



 1   me now , are you not ?

 2              DEFENDANT GOODWIN:      The best I can .      If you can

 3   understand     me .

 4              THE COURT:     Well , Ms. Johnston,   what's    your

 5   position ?

 6              MS. JOHNSTON:     Your Honor , I would only ask the

 7   court to make sure that his decision          to testify     has

 8   been made voluntarily        and that no one has promise d him

 9   or threaten ed him anything .

10              THE COURT:     I can't hear you , Ms. Johnston .

11              MS. JOHNSTON:     I would just like to be sure --

12   I don't know     if now is the right time to do it or not ,

13   but to be sure that his decision          to testify     is one he 's

14   made voluntarily        and not subject   to any threat s or

15   promise s from anyone       in term s of that issue .

16              I don't know    if the mar shals could do something

17   in term s of fix ing that crown over night so that he

18   does n't have a problem       or if it could be re move d so

19   that he could open his mouth more fully .            It look s like

20   he 's not opening       his mouth to speak because       of -- his

21   crown is loose .        I don't know   that it 's a significant

22   injury .     I have crown s as well .     I don't know     that it 's

23   anything     that 's ever been an impairment      to speak ing

24   before , but if the court would want to have the

25   mar shals attempt       to get it fix ed over night , that may be




                                                                 Page 188
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 189 of 277



 1   one thing .     I understand      that .   We would prefer        to have

 2   his case finish ed in its entire ty before             we move to the

 3   next defendant , for the sake of the jury .

 4           We would defer to the court in term s of how the

 5   court want s to handle     it .     He does not appear          to be

 6   under any significant      pain .

 7           THE COURT:      Where is your client           being held ?

 8           MR. MARTIN:      He 's being held in Prince George 's

 9   Detention     Center , and this issue regard ing his crown

10   has been brought     up repeat edly and, to be quite frank ,

11   Your Honor , ignore d.

12           THE COURT:      I'm sorry .        What ?

13           MR. MARTIN:      It was ignored.            The issue

14   regard ing his loose crown has been brought               up in the

15   past , and it 's been ignore d.

16           THE COURT:      He 's had this problem          before ?

17           MR. MARTIN:      It was loose before , but now he

18   says -- Mr. Goodwin      tell s me that it 's broken            now .

19           THE COURT:      Well , did it fall off or what

20   happened ?

21           MR. MARTIN:      I don't know , Your Honor .             I'm

22   learn ing this as you are learn ing it when Mr. Goodwin

23   came in .

24           THE COURT:      Mr. Goodwin , tell me what is wrong

25   with your teeth .




                                                                      Page 189
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 190 of 277



 1            DEFENDANT GOODWIN:       It came out today .

 2            THE COURT:     What came out ?

 3            DEFENDANT GOODWIN:       Here .

 4            MR. MARTIN:     The crown , apparent ly .

 5            DEFENDANT GOODWIN:       Can you see it ?      It broke

 6   off .

 7            THE COURT:     It fell off ?       Are you able to speak ?

 8            MR. HALL:     He has it in his hand .

 9            MR. MARTIN:     It broke off .       He has it in his

10   hand .

11            DEFENDANT GOODWIN:       The nerve,     I guess , is

12   ex pose d.   It 's real sensitive .     If they can get some

13   glue and put it back in there -- it 's got the nerve

14   hang ing down there .      You can come and see it .       I mean ,

15   let me bring and show you , and you can see what I'm

16   talk ing about .

17            THE COURT:     Mr. Goodwin , you say you want to

18   testify .    Has anybody    threaten ed you or tr ied to      coerce

19   you into testify ing ?

20            DEFENDANT GOODWIN:       Hm -mm.

21            THE COURT:     No ?   I can't hear you , sir .

22            DEFENDANT GOODWIN:       Hm -mm.

23            THE COURT:     No or yes ?

24            DE FENDANT GOODWIN:    No.

25            THE COURT:     Did you say no ?




                                                                 Page 190
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 191 of 277



 1              DEFENDANT GOODWIN:        No     .

 2              THE COURT:       All right .          All right .   I'm going to

 3   confer   with the mar shals and ask them to have his teeth

 4   check ed , and I'll permit           you to be skip ped over for

 5   now , but you're       going to have to be prepared             to testify

 6   tomorrow     in the absence      of there being some significant

 7   dental   issue that 's brought             to my attention     by the

 8   marshals     service .

 9              As I said , I have recommend ed you not testify ;

10   your counsel        has .   It 's up to you if you want to

11   testify , but I want to make sure it 's clear :                     Nobody

12   has threaten ed you or tri ed to force you to testify ; is

13   that right ?

14              DEFENDANT GOODWIN:        (Affirmative nod          .)    "Yes."

15              THE COURT:       You're    shaki ng your head "yes ?"

16              DEFENDANT GOODWIN:             No .    No .

17              THE COURT:       No , you 're not        shaki ng your head ?

18   Who's threaten ed you ?

19              DEFENDANT GOODWIN:             No .    Nobody 's threaten ed me .

20              THE COURT:       Nobody 's threaten ed you .

21              Okay .    All right .      Ms. Johnston , I'm going to

22   ask the mar shals service            to give me a report        on the

23   dental   situation .

24              MS. JOHNSTON:       Your Honor might want to inquire

25   as to whether        Mr. Goodwin      has had any difficulty




                                                                          Page 191
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 192 of 277



 1   speak ing while down in lock up .

 2              THE COURT:     I'm going to find     out .    I'm going to

 3   ask the mar shals service         to do a full inquiry      with

 4   speak ing and problem s with        this issue and what if

 5   anything    needs to be done to correct         it .    But if this

 6   is a matter     that 's been going on for some time , it may

 7   very well be something        that I'm not going to simply

 8   permit    any further     delay in this .     There 's been enough

 9   delay s in this case , but I will permit          you not to

10   testify    today .     You should   be prepare d to testify

11   tomorrow    morning , in the absence        of the mar shals

12   service    tell ing me there 's a serious       problem    and it

13   can't be fix ed over night .

14              Do you have any other witness es , Mr. Martin ?

15              MR. MARTIN:     No .   With the exception      of Mr.

16   Goodwin    -- I'm not say ing I rest , but that would be the

17   end of the defense        case for Mr. Goodwin .

18              THE COURT:     Mr. Hall , are you ready to       go ?

19              MR. HALL:     Yes , Your Honor , I'm re ady to      go .

20              My client    is going to testify .      I believe       it

21   would be appropriate        to have him voir dire        at this

22   time , before    we bring the jury back in .           I can do it or

23   you can do it , if you prefer .

24              THE COURT:     You can do it .

25              MR. HALL:     Mr. Whiting,   stand up for a moment .




                                                                  Page 192
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 193 of 277



 1              Do you understand , sir , you have an absolute

 2   right to testify       in this case if you choose            to ?

 3              DEFENDANT WHITING     :     I do .

 4              MR. HALL:   D o you understand          also you have an

 5   absolute    constitution al right not to testify              and remain

 6   silent ?

 7              DEFENDANT WHITING:          I do .

 8              MR. HALL:    Do you understand          that if you chose

 9   to remain    silent    that the judge would instruct                the jury

10   that they could not infer anything                from your silence ?

11              DEFENDANT WHITING     :     I understand .

12              MR. HALL:    And you understand          that the

13   government     could n't comment       on your silence       in their

14   closi ng statement .

15              DEFENDANT WHITING     :     I do .

16              MR. HALL:    Okay .       Now , have you and I discuss ed

17   this before ?

18              DEFENDANT WHITING:          We have .

19              MR. HALL:    Did we have a fair ly lengthy               meet ing

20   on Friday    afternoon ?

21              DEFENDANT WHITING:          We did .

22              MR. HALL:    Did I point out to you that if you

23   testify    that you're     going to be subject         to

24   cross-examination       by one of the government            counsel ?

25              DEFENDANT WHITING     :     I'm aware of that .




                                                                         Page 193
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 194 of 277



 1              MR. HALL:    And that also that it is possible

 2   that , should    sentenci ng guideline s apply in your case ,

 3   that you could actual ly receive              an enhance ment in your

 4   sentenci ng guideline s after you testify              if you're       found

 5   guilty ?

 6              DEFENDANT WHITING     :   I understand      that .

 7              MR. HALL:    Has anybody         threaten ed you in any way

 8   to choose     one of your constitutional            right s over the

 9   other one ?

10              DEFENDANT WHITING:        No .

11              MR. HALL:    Has a nybody        force d you ?

12              DEFENDANT WHITING:        No .

13              MR. HALL:    Is this your voluntary              decision   that

14   you want to testify       at this time , de spite the warn ings

15   I've given you about some of the issue s that could

16   arise ?

17              DEFENDANT WHITING:        It is my decision .

18              MR. HALL:    Okay .

19              THE COURT:    All right .         Mr. Whiti ng , did I

20   understand     you have some legal train ing ?

21              Do you have some legal train ing ?

22              DEFENDANT WHITING:        I h ave a little .

23              THE COURT:    All right .         Do you really      understand

24   that you have a right not to testify , and that --

25              DEFENDANT WHITING     :   I do .




                                                                       Page 194
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 195 of 277



 1              THE COURT:    --     t here are some significant

 2   downside s to testify ing ?

 3              DEFENDANT WHITING          :   I understand    the risk s

 4   involve d.

 5              THE COURT:     All right .         I'll permit    him to

 6   testify .

 7              Now , Mr. Martin --

 8              MR. MARTIN:        Sir ?

 9              THE COURT:     What I will tell the jury is that

10   there is an additional           witness      in the defense    of Mr.

11   Goodwin     who is not able to testify            today -- I won't

12   tell them who it is -- and that we're now going to move

13   to the defense     case of Mr. Whiti ng .

14              MR. MARTIN:        Okay .

15              THE COURT:     All right .         Bring the jury in .

16                            (Jury returns at 3:        12 p.m.)

17              THE COURT:     Ladies and gentlemen           , while you're

18   get ting seat ed , I want to tell you that you've                been

19   hear ing witness es call ed by the defendant                Learley

20   Goodwin .     There is one additional            witness    for that part

21   of the case who is not able to testify                   today but will

22   possibly     be call ed tomorrow .          Therefore , we're going to

23   move from the defense           case of Mr. Goodwin         to the

24   defense     case of Mr. Whiti ng .

25              Mr. Whiti ng is taking           the stand now as his first




                                                                       Page 195
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 196 of 277



 1   witness     in his defense .

 2             You may proceed .

 3             MR. HALL:       Thank you .

 4   Thereupon,

 5                           REECE COLEMAN WHITING ,

 6   having been called as a witness on behalf of the

 7   Defendant Whiting       , and having been first duly sworn by

 8   the Courtroom Deputy, was examined and testified as

 9   follows :

10             BY MR. HALL:

11   Q.        Mr. Whiti ng , please      state your full name   .

12   A.        Reece Coleman W hiti ng , Jr .

13   Q.        What 's your date of birth ?

14   A.        6-13 -40 .

15   Q.        That would make you 66 now ?

16   A.        That 's correct .

17   Q.        Okay .    Make sure you keep your voice up , and

18   speak that micro phone so everybody          can hear you .

19   A.        Certain ly .

20   Q.        Where were you born , sir ?

21   A.        Baltimore , Maryland .

22   Q.        Okay .    Is that where you live d most of your

23   life ?

24   A.        Between      Baltimore   and Washington .

25   Q.        Okay .    All right .     Now , let me ask you this.




                                                                 Page 196
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 197 of 277



 1   There have been a number        of issue s that have come up in

 2   this case about you being a lawyer , so I'd like to ask

 3   you a couple      of question s about that .

 4            First of all , do you have any degree s?

 5   A.       Yes , I do .

 6   Q.       What degree s do you have ?

 7   A.       I've got a B. S. in history .

 8   Q.       Where is that from ?

 9   A.       Loyola.     Baltimore .

10   Q.       What other degree s do you have ?

11   A.       M. S. in sociology      from Pacific .

12   Q.       Where is that from ?

13   A.       Pacific    Lutheran    in Tacoma,   Washington .

14   Q.       Do y ou have a jur is doctor ate, common ly known as

15   a law degree ?

16   A.       Yes , I do .

17   Q.       Where is that from ?

18   A.       Howard    University    Law School .

19   Q.       What year did you get your jur is doctor ate ?

20   A.       '83 .

21   Q.       What about your bachelor s degree ?         What year was

22   that ?

23   A.       '66 .

24   Q.       And the master s?

25   A.       '78 .




                                                                 Page 197
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 198 of 277



 1   Q.         Now , sir , those degree s that you have are fair ly

 2   far apart , time -wise .      Can you tell the ladies and

 3   gentlemen of the jury        what happened    after that first

 4   degree     that you got from Loyola?        Were you convict ed of

 5   a crime ?

 6   A.         I was .

 7   Q.         What was that ?

 8   A.         Smuggling    of marijuana    from Mexico   to the United

 9   States .

10   Q.         Okay .    And that conviction    was in what

11   jurisdiction , sir ?

12   A.         The western    part of Texas .

13   Q.         El Paso ?

14   A.         El Paso .    Smuggle d from Juarez   to El Paso .

15   Q.         What did you receive      for a sentence    in that

16   case ?

17   A.         I think it was around       seven and a half , eight

18   year s.

19   Q.         Okay .    All right .   You got out of jail from that

20   offense , I guess , sometime       in the early 1970s ?

21   A.         I did .

22   Q.         Did you receive    another    conviction   after you got

23   out of jail ?

24   A.         I did .

25   Q.         Where was that , first of all ?




                                                                 Page 198
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 199 of 277



 1   A.         In Baltimore .

 2   Q.         Okay .     Which court was that ?

 3   A.         District     Court of Maryland .            Distribution .

 4   Q.         United     States    District     Court ?

 5   A.         Yes, sir .

 6   Q.         What was that conviction            for ?

 7   A.         Distribution        of drug s.

 8   Q.         That was 19 74 ?

 9   A.         No , '73 .

10   Q.         '73 ?

11   A.         Yes, sir .

12   Q.         Okay .     What did you receive        for a sentence

13   there ?

14   A.         I think it was about eight year s.                Something

15   like that .

16   Q.         Eight year s?

17   A.         Yes, sir .

18   Q.         When you -- did you have another                conviction    in

19   19 86 ?

20   A.         It was the conviction            was in '86 .     My arrest    was

21   in '84 .

22   Q.         Okay .     What jurisdiction        was that , sir ?

23   A.         It was in Mexico City, Mexico               .

24   Q.         That was for possession            of cocaine ?

25   A.         It was .




                                                                        Page 199
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 200 of 277



 1   Q.         And you received how long             a sentence    in that

 2   case ?

 3   A.         I think it was eight year s.

 4   Q.         And then finally        you received      a conviction       in

 5   19 94 , is that correct , from the Eastern               District    of

 6   Virginia ?

 7   A.         The conviction        was then .      The arrest    was in '92 .

 8   Q.         That was in the Eastern            District    of Virginia ?

 9   A.         It was .

10   Q.         That was in federal        court ; right ?

11   A.         Yes , it was .

12   Q.         What did you receive         for a sentence        in that

13   case ?

14   A.         Eight year s, ultimate ly .

15   Q.         What was your original         sentence       when you first

16   were convict ed ?

17   A.         I think it was        18 6 month s.     I cooperate d and got

18   an eight -year sentence .

19   Q.         Okay .     When you say you cooperate d, what do you

20   mean by that ?

21   A.         I meant that I cooperate d with the government                    in

22   reference     to that offense .

23   Q.         Okay .     And you received        a reduction     in your

24   sentence     as a result     of cooperating ; is that correct ?

25   A.         I did .     I did .




                                                                         Page 200
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 201 of 277



 1              I'd like to just add something , if I may , Mr.

 2   Hall .

 3   Q.         I'll ask you the question s, sir .          We'll get to

 4   everything .

 5              Now , did there come a time when you met someone

 6   by the name of Paulette           Martin ?

 7   A.         I did .

 8   Q.         Okay .    And around    when was that ?

 9   A.         It was in the '80s .       Around    '81 or ' 82 ,

10   something     like that .

11   Q.         Can you de scribe      what the circumstance s were in

12   which you met her ?

13   A.         Ms. Martin    has a dance studio       ,and there was

14   quite a few young ladi es -- dance instructor s at the

15   studio .     I met Ms. Martin       through    a friend , and I was

16   interest ed in some of the dance instructor s.              That 's

17   the way I met Ms. Martin .

18   Q.         Okay .    How would you de scribe      your relationship

19   with Ms.     Martin   at that point in time ?

20   A.         Ms. Martin    and I, we hit it off immediate ly .

21   Very good friends .         I like Ms. Martin .      I like her a

22   lot .    And we did drug s together .

23   Q.         Okay .    And when you said you did drug s together ,

24   what kind of drug s did you do ?

25   A.         Powder    cocaine .    Crack .




                                                                     Page 201
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 202 of 277



 1   Q.        Okay .     And you use d drug s with her ?

 2   A.        Yes .

 3   Q.        Where were you living         at that time ?

 4   A.        I was living      on Connecticut    Avenue .

 5   Q.        Okay .     Were you work ing ?

 6   A.        I don't know .        I was n't -- I was -- I think I

 7   was self- employ ed .

 8   Q.        Okay .     Do ing what ?

 9   A.        I think I was sell ing drug s.

10   Q.        Okay .     All right .     Now , did there come a time

11   later on , prior to your arrest          in this case , when you

12   were employ ed ?

13   A.        You mean the '80s or --

14   Q.        No .     Prior to your arrest     in this case .

15   A.        In '92 ?     Oh , yes .

16   Q.        What were you do ing then ?

17   A.        I was work ing for a drug program         over in

18   Baltimore .       The Turk House Drug Program       --

19   Rehabilitation       Drug Program .

20   Q.        How did you end up work ing there ?

21   A.        Most of the people         who work at the drug program

22   are former       drug user s.    I went through    a drug rehab

23   program     in Bu ckner , North Carolina .      It 's a 500 -hour

24   program .     It 's a two -year program .      And I had another

25   friend    that I went through        the program   with by the name




                                                                   Page 202
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 203 of 277



 1   of Thornton    Armstead .      Thorn ton was employ ed at the

 2   Turk House .       He told me that the Turk House need ed

 3   people    who had drug abuse backgrounds        to work at the

 4   Turk House .       I put in   an application , and I was hire d.

 5   Q.        Okay .    S o as a result    of your friendship    with

 6   this individual , you began to work at the Turk House ;

 7   is that correct ?

 8   A.        Yes, sir .

 9   Q.        What year did you start work ing at the Turk

10   House ?

11   A.        I start ed work ing at the Turk House around         May

12   of '03.     I move d back to Baltimore       the first of '03 and

13   live d in the -- live d in the back room of my first

14   ex-wife 's house .

15   Q.        Why did you end up living        in your -- well , first

16   of all , give me the address          of where you were living .

17   A.        3520 Essex Road , Baltimore , Maryland .

18   Q.        Why were you living      there in the back room of

19   your ex-wife 's house ?

20   A.        I was work ing at a law firm , a Mr. Randy

21   McCray 's law firm in '02, and Mr. McCray           close d his

22   office    and I was no long er employ ed , so I had to give

23   up my apartment       that I had , and my ex-wife     told me that

24   I could re side in the back room of her house .

25   Q.        Okay .    Is that where you were re sidi ng at the




                                                                 Page 203
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 204 of 277



 1   time you got arrested ?

 2   A.         I most certain ly was .

 3   Q.         Did you continue    to -- during    this time , after

 4   you were re lease d from prison       the last time , did you

 5   continue     to have a relationship     with Ms. Martin ?

 6   A.         I most certain ly did .

 7   Q.         Did she continue    to be a friend    of your s?

 8   A.         A very good friend .

 9   Q.         I want ed you to tell the ladies and gentlemen of

10   the jury .     During    that last time period , up until you

11   got arrested        in this case , did you continue     to see Ms.

12   Martin ?

13   A.         I most certain ly did .

14   Q.         Tell the jury about your use of drug s during

15   that period     of time .

16   A.         My use of drug s after my re lease in ' 99 was more

17   in a re lapse mode , rather      than a drug abuse mode .       I

18   use d drug s from time to time but from , let 's say , '99 ,

19   when I was re lease d in November       of '99 , until my arrest

20   on J une 1st of 2004 , I might have use d drug s 18 time s

21   maximum .     It was , like I said , a re lapse mode , rather

22   than a drug abuse mode .

23   Q.         Okay .    Now I want to direct    your attention    --

24   well , first of all , do you recall         sitting   here during

25   the course     of this trial -- and you 've had the




                                                                 Page 204
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 205 of 277



 1   opportunity        to hear a number   of phone call s that

 2   occurred     between    you and Ms. Martin .

 3   A.         I most certain ly did .

 4   Q.         Okay .    I want to go through      some of those with

 5   you .

 6   A.         Yes, sir .

 7   Q.         The first call I want to direct         your attention

 8   to was one on Ma rch 9 of 2004, and in that phone call

 9   you spoke to Ms. Martin         --

10              MS. GREENBERG:      Could we have a page number ,

11   counsel ?

12              BY MR. HALL:

13   Q.         Yes .    That would be Page 8.

14              You said hello to her -- I'll skip through            the

15   greet ings .       You said hello to her , and Ms. Martin        said ,

16   he said he don't have any print ed , so you just have to

17   wait till I get some in , probably          toward   the end of

18   next week .

19              Could you tell the jury what was being discuss ed

20   in that phone call ?

21   A.         Whenever     I call ed Ms. Martin    in reference    to

22   ticket s, it meant ticket s from my -- in my -- from my

23   standpoint .        Ms. Martin , like I said , had been very

24   kind to not only me but to several             people , and from

25   time to time Ms. Martin         would take all of us out to




                                                                    Page 205
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 206 of 277



 1   various    venue s, "old ie but good y" show s, to Carter

 2   Baron during        the summer s and the Blue s Alley during          the

 3   Valentine 's Day to see Jerry Butler , because              most of us

 4   was around     the same age group ing .

 5              During    these time s Ms. Martin     would take us out ,

 6   Ms. Martin     would provide    me with a little      user amount

 7   of drug s, but I was always       call ing for ticket s --

 8   ticket s for one of these venue s, with the expectation s

 9   that I would have a good time .             And in having    a good

10   time , I would have some user amount            of drug s sometimes .

11   Q.         All right .    Well , let me ask you this .        In

12   reference     to this conversation     that you had with her on

13   March 9 of 2004 , do you recall        what show it was you

14   were hopi ng to go to ?

15   A.         I think it was Mary J.     Blige .     I'm not sure .

16   Q.         When you indicated     that you expect ed to get some

17   user amount     of drug s, tell the ladies and gentlemen of

18   the jury     just about how much you expect ed you were

19   going to get as far as        drug s go .

20   A.         It was nothing    more than something      for the

21   evening , because       I had a high state of paranoia         about

22   traveling     with drug s.    After my conviction      in '92 , I

23   knew that any further        conviction      would result    in a life

24   sentence .     So , it was my policy        not to carry any drug s.

25   What I would do -- Ms. Martin         was aware of my paranoia ,




                                                                   Page 206
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 207 of 277



 1   and it would just be something           for the evening .

 2   Q.        When you say "something        for the evening " --

 3   first of all , what drug are you talk ing about ?

 4   A.        Could have been powder , or it could have been a

 5   rock .

 6   Q.        When you say a rock , what are you talk ing about ?

 7   A.        I'm talk ing about rack cocaine .

 8   Q.        A rock of crack cocaine ?

 9   A.        Yes .

10   Q.        When you say a user amount , how much are you

11   talk ing about quantity -wise ?         How much a re you talk ing

12   about ?

13   A.        A gram .     You know , something   like that .

14   Something    more than that .

15   Q.        Okay .     Did you continue    to use drug s through    the

16   spring    of 2004 ?

17   A.        No .     I didn't   use any drug s in 2004 .

18   Q.        Would you have had them if you had gotten           some ?

19   A.        Not necessarily .       Like I said , my drug use was

20   in a re lapse mode , as opposed         to a drug abuse mode .     If

21   the urge had hit me , maybe , but it was n't a thing where

22   I said , well , I'm going to get high every day , you

23   know , or something       to that effect .    That was not the

24   case .

25   Q.        All right .     Now , you had a telephone




                                                                  Page 207
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 208 of 277



 1   conversation       with Ms. Martin     on March 14 , 2004 , and

 2   that would be Page 72 for the benefit            of the ladies and

 3   gentlemen of the jury       .

 4             In that conversation , again , after the opening

 5   greet ing s, Ms. Martin         said , so hope fully any day they

 6   said any time now it 's due .          And you said , right ,

 7   right .    Okay , baby .    And she says , as soon as I hear

 8   something , I'll call you .

 9             What were the two of you talk ing about in that

10   phone call ?

11   A.        Again , I'm just talk ing about ticket s and the

12   anticipation       that Ms. Martin     would take us out some

13   place so that we can enjoy ourselves .

14   Q.        All right .      If you had gotten    ticket s to

15   something    on that occasion        and Ms. Martin   had offered

16   you a rock of crack cocaine , what would you have done ?

17   A.        I probably    would have use d it .

18   Q.        Okay .    Let me ask you this .      On any of the

19   occasion s where you got a rock of crack cocaine              or a

20   small amount       of cocaine     from Ms. Martin , did you ever

21   do anything      else with it      other than use it ?

22   A.        No .

23   Q.        Okay .    Now , let me direct     your attention    to

24   another    phone call that occurred        on March 27 , of 2004 .

25             You had a conversation        with Ms. Martin   on that




                                                                   Page 208
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 209 of 277



 1   occasion ; is that correct , sir ?

 2   A.       Yes, sir .

 3   Q.       Okay .   After the greet ing s, you said , yeah , I

 4   was gonna , you know , tr y to get over there whenever ,

 5   you know , was convenient      for you .     And Ms. Martin      says ,

 6   okay .   I have to get 'em together .         Still haven't      heard

 7   nothing .     I -- I still haven't      heard nothing    the ticket

 8   thing yet .

 9            Again , what were you referring        to -- what was

10   being referred     to in the realm of ticket s in that

11   conversation ?

12   A.       All of my phone call s were in reference           to

13   ticket s for various     venue s.   I assume    that Ms. Martin

14   understood     that and --

15            MS. GREENBERG:      Object ion to    the witness 's

16   assumptions .

17            THE COURT:     Over ruled .

18            BY MR. HALL:

19   Q.       Go ahead , sir .

20   A.       The reason   that I take that posture        is because ,

21   as has been demonstrate d by the telephone           call s, Ms.

22   Martin   never call ed me in regards       to anything    about

23   buy ing anything .    She always    said to me that she would

24   get back to me , and I assumed         that she would get back

25   to me when she had decide d for all of us to get




                                                                 Page 209
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 210 of 277



 1   together     to some sort of venue , okay .

 2   Q.         What was the largest       amount    of drug s you ever

 3   got from Ms. Martin ?

 4   A.         A quarter      of the gram , something    like that .

 5   Half a gram , maybe .         I'm not sure .

 6   Q.         Okay .    Was it usually    crack , or was it usually

 7   powder ?

 8   A.         It could have been either        or but , as I indicated

 9   earlier , we were talk ing main ly during           the periods       of

10   '02 and '01, not ' 04 at all , and not '03, really ,

11   because     I had not seen Ms. Martin          since June of '03.           I

12   saw her once or twice maybe in the first part of '03,

13   but none otherwise .

14   Q.         Okay .    Now , I want to direct      your attention       to

15   another     phone call , sir .     It 's on Page 39 0 of

16   Transcript     Book 2, and it happened          on April 25 , 2004 .

17              You had a conversation       with Ms. Martin

18   concern ing visiting        an individual      at the jail .       Do you

19   recall     that conversation ?

20   A.         Yes , I do .

21   Q.         Okay .    And Ms. Martin    said to you , you know what

22   I for got to ask you .         Kevin was say ing on Sunday s over

23   in Baltimore        they can't go in the jail there .          A

24   lawyer .     And you said , they can't go in the jail ?               And

25   Ms. Martin     says , the attorney     cannot .     You said , well .




                                                                    Page 210
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 211 of 277



 1   And then Ms. Martin       says , thought   an attorney     could

 2   visit .    And then you said , he can visit there .            That 's

 3   bull shit .     Ms. Martin   then says , that 's what the

 4   attorney      told Kevin to day .   And you said , interrupt ing ,

 5   that 's bull shit , man .     That 's bull shit .    And she says ,

 6   Mm-hmm .      And you said , that 's bull shit .     That 's

 7   bull shit , pure , un adult erate d bull shit .

 8              What were you discuss ing with Ms. Martin           on that

 9   occasion      concern ing these jail visit s?

10   A.         I was under the impression      that , you know , an

11   attorney      could go to the jail at any time .

12   Q.         Okay .

13   A.         That 's what I was talk ing about .        I later found

14   out that was -- that the attorney s could not visit on

15   Sunday s, but at that point in time I did not know that .

16   Q.         You subsequent ly learn ed that ; is that correct ?

17   A.         I most certain ly did .

18   Q.         Was the answer    that you were giving       Ms. Martin

19   in any way based upon any -- anything           other than your

20   experience ?

21   A.         Nothing   other than my experience .

22   Q.         I want to direct    your attention       to another   phone

23   call on the same day which is locate d on Page 39 6.               You

24   speak to Ms. Martin       and she says , hey Bro , I'm curious

25   about something .       Can you find out what the charge s are




                                                                    Page 211
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 212 of 277



 1   against     Gwen ?    I'm just curious         if -- curious    if she 's

 2   hook ed up with , you know .          And then you say , all right ,

 3   let me check with some people .                And then she says ,

 4   okay .     She 's in Baltimore       now .     And you said , okay .

 5   And then she says , okay .           You know her last name?           And

 6   you said , huh .       Guy know s it .        And then she says , Levi .

 7   And you said , Levi .       That 's right .        And then the call

 8   ends .

 9              What was being discuss ed in that phone call ?

10   A.         Ms. Martin    was -- I think Ms. Levi had been

11   arrested , and Ms. Martin           was asking     me to find out some

12   information .        What information , I don't know .           I told

13   her to get back to me , and she never did get back to

14   me .     I had tri ed to reach out to some people              to say ,

15   you know , what had happened           to her , but nobody       got back

16   to me in reference        to that , so I let the matter           drop .

17   Q.         Let me ask you this .         What was your relationship

18   with Ms. Martin        vis a vis     get ting information       or advice

19   or her asking        you thing s?

20              What kind of thing s did she ask you during               this

21   time period     other than the one we just read ?

22   A.         Well , you must understand           that Ms. Martin    and I

23   are very close .        I had always         work ed at law office s,

24   and so Ms. Martin        would make the assumption          that I knew

25   some attorney s or had some knowledge               of some legal




                                                                      Page 212
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 213 of 277



 1   information , and so she would call me about -- one time

 2   she call ed me , she was having        some problem s with

 3   get ting the contractors        to make the re pair s on her

 4   house .    I referred     her to Joe Gib son , who is a license d

 5   attorney     in Maryland    practici ng out of River dale who

 6   resolve d the problem       for Ms. Martin .

 7              Ms. Martin     would call me in reference       to

 8   problem s she had with Ms. Turri co, who was her landlord

 9   at the school , for re pair s on the school           and any other

10   problem s that she might have with Ms. Turri co, because

11   she and Ms. Turri co clash ed .        She felt as though         I

12   could , you know , mediate       that situation .      So , it was n't

13   anything     beyond   the fact of someone        -- a friend    asking

14   a friend     for advice , basically .

15   Q.         Let me ask you this .       Through    the testimony       that

16   came out in court concern ing these phone call s that

17   happened     on April 25 to April 26 , 2004 , the opinion             of

18   Sergeant     Jq *, was that you had actual ly been to Ms.

19   Martin 's house either       that evening       or the next morn ing .

20   Tell the ladies and gentlemen of the jury              about what if

21   anything     you did in regard     to going to Ms. Martin 's

22   house at that time .

23   A.         Never went .     Sergeant   Sakala    is mis taken .

24   Q.         Okay .

25   A.         I had not seen Ms. Martin        in all of '04.        I h ad




                                                                     Page 213
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 214 of 277



 1   not seen her since June or so of '03, and there is

 2   nothing    -- nothing     to contradict    that .

 3   Q.         All right .    And sir , why did you not see Ms.

 4   Martin    during    that time period ?

 5   A.         I was work ing -- I was work ing not only the job

 6   at the drug program ; I was work ing two other job s,

 7   also .    I was managing     the property    for a childhood

 8   friend    of mine , Robert    Scott , at the Wellington         --

 9   Scott Wellington 's real estate , and I also was taking

10   people 's package s home in my Jeep from the Mount

11   Diamond    Shop ping Center for tip s.       So , the three job s

12   at 64 year s of age , which I was at that time , I was

13   exhausted     at the end of    night .    Plus , I'm living      in the

14   back room of my first ex-wife, and she was telling me

15   at to be in at 9 o'clock if I didn't have to work at

16   night.     The reason I     pu t on the alarm system , which

17   meant that I could not go out after 9 o'clock .                 So , it

18   was -- there was no        space there to see Ms. Martin .           The

19   only thing I did was speak to Ms. Martin              on the phone .

20   Q.         Okay .   All right , sir , let me ask you about

21   another    phone call .     Page 535 , in Book 3.        That

22   occurred     on May 17 of 2004 .

23              After the greet ing, Ms. Martin          says to you , I

24   heard they're       talk ing about giving    that girl 25 to

25   life .    And your response     is , is that right ?       And Ms.




                                                                     Page 214
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 215 of 277



 1   Martin    says , yeah .      Mr. Whiti ng says , oh , man , but you

 2   know they 've been -- they been say ing she 's , you know ,

 3   and Ms. Martin      says , uh-huh .     And then you say , yeah ,

 4   but , well , man , uh, let me call you back .            Ms. Martin

 5   says , okay .     You say , holler     at you .    And then there 's

 6   a sal utation .

 7             What were you discuss ing with Ms. Martin           on that

 8   particular      occasion ?

 9   A.        That 's Ms. Gwen      Levi that we're talk ing about .

10   Gwen Levi .      I met Ms. Levi through       a fellow    who is a

11   god father    name d Eddie Tucker .      I know Mr. Tucker     from

12   Lewisburg    Federal Penitentia       ry, and I ran into Mr.

13   Tucker    down to a place call ed Jig s.          It 's a bar in

14   South Baltimore      off of Baltimore      Street , and he and I

15   was having      a conversation , and he said --

16             MS. GREENBERG:        Objection .   Hearsay .

17             BY MR. HALL:

18   Q.        Don't say what someone        else told you .     Just tell

19   us what you and Ms. Martin          talk ed about .

20   A.        Right .   Well , Ms. Martin     and I were talk ing

21   about the fact that Ms. Levi had -- she said that Ms.

22   Levi -- she thought          Ms. Levi was going to receive         25

23   year s.    And I said , oh ?      I had not heard that , but I

24   thought    that Ms. Levi would try to do whatever            she

25   could do not to have the 25 year s.




                                                                  Page 215
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 216 of 277



 1   Q.       You had a conversation        with Ms. Martin     on May

 2   28 , 2004 -- P age 610 in the transcript          book -- and you

 3   say to her , hey , let me ask you , that girl .           If that 's

 4   March -- March .        I think it 's March the 30 th .     So , I

 5   know it 's March .       Yeah , I think it 's the 30th .       And she

 6   interrupt s and says , yeah ,I know the date , but I

 7   need ed the Social Security        number   and year .    You say ,

 8   oh .   Oh , okay .    Well , I have   to look through     my stuff

 9   and see , because       I've got that in my stuff somewhere s.

10   What were you two talk ing about then ?

11   A.       I think we were talk ing about -- I think we're

12   talk ing about Ms. Levi .

13   Q.       Okay .      And then later on in the conversation           you

14   said , speak ing of that , did any of them ticket s ever

15   come in .    What were you talk ing about on that occasion ?

16   A.       I was talk ing about some sort of affair .

17   Q.       Okay .      And if you had gone out with Ms. Martin -

18   if she had gotten        some ticket s and you had gone out

19   with her and she had offered          you some crack cocaine         or

20   powder   cocaine     at the end of the evening , what would

21   you have done ?

22   A.       I might have use d it .       Probably   use d it .

23   Q.       Okay .      During   the time period   after you got out

24   of prison    for the last time after that 19 94 conviction ,

25   how frequent ly do you think you did use drug s?




                                                                    Page 216
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 217 of 277



 1   A.       As I indicated , from the '99 period         -- first of

 2   all , you should    take into consideration        in '99 , when I

 3   got out , I was in Second Genesis        from '99 until the

 4   first part of 2000 .      I was also , you know , giving        up

 5   urine on a regular     basis to the United        States

 6   Attorney 's office    and the District of        Columbia .

 7   Q.       Do you mean because      you were on super vis ed

 8   re lease ?

 9   A.       I was on supervised      re lease .    So , as indicated ,

10   it was a re lapse mode .      From '99 until my arrest , a

11   little   over a dozen time s maybe .       More than 18 if then .

12   Q.       And when you -- let me ask you this .             Did your

13   work requirement     at Turk House have any requirement s

14   regard ing drug testing ?

15   A.       Yes , they did .

16   Q.       What was their requirement ?

17   A.       Their requirement     was it was a random         drug test ,

18   plus the fact that , you know , work at the Turk House

19   was a re strain er on me , because      it kind of re mind ed me ,

20   hey , Reece , you can't do this .

21   Q.       Now , let me ask you this.       You h eard the

22   testimony of    Mr. Echarte    say that when he was here in

23   court -- I want to ask you a couple            of questions    about

24   him .

25            When was the first time met Mr. Echarte ?




                                                                   Page 217
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 218 of 277



 1   A.        I met him at Ms . Martin 's house .       He came up to

 2   Ms. Martin 's house and she says , my boyfriend , or

 3   something    maybe .   Not boyfriend .     Maybe she just said ,

 4   a guy -- I've got a new guy in my life and he 's

 5   upstairs .

 6   Q.        Okay .   And had there been a guy previous         in her

 7   life ?

 8   A.        Yes .

 9   Q.        Okay .   That was Mr. John Martin ?

10   A.        That 's correct .

11   Q.        So she and Mr. Mart in had       broke up for a while ,

12   and she took up with Mr. Echarte ?

13   A.        Well , yeah .   She was always , you know , break ing

14   off her relationship       with Mr. Martin     from time to time

15   for some reason .      And , yes .

16   Q.        Do you recall    when was the first time ,

17   approximately , that you met Mr. Echarte          at Ms. Martin 's

18   house ?

19   A.        I can't really      remember   the first time .    And the

20   reason    I say that is because      I only met Mr. Echarte

21   around three time s at Ms. Martin 's house .          I met him

22   that one time and said,        hey , how you do ing , that type

23   of thing .    I t hink on e other time I sa w him and it was

24   as the guest of Ms. Martin , because          Ms. Martin    felt he

25   was being abusive , and I went up to speak to him about




                                                                 Page 218
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 219 of 277



 1   that because , you know , she was talk ing about having

 2   her young er son to speak to him , and I felt as though                       I

 3   could do it more dip lo matically              than he could .    And

 4   then I saw him one other time after that .

 5   Q.         Okay .     Now , you heard him de scribe        his heroin

 6   operation     during        his direct    testimony .    Tell the ladies

 7   and gentlemen of the jury           , what was your relationship

 8   to Mr. Echarte         and any heroin       operation    that he had .

 9   A.         We had none .        Mr. Echarte     gav e me nothing .      I

10   drove Mr. Echarte            nowhere .    Mr. Echarte    was penn iless.

11   He was home less .           Ms. Martin    took him in because        he had

12   no place to live .            Ms. Martin    bought    him clothe s.     Ms.

13   Mart in gave him money .           And to be truth truthful           with

14   you , I didn't        like it , because       I like Ms. Mar in in more

15   way s than one , and I felt as though                she was being taken

16   advantage     of .     And when I had to tell that guy , I let

17   him know in no un certain           term s.

18   Q.         In terms of his         testimony    concern ing his

19   break ing up large quantiti es of cocaine                and

20   distributing         it .

21              Tell the ladies and gentlemen of the jury                  what

22   you ever saw regard ing that .

23   A.         I saw nothing .         As I indicated , this man was a

24   pauper .     Now , if we're deal ing -- when I was deal ing

25   large sum s of cocaine , I live d like I was deal ing large




                                                                       Page 219
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 220 of 277



 1   sum s of drug s.      Mr. Echarte    -- Ms. Martin       had to pay

 2   his health    insurance    and everything       else .    This man

 3   didn't    even have a driver 's license .         So , I mean -- you

 4   know , I think it was a fig ment of his imag ination.                 I

 5   didn't    see anything    to indicate     one way or the other .

 6   But as I indicated , I only saw the man , like , three

 7   time s.

 8             THE COURT:      Mr. Hall , how much long er do you

 9   think you will be with this witness ?

10             MR. HALL:     Probably     at least   another    20 minute s.

11             Did you want to take a break ?

12             THE COURT:      We will take a 15 -minute        recess

13   until 4:00 p.m.

14                           (Jury excused at 3:46 p.m.)

15                           (Off the record     at 3:46 p.m. )

16                           (On the record     at 4:03 p.m. )

17             THE COURT :     Counsel,    I'm going to tell the jury

18   we'll start at 9:30 tomorrow , trail ing this sentenci ng

19   I have tomorrow .

20             MR. MONTEMARANO :     Until 2:30 ?

21             THE COURT:      I don't know .    We're dragging .         I

22   think we better       go long er tomorrow .      I think we'll go a

23   normal    day to 4:30 , because      we're dragging       and I can't

24   let us drag much long er .         We'll have a regular       lunch

25   break .




                                                                   Page 220
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 221 of 277



 1             MR. MONTEMARANO :         Standard    lunch and all that ?

 2             THE COURT:      Yeah .

 3             MR. MCKNETT :     Your Honor , I got the impression

 4   that some of the juror s may have              made other plan s.

 5             THE COURT:      Well , I'll check and see if there is

 6   a problem .

 7                           (Witness      resume s the stand .)

 8                           (J ury return s at 4:04 p.m. )

 9             THE COURT:      Ladies and gentlemen         , before    we

10   resume , I have a sentenci ng tomorrow               at 9:00, and I see

11   no reason     why I should n't be able to start this at 9:30

12   it 's a relative ly simple         and un complicate d sentenci ng .

13             We're drag ging a        little   bit .    What I would like

14   to know -- if you could just pass a note to your

15   foreman     and let me know -- is , would anybody             have a

16   problem     if we did a pretty       normal     day tomorrow      and went

17   to 4:00 ?     I don't want to lose too much time .                I want

18   to make sure that my pre paid vacation                plan s don't get

19   mess ed up , so I might go as late as 4:00 or 4:30 , with

20   a normal     lunch .   So , if anybody       is having    a

21   catastrophic     problem    because     of that , please      let your

22   foreman     know and he can , in turn , let Ms. Merez know ,

23   and I'll make a final decision              before    we recess    today .

24             JURY FOREMAN:      Does that mean you want to start

25   at 9:30 ?




                                                                       Page 221
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 222 of 277



 1              THE COURT:     Yes .    We'll go until 4:00 or 4:30 ,

 2   and I we will stop before           5:00 .   If there 's any

 3   problem s, slip a little          note to your foreman , and he

 4   can tell Ms. Merez , but I will make a final

 5   announcement     before    we recess    for the day .

 6              You may proceed .

 7              BY MR. HALL:

 8   Q.         Thank you , Your Honor .

 9              Mr. Whiti ng , we were talk ing about Mr. Echarte              a

10   few minute s ago before       we took the break .       I want you

11   to tell ladies and gentlemen of the jury              -- you heard

12   him de scribe    that there were occasion s when there were

13   40 or 50 or 60 kilogram s of cocaine            in Ms. Martin 's

14   kitchen .

15              Tell the jury what you saw in relation             to that .

16   A.         I saw nothing    in regards       to any weight    in Ms.

17   Martin 's home , and I've been visiting           Ms. Martin 's home

18   since I came home in '99 .           Ms. Martin   had introduced       me

19   to one of her girlfriends , Ms. Cathy Davis , and Ms.

20   Davis did account ing work for Ms. Martin , so I would go

21   up to Ms. Martin 's home when I first got home 2000 for

22   sure , part of 2001 , and I never saw anything               of that

23   nature .    I sparingly     went past there in 2002 .          And , as

24   I indicated , in 2003 I was in Baltimore , so I was n't

25   there at all .     But I never saw anything          like it .




                                                                    Page 222
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 223 of 277



 1   Nothing .

 2   Q.        Okay .   What about the truckloads       of marijuana

 3   you talk ed about ?

 4   A.        I never saw that .     As I indicated     --

 5             MS. GREENBERG:      Objection .

 6             Your Honor , I think counsel        is mis stati ng the

 7   evidence .

 8             MR. HALL:      Your Honor , my recollection       is Mr.

 9   Echarte     said he brought    marijuana    up here and it was

10   brought     up on truck s.

11             THE COURT:      I don't think     he said "truckloads ."

12             BY MR. HALL:

13   Q.        All right .     Well , what about the marijuana

14   comi ng off the truck s?

15   A.        I didn't     see anything .

16             Let me say this , so that we are on the same

17   page .

18             MS. GREENBERG:      Objection .

19             The witness     is suppose d to answer    the question s,

20   Your Honor .

21             MR. HALL:      He 's still answering    the question .

22             THE COURT:      He can explain     his answer .

23             Go ahead .

24             BY MR. HALL:

25   Q.        Go ahead .




                                                                  Page 223
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 224 of 277



 1   A.        I did not see any drug s, period .          I saw nothing

 2   to indicate       that Mr. Echarte     had anything   of value ,

 3   period , in relationship      to himself     or anybody    else .

 4   Q.        Okay .    Now , let me ask you this , Mr. Whiti ng .

 5   All together , how many year s have you known Ms. Martin ?

 6   A.        I've known Ms. Martin        more or less    25 -- 25 +

 7   year s.

 8   Q.        Okay .    And you would de scribe    her as a friend , I

 9   take it ?

10   A.        Yes .    We're good friends .     I have want ed more ,

11   but we're good friends .       Yes .

12   Q.        Did there come a time when you borrow ed some

13   money from her ?

14   A.        I m ost certain ly did .      Ms. Martin    --

15   Q.        Let me ask you a question        about that .

16   A.        Yes, sir .

17   Q.        First of all , what was the purpose          of you

18   borrow ing money from her ?

19   A.        Ms. Martin    told me early on when my re lease --

20             MS. GREENBERG:     Objection     as to hearsay , Your

21   Honor .

22             THE COURT:     Sustained .

23             BY MR. HALL:

24   Q.        Just tell us , first of all , what was it that you

25   borrow ed the money for .




                                                                 Page 224
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 225 of 277



 1   A.         Okay .     I borrow ed the money from Ms. Martin          to

 2   purchase     an automobile .

 3   Q.         Okay .     What type of automobile       were you

 4   purchasi ng ?

 5   A.         I was purchasi ng a 19 94 XJ-6 J aguar .

 6   Q.         What year would this be that you were pur chasing

 7   it ?

 8   A.         This would have been in 2000 .

 9   Q.         So you were buy ing a use d one ?

10   A.         Yes, sir .

11   Q.         Did you have some money to put into the car ?

12   A.         I did .     I had about $5,000 .    The vehicle        cost

13   $15 ,000.

14   Q.         Where did you buy the vehicle           from ?

15   A.         Manhattan     Jaguar .

16   Q.         All right .     Where did you get the remain ing

17   $10,000 ?

18   A.         Ms. Martin     loan ed me the $10 ,000 .         She gave me a

19   check cut on a Wells Fargo           bank account .     I endorse d

20   the check to a representative           of Manhattan        Jaguar , and

21   that was in March or so of 2000 .

22   Q.         Okay .     Now I want to show you what has been

23   introduced         as Hayward   28 , or at least   a page from

24   Hayward     28 .     I'm put ting it up here on the monitor .

25              First of all , do you see the initial s up there ?




                                                                      Page 225
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 226 of 277



 1   A.         Yes, sir .

 2   Q.         Whose initial s are those ?

 3   A.         I think they're     my initial s.

 4   Q.         Okay .   Your full name is Reece Coleman        Whiti ng ;

 5   right ?

 6   A.         That 's correct .

 7   Q.         What was the amount     that you borrow ed ?

 8   A.         $10,000 .

 9   Q.         Did you ever make payment s on that $10,000          that

10   you borrow ed from Ms. Martin ?

11   A.         From time to time I gave her small amount s of

12   payment s on the money .

13   Q.         Okay .   Did you ever borrow    more money     on that

14   loan that you had secured        for Ms. Martin ?

15   A.         I most certain ly did , because       con trary to what I

16   had thought     before , I could n't keep the upkeep       on the

17   car .     When I would put it in for servici ng , I would

18   in var iably run to Ms. Martin       for loan s to get the car

19   out , and I -- and she would say to me , Reece , you got

20   to stop do ing this , and she would lend me the money

21   anyway .     She would browbeat     me , but she would lend me

22   the money .

23   Q.         Do you see up on the screen         there underneath     the

24   initial s R.C.W. a tabulation        of some figure s?

25   A.         Yes, sir .




                                                                 Page 226
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 227 of 277



 1   Q.        Okay .    What do those figure s have to do with

 2   drug s?

 3   A.        Nothing .

 4   Q.        What are they for ?

 5   A.        They're     for the re pair s on my car .

 6   Q.        Okay .    And the initial   $10,000     is the amount     you

 7   borrow ed from her ?

 8   A.        Yes, sir .

 9   Q.        Did you ever finish      pay ing off that loan ?

10   A.        No, sir .

11   Q.        Okay .

12   A.        I still owe it to her today .

13   Q.        All right .     Now , in reference     to any of the

14   drug s that you ever got from Ms. Martin            during   this

15   time period .       After you got out of prison       this last

16   time , what if anything       did you ever do with it ?

17   A.        I use d them in her bathroom         as a rule , because     I

18   didn't    want to be drivi ng with drug s, like I said ,

19   because    I have a -- let me say this .         I have a record

20   of DUI in the state of Maryland         and I have lost my

21   privilege s on occasion s for drivi ng on the roads of the

22   state of Maryland .        So , as soon as I get stopped ,

23   automatically       it 's the toss and then if they do

24   something    else to check the record .         So , paranoia   would

25   not allow me to travel .        So , as soon as I would get




                                                                  Page 227
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 228 of 277



 1   something , I would run to the bathroom             and do it .

 2   Q.      You said that during        these latter      -- the latter

 3   time period    in 2004 that you did not see Ms. Martin              for

 4   some period    of time ; is that right ?

 5   A.      I d id not see her .

 6   Q.      Where were you living         at that time ?

 7   A.      I was living       in my ex-wife 's house .

 8   Q.      Where was she -- what city is that ?

 9   A.      That 's in Baltimore .

10   Q.      Where was Ms. Mar tin living ?

11   A.      Ms. Mart in is living       in Washington      or the

12   metropolitan    area .

13   Q.      If you want ed to get some cocaine            at that time ,

14   where would you go ?

15   A.      I would go to -- I'm from Baltimore ; born and

16   bred in Baltimore .        I know a thousand       open air drug

17   market s in Baltimore       that I could go and get drug s.

18   And then with my budget , I could n't afford            the gas to

19   go to Washington     to get some drug s.       When , hey , I can

20   go to Fulton    and Lanvelle , or I go to Edmonson          and

21   Winchester;    I can go to Shirley A venue and Park

22   Height s; I can go       to Green mont A venue .     I mean , the

23   list goes on and on .        Baltimore   has a plethora     of open

24   air drug market s.        You just go up , and if you know how

25   to talk to people , you got it .




                                                                  Page 228
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 229 of 277



 1   Q.         Okay .   Don't get good gas mileage         on the Jaguar ,

 2   do you ?

 3   A.         No, sir .

 4              MR. HALL:       No further   question s.

 5              THE COURT:       Any defense   cross-examination    ?

 6              MR. MONTEMARANO :      Thank you , Your Honor .

 7                               CROSS-EXAMINATION

 8              BY MR. MONTEMARANO :

 9   Q.         Good afternoon , Mr. Whiti ng .        How are you ?

10   A.         Good afternoon , Mr. Montemarano .

11   Q.         Now , you know my name , but we've never spoken

12   before     have we , except     maybe say ing "hi " and " bye " in

13   the hall way .

14   A.         That 's all .

15   Q.         That 's because     you understand , based upon your

16   law degree , that there 's something            call ed attorney /

17   client     privilege ?

18   A.         Yes, sir .

19   Q.         I haven't     told you what question s I'm going to

20   ask you .

21   A.         No, sir .

22   Q.         Nor have I told you what answer s.           You're going

23   to tell the truth; right, sir?

24   A.         Absolutely.

25   Q.         I want to talk about your relationship           with Ms.




                                                                   Page 229
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 230 of 277



 1   Martin .     You go back 25 year s?

 2   A.         Yes, sir .

 3   Q.         During that    time , is it fair to say she was

 4   often involve d romantically           with other men ?

 5   A.         Yes, sir .

 6   Q.         And that 's sort of gotten       in the way of you and

 7   her ; is that correct ?

 8   A.         In my mind , yes .

 9   Q.         I'm not criticizi ng you in any way , sir , but

10   would it be fair to say that you would have like d your

11   friendship     to blossom    into something     more ?

12   A.         Yes .

13   Q.         It never did ?

14   A.         Never did .

15   Q.         During   the time you've      known her , one of those

16   people would be John Martin; is that correct?

17   A.         Yes, sir .

18   Q.         Based upon what you were able to observe          when

19   you saw them , Mr. Martin          and Ms. Martin   -- they're   not

20   related ; correct ?

21   A.         No , they're   not .

22   Q.         Based on what you were able to see when you saw

23   Mr. and Mrs. Martin       together , is it fair to say Mr.

24   Martin     was involve d in the drug trade ?

25              MS. GREENBERG:         Your Honor , can we approach   the




                                                                 Page 230
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 231 of 277



 1   bench at this time ?

 2             THE COURT:      Yes .

 3                        (At the bar of the Court.)

 4             MS. GREENBERG:          Your Honor , based on the case

 5   law we provided , and of course           the court can , in its

 6   discretion , permit       counsel    to examine    this witness , but

 7   it should    be in a non- lead ing fashion .         It is not an

 8   adverse    witness .

 9             THE COURT:      Where is the testimony       of this

10   witness    adverse     to your client ?

11             MR. MONTEMARANO :         He said he got cocaine     from my

12   client    repeat edly .

13             THE COURT:      You can inquire       about that .

14             MS. GREENBERG:          He admitted   she distributed

15   small amount s to him , so it 's not adverse           to him at

16   all .

17             THE COURT:      I don't think     you should   be lead ing

18   him on matter s that aren't          adverse    to your client .

19             MR. MONTEMARANO :         He is not my witness , Your

20   Honor .

21             THE COURT:      I understand     he's not your witness .

22   But if he is not testify ing against             your client --

23             MR. MONTEMARANO :         By the same toke n, if I'm not

24   going to not lead a witness , next week, when I'm

25   call ing witness es , they will be prepared           and they will




                                                                    Page 231
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 232 of 277



 1   understand        the question s.

 2              THE COURT:     Mr. Montemarano , you're going          a

 3   little    far .     I'm going to have to reign you in .

 4              MS. GREENBERG:      Your Honor , the government 's

 5   position    is the court could dis allow his exam ination                  --

 6              THE COURT:     I'll let you continue , but please

 7   don't cross the limit ; all right ?           I'm try ing to keep

 8   you reasonably        efficient .

 9              MR. MONTEMARANO :        I understand   that , Your Honor ,

10   so allow me to make my record .            I am asking    about

11   thing s which Mr. Hall inquired           about , number one .

12   These are not matter s which I brief ed Mr. Whiti ng on in

13   any way , shape or form .           I establish ed that out of the

14   box .    Not only for the jury 's satisfaction           but for the

15   court 's satisfaction .       For instance , John Martin .            He

16   asked about him, and I intend            to ask about other

17   romantic    liaison s Ms. Martin        was involve d with and --

18   court 's indulgence .       I will get my note s and --

19              MS. GREENBERG:      I don't see how this is

20   appropriate .

21              MR. MONTEMARANO :        The government 's own authority

22   says you cannot        -- raise s question s about the limit to

23   cross -examine       a codefendant     who does not inculpate         you .

24   He inculpate d my client        by say ing she dealt drug s.

25   Whether    or not my client         made a small admission    in




                                                                  Page 232
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 233 of 277



 1   opening   --

 2             THE COURT:         I think you should        stay within    the

 3   area in which he inculpate d your client .                  I'm going to

 4   give you a little           more latitude     to keep going .       You

 5   haven't   gotten         there yet .

 6             The objection        is over ruled for now .

 7             MR. MONTEMARANO :            Fair enough .    I will try to

 8   re trench .

 9             MS. GREENBERG:          Your Honor , it should       be

10   non- lead ing .

11             THE COURT:         I don't think     it should     be lead ing

12   on matter s which have not been adverse                to your client .

13   You can do it .           It 's a challenge , I know , but you can

14   do it .

15             MR. MONTEMARANO :            Your Honor , if press ed for

16   honesty , I would concede              that I have an expansive       view

17   of my skill s and abiliti es , or at least                my willingness

18   to pre tend that I have such .              But with all due respect

19   to Your Honor , you've          got to be able to admit what you

20   can't do .      Right now I'm probably          not danci ng in the

21   same way if I've not prepared               a witness .     It is

22   difficult      to have an understand ing of where the witness

23   is going to       go .

24             THE COURT:         Just proceed .     We want to get out of

25   here at a reasonable           hour .




                                                                         Page 233
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 234 of 277



 1             MR. MONTEMARANO :     Thank you , Your Honor .

 2                            (B ack in open court .)

 3             BY MR. MONTEMARANO :

 4   Q.        Going back to John Martin .

 5   A.        Yes, sir .

 6   Q.        What if anything     can you tell the ladies and

 7   gentlemen of the jury        that you were able to observe

 8   about Mr. Martin 's involve ment in the drug trade ?

 9   A.        Mr. Martin     was a drug deal er of some note around

10   the Washington , D. C. area .         He also considered        himself

11   to be a ladi es ' man .

12   Q.        Before     Mr. Martin , was Ms. Martin         involve d with

13   another   person     for a lengthy    period     of time ?

14   A.        Yes .

15   Q.        What was that person 's name ?

16   A.        The name escape s me .      When I met her, she was on

17   Jefferson    Street,    and this gentleman        had been with her

18   for some year s on Jefferson         Street .     The name escapes

19   me, but there was two long -term relationship s.                This

20   guy -- there       was a -- on Jefferson        Street   with Ms.

21   Martin,   and John Martin .

22   Q.        Okay .     If I were to prompt    you to the first

23   name , would that possibly       refresh   your recollection ?

24   A.        Possibly .

25   Q.        Robert ?




                                                                    Page 234
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 235 of 277



 1   A.         Yes .

 2   Q.         Was that the gentleman 's name ?

 3   A.         Yes .

 4   Q.         Does the name Swiss good ring any bell s?

 5   A.         Right .

 6   Q.         What did can you tell us about Mr. Swiss good 's

 7   involvement in       the drug trade , if any ?

 8   A.         Drug deal er .

 9              MS. GREENBERG:       Objection .

10              THE COURT:       What 's the basis ?

11              MR. MONTEMARANO :      I didn't    about object .    I

12   asked him , what can you tell us about Mr. Swiss good 's

13   involve ment .

14              MS. GREENBERG:       I object ed , Your Honor .

15              THE COURT:       What 's the relevan ce to this case ?

16              MR. MONTEMARANO :      I think I can tie it all in in

17   a moment .

18              THE COURT:       Well , tie it .

19              BY MR. MONTEMARANO :

20   Q.         What , if anything     --

21   A.         He was a drug deal er .

22   Q.         Based upon what you were able to observe            about

23   Mr. Swiss good 's relationship         with Ms. Martin   and Mr.

24   Martin's     relationship      with Ms. Martin , what can you

25   tell us about her obtain ing drug s from either           of them ?




                                                                    Page 235
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 236 of 277



 1   A.       Quite possibly,     she was receiving        the drug s from

 2   them .

 3            MS. GREENBERG:      Objection , Your Honor .

 4            THE COURT:      Over ruled .

 5            THE COURT:      Over ruled .   Go ahead .

 6            MR. MONTEMARANO :      Thank you , Your Honor .

 7            BY MR. MONTEMARANO :

 8   Q.       Was she receiving      drug s, as far as      you were able

 9   to observe , to deal them or to use them ?

10   A.       We just use d drug s.     I never seen Ms. Martin

11   deal any drug s.

12   Q.       What was her drug of choice ?

13   A.       Cocaine .

14   Q.       Did she have a term she would use for her use of

15   cocaine ?

16   A.       I can't think of      anything   offhand .

17   Q.       Court 's indulgence , please .

18            Let 's go to Mr. Echarte .       You said that Ms.

19   Martin   took Mr. Echarte     in ; correct ?

20   A.       Yes , she did .

21   Q.       Although     you only en counter ed him perhaps      three

22   time s in your testimony ; correct , sir ?

23   A.       Yes, sir .

24   Q.       Is there at any time that he show ed any

25   in dependent   mean s whatsoever ?




                                                                 Page 236
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 237 of 277



 1   A.         None .

 2   Q.         At the same time , did Ms. Martin           have any

 3   inde pendent    mean s that you are aware of ?

 4   A.         Ms. Martin    was very comfortably         well off, and

 5   she took care of everybody .

 6   Q.         Do you have any knowledge           as to where her wealth

 7   may have     come from ?

 8              MS. GREENBERG:      Objection .

 9              THE COURT:      If he know s.       It was personal

10   knowledge .

11              BY MR. MONTEMARANO :

12   Q.         Of your personal        knowledge .

13   A.         Yes, I do .

14   Q.         Stop right there .        I don't     want to lead you .

15   A.         Yes, sir .

16   Q.         Let me ask some slight ly more precise           question s

17   Mr. Whiti ng , please .

18              Can you tell the ladies and gentlemen of the

19   jury who Mary Payne        was ?

20   A.         Marry Payne was like a god mother           to Ms. Martin .

21   Ms. Martin     took care of her in her later year s, but in

22   earlier    year s she was like a mentor           to Ms. Martin .     Ms.

23   Payne was a lady of some note in Washington , D. C. in

24   high fashion .      She had a lot of fur s, clothi ng , and a

25   lot of generous      male friends,       and so she had property




                                                                    Page 237
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 238 of 277



 1   and things       of this nature,    and she left the property        to

 2   Ms. Martin .

 3             I happened    to see Ms. Payne in the later year s,

 4   and but for Ms. Martin       taking    her in , bathi ng her ,

 5   wipi ng her and thing s of that nature , she would have

 6   had no place to go .       And not only Ms. Payne;        it was a

 7   lady who live d across the street         from Ms. Martin ,

 8   Lucille .     Ms. Martin   also inherited      property   and money s

 9   from Lucille,       and the reason    that I'm aware of this is

10   because     I tri ed to purchase     Ms. Payne 's house on

11   Fair mont S treet through     attorney    Shannon,   I think his

12   name is, with my G. I. Bill .          I even went down and got

13   certifi ed on my G. I. Bill to get it , but it was too

14   many re pair s to be made on the property          for me to go

15   forward     with the project .

16   Q.        Okay .    And so the ladies and gentlemen of the

17   jury are clear .       I've never    spoken   to you before ;

18   correct ?

19   A.        No, sir .

20   Q.        I never told you about Mary Payne,          have I?

21   A.        No .

22   Q.        Never told you about Lucille ; correct ?

23   A.        Yeah , Lucille .

24   Q.        Never told you about Mr. Shannon,          did I?

25   A.        No .




                                                                   Page 238
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 239 of 277



 1   Q.        And Mr. Hall didn't , did he ?

 2   A.        No .    Mr. Shannon    know s me .

 3   Q.        Going back to the beginning          of your -- excuse

 4   me .   Strike     that .

 5             If I could ask Mr. Hall a question , please .

 6             THE COURT:       You may .

 7             BY MR. MONTEMARANO :

 8   Q.        The types of drug s that you received             from or

 9   share d with Ms. Martin         were at all time s small amount s?

10   A.        Yes, sir .

11             MS. GREENBERG:        Objection .    Lead ing .

12             THE COURT:       Sustained .

13             BY MR. MONTEMARANO :

14   Q.        Not with stand ing all of this , you still consider

15   Ms. Martin       a friend , don't you ?

16   A.        Absolute ly.

17             MR. MONTEMARANO :       No further    question s, Your

18   Honor .

19             THE COURT:       All right .    Any other cross by the

20   defendant s?

21             All right .      Government .

22                              CROSS-EXAMINATION

23             BY MS. GREENBERG:

24   Q.        Mr. Whiti ng , let me start by outlini ng some

25   area s I think that we agree .           We agree that you 've been




                                                                    Page 239
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 240 of 277



 1   a drug deal er ; correct ?

 2   A.      Yes, ma'am .

 3   Q.      For most of your life .

 4   A.      For a great part of my life .

 5   Q.      We agree , don't sir , that Paulette          Martin

 6   distributed     drug s to you ; correct ?

 7   A.      She didn't     distribute    drug s to me .    We use d

 8   drug s together .

 9   Q.      Okay .     She gave you the drug s that you use d; is

10   that correct ?

11   A.      On some occasion s.

12   Q.      And you said it was a dozen to 18 occasion s;

13   crack or powder in the last year or so ; correct ?

14   A.      No .     I said from the time that I was re lease d

15   from prison .

16   Q.      In 19 99 ?

17   A.      Yes, ma'am.

18   Q.      And it was either        crack or powder ?

19   A.      Yes, ma'am .

20   Q.      A dozen to 18 occasion s.

21   A.      More or less .

22   Q.      And Ms. Martin        knew you when you were a drug

23   deal er , because    you've   known her for 25 year s; is that

24   correct ?

25   A.      Yes .




                                                                 Page 240
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 241 of 277



 1   Q.       So she knew about your time s in jail , kept in

 2   touch with you , thing s like that .

 3   A.       Yes, ma'am .

 4   Q.       In fact     -- did you give us the notebook        back Mr.

 5   Hall ?

 6            MR. HALL:       Yes .    I place d it between   you and Ms.

 7   Johnston .

 8            BY MS. GREENBERG:

 9   Q.       I'll wait until Agent Snyder          is finish ed .

10            In fact , during        all those time s that you --

11   strike   that .    In fact , you testifi ed that you graduated

12   from law school ; correct ?

13   A.       Yes , I did .

14   Q.       But you never practice d law .

15   A.       No .

16   Q.       And you never got a Bar license          from the D. C.

17   Bar .

18   A.       No .     I took the Bar exam in the Virgin Islands;

19   I never took the Bar exam in D. C.

20   Q.       And you never practice d law .

21   A.       No , I didn't .

22   Q.       And here in the same notebook          that Mr. Hall

23   show ed you , Hayward      28 , there is a reference     to you

24   here , Reece C. Whiti ng , Jr . Is that your in mate number

25   where you were stay ing ?




                                                                 Page 241
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 242 of 277



 1   A.       That was where I was house d when I was arrested

 2   in 19 92 .

 3   Q.       And then , so that refer s to you ?

 4   A.       Yes, ma'am .

 5   Q.       And then underneath          there , that federal   in mate

 6   number   refer s to you .

 7   A.       Yes , it does .

 8   Q.       Is this your handwriting ?

 9   A.       Is it my handwriting ?          I don't know .    It 's not

10   my handwriting .       I don't think so .

11   Q.       Do you recognize      it as Ms. Martin 's handwriting ?

12   A.       I don't know      whose handwriting     it is .

13   Q.       Now , we talk ed about your -- talk ed a little

14   about criminal      history   with Mr. Hall .

15   A.       Yes, ma'am .

16            A JUROR:      Ex cuse me .     Could you move that board ?

17            MS. GREENBERG:       Yes .     I'm going to go to the

18   board right now .       I'll move it back .

19            A JUROR:      We can't see the witness .

20            MS. GREENBERG:       Is that better ?

21            MR . HALL :    Your Honor , may I move so I can see

22   what counsel    is writing ?

23            THE COURT:      Oh , sure .

24            MS. GREENBERG:       So , sir , first , I want to talk

25   to you about your first conviction            when you were 28




                                                                  Page 242
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 243 of 277



 1   year s old , in 19 68; is that correct ?

 2             MR. HALL:      Your Honor , I'm going to object        if

 3   counsel    is going to write thing s on the board .         My

 4   client    can't see it from where he is .

 5             MS. GREENBERG:         Sure .   I was just try ing to give

 6   the jury a better       view , counsel,     but if you want it

 7   over here .

 8             MR. HALL:      Write big .

 9             BY MS. GREENBERG:

10   Q.        So , 19 68 ; correct ?

11   A.        That was when I was sentence d.

12   Q.        Okay .    That was for marijuana .

13   A.        Yes .    Smuggling .

14   Q.        Smuggling .       From Mexico ?

15   A.        To the United       States .

16   Q.        To El Paso , Texas ; is that correct ?

17   A.        Yes, ma'am .

18   Q.        If you could wait until I ask the question , and

19   then you can answer , okay ?

20             And then , just to be clear , you got about three

21   and a half year s with that sentence ; correct ?

22   A.        Yes .

23   Q.        Who was your suppli er in Mexico ?

24   A.        Jose P alm er .

25   Q.        How did you meet Mr. Palm er ?




                                                                 Page 243
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 244 of 277



 1   A.         I met --

 2              MR. HALL :    Your Honor , I'm going to object .

 3              May we approach ?

 4              THE COURT:     You may .

 5                       (At the bar of the Court.)

 6              MR . HALL :   Your Honor , I'm object ing because ,

 7   while I think it 's perfect ly proper           for her to impeach ,

 8   and I certain ly brought       them out on my direct , I don't

 9   think she can go into the de tail s of the convictions                as

10   far as   factual ly what happened .        I think it 's

11   sufficient      that he 's now impeach ed with these

12   convictions , but I don't think          there 's any pro vision

13   for her to go into anymore           de tail than that .

14              MS. GREENBERG:      It 's a little    bit more than

15   that , Your Honor .      One of the     way s in which Mr. Whiting

16   assisted     the conspiracy    -- I'm going to get into a

17   phone call in the transcript s -- is            by assisting    Ms.

18   Martin   and try ing to     obtain    a suppli er , and I want to

19   go through      his background    and show all the suppliers

20   that he was able to know , and connect            those with the

21   convictions.       So , it goes to his -- the mean ing of the

22   telephone      call s and his ability     to find suppliers .

23              MR. HALL :    Your Honor , that would be a suppli er

24   from 19 66 .

25              MS. GREENBERG:      It 's been his whole life , Your




                                                                    Page 244
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 245 of 277



 1   Honor .

 2              MR . HALL :    I know that .

 3              MS. GREENBERG:      He start ed it , and I want to go

 4   through     --

 5              MR . HALL :    I certain ly am the one that brought

 6   it out , but the        fact is that I would suggest     that who

 7   his suppli er was in 19 66 has no relevance          to whatever

 8   it is --

 9              THE COURT:      She 's going to ask more than jus t

10   who the suppli er was .

11              MR . HALL :    That 's what she just argue d.       That 's

12   why I object ed .

13              THE COURT:      I will over rule the objection .       She

14   intends     to elicit     the information    with additional

15   question s.

16                             (Back in open court .)

17              THE COURT:      Ladies and gentlemen    , while they're

18   going back to their table s, I have receive d your note

19   concern ing availability        for tomorrow .    I see everybody

20   is available .      One person    will turn into a pumpkin        at

21   4: 30 , and I will do everything          I can to have minute

22   break s and a one hour lunch and hope fully get us out of

23   here at 4:30 or else         I will begin to turn orange       with

24   you .     Thank you .

25              You may proceed .




                                                                 Page 245
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 246 of 277



 1            BY MS. GREENBERG:

 2   Q.       Thank you , Your Honor .

 3            Mr. Whiting , your role back in 19 68 -- and just

 4   to be clear back .      Then , you were about 28 year s old ;

 5   is that right?

 6   A.       Yes, ma'am .

 7   Q.       You were actual ly the one smuggling         marijuana

 8   into the country ; correct ?

 9   A.       No .

10   Q.       You were assisting      somebody   in smuggling

11   marijuana ?

12   A.       That 's correct .

13   Q.       You got convict ed of a felony --

14   A.       Yes .

15   Q.       -- in a federal     court .

16   A.       Yes .

17   Q.       I've written     on the board "federal      felony

18   ass is ting im port ing marijuana ; three and a half year s;

19   Jose P alm er ."   Is that right so far ?

20   A.       Yes .

21   Q.       The second     thing we have in the mid -19 70 s is you

22   were involve d with Liddy Jones .

23   A.       That 's correct .

24   Q.       What year were you convict ed of that ?

25   A.       '73, I think it was .




                                                                 Page 246
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 247 of 277



 1   Q.         That, s ir , just so the jury understand s, was a

 2   heroin   conspiracy ; correct ?

 3   A.         Yes .

 4   Q.         The suppli er was up in New York .

 5   A.         Yes .

 6   Q.         And you went to New York on behalf         the Liddy

 7   Jones organization .

 8   A.         No .

 9   Q.         You went on behalf       -- you took over a gentleman

10   by the name of Deep Blue 's role          for Liddy Jones ?

11   A.         You are correct,       but I did not go New York .

12   Q.         You took Deep Blue 's position , and Deep Blue 's

13   position     was to go up to New York ; is that correct ?

14   A.         That might have been Deep Blue 's position , but

15   that was not my position .

16   Q.         Okay .    You took over his role in maki ng

17   collection s?

18   A.         That 's correct .

19   Q.         And you collected       about $20,000   to $30,000   in

20   drug proceeds        per week ?

21   A.         That 's correct .

22   Q.         And then you got caught       up in that drug

23   organization        -- it was a heroin    drug organization ; is

24   that correct ?

25   A.         Yes, ma'am .




                                                                 Page 247
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 248 of 277



 1              MR . HALL :    Objection .

 2              Asked and answered .

 3              THE COURT:        Over ruled .

 4              BY MS. GREENBERG:

 5   Q.         Just to be clear .        You moved up in the

 6   organization        before   you were caught ; is that correct ?

 7              MR . HALL:     Objection .

 8              THE WITNESS:        That's the same position      I already

 9   had .

10              MR . HALL :    Your Honor , I'm still object ing to

11   anything     beyond     the fact of conviction .

12              THE COURT:        Over ruled .

13              BY MS. GREENBERG:

14   Q.         You took over Deep Blue 's role ; correct ?

15   A.         That 's correct .

16   Q.         The heroin     came from New York ?

17   A.         I don't know       the heroin    came from .

18   Q.         And you collect ed $20 ,000 to        $30,000   per week in

19   drug proceeds        from Liddy Jones ; is that correct ?

20   A.         Yes .

21   Q.         We will write that part on here since we agree .

22   A.         Could I make a correction ?

23   Q.         Sure .

24   A.         I did not collect        the money for Liddy Jones .     I

25   collect ed the money         for Bobby Jones .




                                                                   Page 248
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 249 of 277



 1   Q.      Bob by Jones was Liddy Jones ' brother ?

 2   A.      That 's correct .

 3   Q.      And part of Liddy Jones ' organization .

 4   A.      I had collect ed for Bobby Jones .

 5   Q.      He was part of Liddy Jones ' organization ?

 6   A.      If you want to character ize it that way .

 7   Q.      Was Mr. Jones convict ed of this offense ?

 8   A.      And so was --

 9           MR. HALL :     Objection , Your Honor .

10           MR. MONTEMARANO :      Objection .

11           Can we approach ?

12           THE COURT:      Sustained .

13           MS. GREENBERG:       We'll put up Bobby      Jones and the

14   Jones organization .      Is that fair ?

15           MR. MONTEMARANO :      Objection , Your Honor .

16           MR. HALL :     Objection .

17           THE COURT:      What was the question ?

18           MS. GREENBERG:       I'm writing     on the board what he

19   told me , and I'm --

20           MR. MONTEMARANO :      Your Honor , I object      and move

21   to strike .     Your Honor sustained     the objection , and Ms.

22   Green berg is going into the same material .

23           THE COURT:      I have already     sustained    the

24   objection     on this , all right ?

25           MS. GREENBERG:       Your Honor , I'm try ing to




                                                                   Page 249
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 250 of 277



 1   character ize the witness ' testimony .

 2           MR. MONTEMARANO :      Objection .     Your H onor , this

 3   is a speak ing objection .      We can do this at the bench .

 4           THE COURT:      Come to the bench .

 5                        (At the bar of the Court.)

 6           MR. MONTEMARANO :      Your Honor , I in no way , shape

 7   or form wish to steal Mr. Hall 's thunder          -- this is Mr.

 8   Hall 's client   -- but there is this issue -- we have now

 9   spent five minute s talk ing about a conviction           regarding

10   the Liddy Jones organization .         I don't know    anything

11   about the Liddy Jones organization .          I didn't    represent

12   any of the codefendant s in the Liddy Jones

13   organization .    The most I know is that he was

14   represent ed by Mr. Ticknor , and Mr. Ticknor          is on

15   vacation,   in all candor , and going into all this de tail

16   might be appropriate .      I don't mean to criticize          the

17   court, but it    might be appropriate       if Mr. Whiting      was

18   here on his own and was testify ing on his own , because

19   there is no spill over .      We have six other defendant s

20   for whom I think the spill over effect          is tremendous .

21           THE COURT:      I have sustained     the objection .

22           MR. MONTEMARANO :      Thank you , Your Honor .

23           THE COURT:      We're not going to go into question s

24   about other people 's convictions .

25           MS. GREENBERG:       Your Honor , the point we're at




                                                                 Page 250
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 251 of 277



 1   is Mr. Whiting     asked to make a correction .           He said , I

 2   collect ed for Bobby     Jones .     He had earlier      said he

 3   collect ed money for the Liddy Jones organization .

 4            MR. WARD:     You said that .

 5            MS. GREENBERG:      I correct ed the chart , and he

 6   said yes .     I corrected   the chart , and I'm asking          him if

 7   that is now accurate       because    he asked to check his

 8   answer , and I cross ed it out and I wrote it up , and Mr.

 9   Hall want ed him to see the chart and him to be able to

10   --

11            THE COURT:     Don't ask about someone          else 's

12   conviction .     Ask him whether      you've   written    down

13   correct ly --

14            MS. GREENBERG:      Your Honor , he 's testifi ed , and

15   we 've give n to counsel     the court's opinion.         He

16   testif ied in    this matter , so all of this has been

17   provided .     It 's no surprise .     I'm try ing to     get the

18   chart --

19            MR . HALL :   However , can I point out that having

20   the appellate     court opinion      is not the same thing as

21   having   read the transcript       from those proceed ings and

22   --

23            MS. GREENBERG:      Your Honor , I do have a good

24   faith basis to ask these question s.

25            MR. WARD:     What's   the good faith basis ?           The




                                                                    Page 251
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 252 of 277



 1   rule says clear ly that beyond        the bare fact s of the

 2   conviction , there are only rare circumstance s where you

 3   are permitted      to go further .    She is offering        no

 4   rationale , just spread ing all of this --

 5              MS. GREENBERG:      Your Honor , we're revisiting

 6   the issue we visited        with Mr. Hall .

 7              THE COURT:     What basis do we have too --

 8              MS. GREENBERG:      We're done .

 9              THE COURT:     If we're done , we're done .

10              MS. GREENBERG:      I'm try ing to    get the board back

11   so they don't object        later .

12              MR . HALL :   If I could say one thing .      My

13   objection     initial ly is , I'm object ing to any de tail s

14   beyond     the fact of the conviction , okay ?        I think we

15   need to have a little         bit of ground     rule s as to how far

16   the government      is going to go with the two remain ing

17   convictions     or three -- two remain ing convictions            that

18   my client     has , because    I don't want to keep comi ng back

19   up here to the bench , either .

20              THE COURT:     If I understood     Ms. Green berg

21   correct ly , she was asking       question s beyond    the

22   conviction     because   her con ten tion is     she was going to

23   get through     question s that the person        she was asking

24   about would be the person s he had introduced            to Ms.

25   Martin .     Is that my understand ing ?




                                                                   Page 252
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 253 of 277



 1              MS. GREENBERG:       Your Honor , one of the telephone

 2   call s is where he talk s to her about get ting a

 3   suppli er .     We've gone over this .       Mr. Hall has gone

 4   over his past criminal          history .   He has been involve d

 5   in the drug community         for quite some time .

 6              In connection      with the Virginia     organization , he

 7   told the agent s there were three suppliers             he could

 8   hook them up with .         This was very close in time to the

 9   conspiracy      starting    in this case in 19 97.      In

10   connection      with that , especially      with the Virginia

11   conviction , it goes to show his ability             to get a

12   suppli er .     It goes to explain      those telephone        call s

13   which are in evidence .          I'm done with this .        The

14   Mexican    suppli er is a large quantity          of drug s.       We've

15   already    stipulate d to most of that .          I'm not going to

16   go into much more of that , but the Virginia             conviction

17   I'm going to go into a lot of de tail .

18              MR . HALL :     Well , Your Honor , I'm going to have

19   to continue      to object    because , first of all , the

20   Virginia      conviction    he has   is outside    of the time

21   period    of this conspiracy .        What counsel    is referring

22   to is a phone call that was play ed before             this jury in

23   which my client      inquire s about a ticket and Ms. Martin

24   says there 's nothing .         My client   says , well there may

25   be something      I can do about that , and that 's all .




                                                                     Page 253
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 254 of 277



 1             There is no specific         suppli er that the

 2   prosecution    is going to show that my client               knew in the

 3   past and introduced        Ms. Martin     to .

 4             MS. GREENBERG:       Judge , he can't paint the

 5   picture   of , I'm a poor little         drug quantity       and got

 6   drug s from Ms. Martin , when he 's been a major drug

 7   suppli er all his life --

 8             THE COURT:      I've ruled on the objection .

 9   Proceed   to the next question .

10                            (Back in open court .)

11             BY MS. GREENBERG:

12   Q.        19 73 , heroin , $20 ,000 to $30,000        for how long ?

13   A.        I don't remember         the duration    of the operation ,

14   but that 's what we did every week .

15   Q.        How long were you involve d?

16   A.        How long I was involve d in what ?

17   Q.        Collect ing this .

18   A.        I don't remember         the exact length        of time, but

19   it was for a while .

20   Q.        A week ?     A month ?     A year ?    Year s?

21   A.        It was more than a month .

22             MR . HALL:      Your Honor , I'm going to object

23   again .

24             THE COURT:      Over ruled .

25             BY MS. GREENBERG:




                                                                      Page 254
       Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 255 of 277



 1   Q.          Go ahead .     More than a month ?

 2   A.          It was more than a month .      I don't know      that it

 3   was year s.      It might have ex tend ed to a year, but it

 4   was more than a month .

 5   Q.          I'll put "approximately ," okay ?         So , is this

 6   accurate     so far ?

 7   A.          Yes, ma'am .

 8   Q.          So we get to the third -- your third conviction

 9   in 19 84 regard ing the Mexico        conviction .     Sir , just to

10   be clear , what we're talk ing about here is stipulation

11   6.      So that was your arrest      in November     of 19 84.     And

12   how long have you been out of prison             for this -- this

13   Liddy   Jones situation ?

14   A.          Approximately     six year s, I think .

15   Q.          How long was your conviction         in '73 ?

16   A.          I think it was like about seven year s, something

17   like that .

18   Q.          In Mexico    that you were in possession        of 7

19   kilogram s, 743 grams of cocaine ; correct ?

20   A.          That 's what I was convict ed of .

21   Q.          The individual     -- the stipulation      6 set s forth

22   that you got a sentence          of eight year s and three month s

23   in custody      and a fine of 400 ,000 pesos ; correct ?

24   A.          Yes, ma'am .

25   Q.          In connection     with the Mexican     police   comi ng to




                                                                   Page 255
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 256 of 277



 1   the Hotel Century     in Mexican    City in response       to an

 2   anonymous    complaint   about you , they found you in Room

 3   112 of the hotel in possession         of the --

 4            MR. MONTEMARANO :     Objection , Your Honor .

 5            THE COURT:      Wait a minute .     She has n't finish ed

 6   the question .

 7            BY MS. GREENBERG:

 8   Q.       In possession     of a box mark ed "R oll ing

 9   Contain er s, Minneapolis , Minnesota ;" is that correct ?

10   A.       No , it 's not correct .

11   Q.       That 's the stipulation .

12   A.       I stipulate d that.      Yes , that is the way it was

13   record ed there,    but that is not what happened .

14   Q.       Okay .   So the stipulation       where the Mexican

15   police   testifi ed , you say the Mexican       police    were

16   in correct   in their testimony ?      Is that your testimony ,

17   sir ?

18   A.       Yes .

19   Q.       Further , that the Mexican        police    testifi ed that

20   the box that you had contain ed cocaine             and a scale .

21            Do you agree     that that 's what the box contain ed ?

22   A.       I don't know     what the box contain ed.        I did not

23   put the box in the room .

24   Q.       And do you dis agree with the Mexican           police     that

25   you voluntarily     gave the officer s the box of cocaine ?




                                                                  Page 256
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 257 of 277



 1   A.       Yes .

 2   Q.       This gentleman , Jorge Gonzalez.          The Mexican

 3   police   testifi ed that you told them that Mr. Gonzalez

 4   had sold you the cocaine .        Do you dis agree with that ?

 5   A.       Yes , I do .

 6   Q.       Mr. Gonzalez     is somebody   that you serve d jail

 7   time with earlier ; is that correct ?

 8   A.       That 's correct .

 9   Q.       So the Mexican      police 's testimony    about Jorge

10   Gonzalez,   you dis agree with ; correct ?

11   A.       Yes .

12   Q.       You do agree that you serve d time with Mr.

13   Gonzalez ; correct ?

14   A.       Yes, I did .

15   Q.       You serve d time with him for which conviction ?

16   A.       The '73 conviction .

17   Q.       In what jail ?

18   A.       I think it was -- I think it was McNeil Island ,

19   I think .

20   Q.       I'm sorry .     What ?

21   A.       McNeil I sland .

22   Q.       Where is that ?

23   A.       Washington     state .

24            MR. WARD:      This is waste of time .

25            BY MS. GREENBERG:




                                                                 Page 257
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 258 of 277



 1   Q.         Washington      state ?

 2   A.         Yes, ma'am .

 3   Q.         I forgot      to put cocaine .      Your testimony    is that

 4   while you agree the Mexican              police   testifi ed that Mr.

 5   Gonzalez     sold you the cocaine          and Mr. Gonzalez     was your

 6   cell buddy back for this conviction , you said that

 7   didn't   happen ?

 8   A.         I'm say ing this --

 9              MR . HALL :     Objection , Your Honor .

10              THE COURT:       Over ruled .

11              THE WITNESS:       I'm say ing that Mr. Gonzalez           was

12   not my cell buddy .          I'm say ing that Mr. Gonzalez        rent ed

13   the room at the Hotel Century .              My room was at the El

14   Presidential.         He invite d me to that room to set me up .

15   Q.         And Mr. Gonzalez          was not your cell buddy you

16   serve d time with .

17   A.         That 's correct .         That 's correct .

18   Q.         You are dis agree ing with the stipulation            in

19   term s of that the Mexican            -- you're    dis agree ing with

20   the Mexican     police .      You're     say ing they didn't    tell the

21   truth when they said that you told them that Jorge

22   Gonzalez     sold you cocaine .

23              MR . HALL :     Objection .

24              Asked and answered .

25              THE COURT:       Sustained .




                                                                     Page 258
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 259 of 277



 1             BY MS. GREENBERG:

 2   Q.        And the Mexican     police    also testifi ed that you

 3   had told them that you planned           to transport        the cocaine

 4   back to North America .           And do you agree that you told

 5   the Mexican    police    that ?

 6   A.        I did not tell the Mexican          police    that .

 7   Q.        The Mexican     police    testifi ed that you told them

 8   that you had met Gonzalez           in a United   States      prison ,

 9   and do you believe       that that is what you told the

10   Mexican   police ?

11   A.        That is what I told the Mexican             police .

12   Q.        So that part of what you told the Mexican

13   police , you agree with .

14   A.        I told the Mexican        police   that .

15   Q.        After you got out of jail from the Mexican

16   prison , you got transferred          up to San Diego        to finish

17   your sentence .      You got a prisoner        transfer ?

18   A.        Yes, ma'am .

19   Q.        And then you serve d approximately            -- when did

20   you get out of jail from that conviction ?

21   A.        I think '88 .

22   Q.        An then your next conviction          was in D. C. and

23   that was approximately        September      30 of 19 92 .

24             MR. HALL : Objection , Your Honor .

25             May we approach ?




                                                                      Page 259
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 260 of 277



 1             THE COURT:      You may .
 2
                                 (At the bar of the Court.)


 3             MR . HALL :    I'm object ing to this conviction ,

 4   because    I don't think     it 's an impeachable               offense .       It

 5   does n't relate    to honesty ; it 's a possession                    of a

 6   pistol    or something .

 7             MS. GREENBERG:       Your Honor , it 's a prior felony

 8   conviction .     He was convict ed of carry ing a weapon                       in

 9   19 94 .   It was a felony      conviction            of carry ing a pistol

10   without    a license     in the District of                Columbia .

11             THE COURT:      Carry ing a pistol               without    a license

12   in D. C. ?

13             MS. GREENBERG:       Yes .       It was a prior felony

14   conviction .

15             THE COURT:      What is your position?

16             MR . HALL :    My position          is that this is not a

17   crime that reflect s on his honesty                      and therefore       is not

18   impeachable .

19             MS. GREENBERG:       Your Honor , it 's a prior felony

20   conviction .

21             THE COURT:      Well , I conclude , under these

22   circumstance s, that it should               be admitted .           Its

23   probative    value outweigh s the prejudicial                   effect .       You

24   may proceed.

25             Over ruled .




                                                                                Page 260
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 261 of 277



 1                            (Back in open court .)

 2             BY MS. GREENBERG:

 3   Q.        Sir , we're get ting to -- perhaps        I should    say

 4   you have an eight -year sentence           -- eight year s and

 5   three month s.       When did you get out of jail from the

 6   Mexican   --

 7   A.        I think it was '88 .

 8   Q.        You received     a charge   and subsequent      con viction

 9   based on your carry ing a pistol without            a license    on --

10   on or about October       3, 19 92 is when the offense

11   happened ; is that correct ?

12   A.        I think that was that date .

13   Q.        That was in Washington , D. C.

14   A.        Yes, ma'am .

15   Q.        And you were sentence d for that while you were

16   -- carry ing the pistol       in 19 92 .    You were sentence d for

17   that in approximately        September     30 of 19 94 ; is that

18   correct ?

19   A.        I think so .

20   Q.        Would you like to see the judgment            of conviction

21   to refresh     your recollection ?

22   A.        I accept    your date s.

23   Q.        Now we're get ting to the situation           involving

24   your Eastern     District    of Virginia     arrest .

25             Do you recall     that ?




                                                                  Page 261
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 262 of 277



 1   A.       Yes , I do .

 2   Q.       Specifically , that involve d you recruit ing

 3   people   to serve as courier s to go to Bangkok           Thailand

 4   and through      Japan to bring back kilogram         quantiti es of

 5   heroin ; is that correct ?

 6   A.       No , this 's not correct .

 7   Q.       You didn't      recruit    Rene W ither s to im port heroin

 8   into the United      States    from Thailand ?

 9   A.       I recruit ed Rene W ither s to go to Tokyo to pick

10   up heroin but not to Thailand .

11   Q.       So your testimony         is that I'm just in correct       on

12   the place that she was going ; is that correct ?

13   A.       Yes .

14   Q.       Is it correct , sir , that on two occasion s, Ms.

15   Wither s, on your behalf , im port ed 8.4 kilogram s of

16   heroin   into the United       States ?

17   A.       Yes .

18   Q.       That 's yes ?

19   A.       Yes .

20   Q.       Is it also true , sir , that another          person    whom

21   you recruit ed was arrested         in San Francisco , California

22   with a large quantity         of cocaine     -- of heroin ?     We 've

23   heard about that here through             the chemist ; correct ?

24   A.       Yes, ma'am .

25   Q.       Her name was Bon ita Free man ?




                                                                   Page 262
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 263 of 277



 1   A.       That 's correct .

 2   Q.       She was arrested       with heroin     that you were

 3   im port ing into the United       States ?

 4   A.       Yes, ma'am .

 5   Q.       Do you recall       the amount    of heroin ?

 6   A.       I do not .

 7   Q.       We'll get that chemist 's report          in a second .

 8            When you met with the -- you were arrested , is

 9   it correct , in approximately        March of 19 94 ?

10   A.       No .    I thought    the arrest     was in '92 .     I thought

11   the conviction     was in '94 .     I might be mis taken .

12   Q.       If you look at the -- when you were arrested ,

13   did you meet with Special         Agent s Lacy Shelley W alk er

14   and an   AUSA by the name of John Ralig ?

15   A.       Yes .

16   Q.       If I show ed you the report          of inter view as to

17   that , would that refresh       your recollection        as to the

18   date ?

19   A.       Yes, ma'am .

20   Q.       If I may have       the next miscellaneous         number .

21            MR . HALL :    May I see the exhibit ?

22            BY MS. GREENBERG:

23   Q.       Show ing you what 's been mark ed as Miscellaneous

24   48 for identification        purpose s only .     Counsel , this is

25   just for refresh ing his recollection .




                                                                    Page 263
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 264 of 277



 1           Does that refresh       the date and time that you

 2   were arrested ?

 3   A.      Quite possibly , yes .

 4   Q.      Is that the add ress you were living          at ?

 5   A.      Yes, ma'am .

 6   Q.      Does that refresh       your recollection     as to the

 7   date that you were arrested ?

 8   A.      Yes , that 's right .

 9   Q.      That 's March 28 , 19 94 ?

10   A.      Yes .

11   Q.      Is that correct ?

12   A.      Yes, ma'am .

13   Q.      Sir , we're talk ing about the other individual ,

14   Bonita Freeman,     who brought    in heroin    and got caught     in

15   San Francisco .     Is it correct , sir , she was operating

16   on your behalf    to bring heroin      into the United       States .

17           MR. HALL :     Objection .

18           Asked and answered .

19           THE COURT:      Over ruled .

20           BY MS. GREENBERG:

21   Q.      This is in addition       to the other individual        who

22   we just talk ed about who went twice ; correct ?

23   A.      Yes, ma'am .

24   Q.      Now , Ms. Free man .     She 's the one that you

25   testifi ed went from Tokyo to San Francisco , an d then




                                                                  Page 264
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 265 of 277



 1   from San Francisco        to the Washington , D. C. area ; is

 2   that correct ?

 3             MR . HALL :    Objection , Your Honor .     Basis of

 4   knowledge .

 5             THE COURT:      See if you --

 6             BY MS. GREENBERG:

 7   Q.        Do you know where you sent her to ?

 8   A.        Yes .

 9   Q.        And you sent her to Tokyo ?

10   A.        Yes, ma'am .

11   Q.        You're   aware from the investigation        against    you

12   that she got arrested        in San Francisco ; correct ?

13   A.        Yes, ma'am .

14   Q.        And you were suppose d to pick her up at the

15   Washington    National     Airport ; isn't that correct ?

16             MR . HALL :    Objection .

17             Your Honor , may we approach ?

18                      (At the bar of the Court.)

19             MR . HALL :    Your Honor , I still suggest        to the

20   court that this is beyond           the fact of the con viction

21   and the specific        fact s that came in as 404 (b) that any

22   further   level of de tail is not appropriate .

23             MS. GREENBERG:          Your Honor , I'm reading    from the

24   stipulation .

25             MR . HALL :    Okay .




                                                                   Page 265
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 266 of 277



 1               MR. MONTEMARANO :      Your Honor , while Mr. Hall is

 2   reading , I would once again press the issue of

 3   spill over effect         from the parti es .    When Mr. Whiting's

 4   attorney      and the government      first came to the bench ,

 5   the government       claime d they were going to be

 6   establish ing his ability         to obtain     suppliers .     I've

 7   heard the word "suppli er " not at all .              We're talk ing

 8   about courier s.          We're talk ing about mule s.        We're

 9   talk ing about whether         or not he had a gun .

10               With all candor , Judge , all the government              has

11   to say is, did       you had a suppli er in this one --

12               MS. GREENBERG:       I'm about there in three

13   question s, Your Honor , for this conviction .                I did it

14   for every other conviction           --

15               MR . HALL :    Let me point out one other thing .

16   This come s in in other possib le way s.              It come s in as

17   the 404 (B) --      well , it 's already     been introduced      as

18   404 (b) .     If what counsel     is now try ing to do is impeach

19   my client      with this conviction , I would suggest            to the

20   court that even       though    it may be here as 404 (b) , that

21   level of de tail is not necessary            for the impeach ment,

22   and that if it is being use d again as 404 (b), then a

23   cautionary      instruction     should    be given.

24               MS. GREENBERG:       Your Honor it 's 609 and 404 (b)

25   and there 's ton s of case s which talk about evidence




                                                                     Page 266
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 267 of 277



 1   being admissible         under both base s.       I'm reading        from

 2   the stipulation         fact s that 's already      been read to the

 3   jury , and I'm about to go into the issue about the

 4   suppliers     that Mr. Montemarano         mention ed .

 5              MR . HALL :    The stipulate d --

 6              MR. MONTEMARANO :         Your Honor ?

 7              MR . HALL:     Let me finish .        The stipulate d fact s

 8   came in for a very specific             purpose   under a very

 9   specific     set of rule s.

10              MS. GREENBERG:       Again , we're get ting back to the

11   same situation .         It was portray ed in the defense             case

12   as this old man that bought             drug s from Paulette         Martin

13   and just use d cocaine , and now we're talk ing about

14   somebody     who has a major connection           to drug s in Japan

15   and Thailand,      a complete ly different          picture , and the

16   government     is entitle d to go into this .

17              MR . HALL :    At a complete ly different          time

18   period .

19              MR. MONTEMARANO :         Different    century .

20              THE COURT:      Ladies and gentlemen        , it 's five

21   minute s of five .

22              MR . HALL :    I know .

23              THE COURT:      I think we can sleep on this one

24   over night and resume        tomorrow     morn ing .   I'll send the

25   jury home .




                                                                      Page 267
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 268 of 277



 1             Can you let me have a copy of the stipulation ?

 2             MS. GREENBERG:      Sure .     Your Honor , this has

 3   already    been admitted    in evidence .

 4             THE COURT:     Is it in the book s?

 5             MS. GREENBERG:      Yeah .     It should    be , but we can

 6   make you a copy .

 7             THE COURT:     I've got so much stuff back here , I

 8   don't know    what I'm    do ing .

 9             MS. GREENBERG:      Yeah .     If I say it 's in the

10   book , it won't be in the book .

11             The other thing to think of, they went back 25

12   year s with Ms. Martin .       This is the time period        he said

13   he was very close with Ms. Martin .

14             MR . HALL :   Could I -- I want ed to give you two

15   case s, Your Honor , if I may .

16             THE COURT:     Okay .

17             MR . HALL :   U. S. vers us Pandozzi .

18             THE COURT:     How do you spell it ?

19             MR . HALL:    P A N D O Z Z      I.

20             MS. JOHNSTON:      Perhaps     we could do this in open

21   court .

22             THE COURT:     Yeah .      We could do that , too .

23                           (B ack in open court .)

24             THE COURT:     Ladies and gentlemen        , we're going to

25   recess    for the day now ; I have        a few other matter s I




                                                                   Page 268
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 269 of 277



 1   can deal with once you 've gone .                  We will see you

 2   tomorrow     morn ing .       We should      be start ing at plus or

 3   minus five minute s of 9:30 , so we will see you then .

 4   Thank you very much .

 5                                 (Jury excused        at 4:59 p.m. )

 6              THE COURT:          Counsel     --

 7              MS. GREENBERG:              Your Honor , I would --

 8              THE COURT:          Wait .     Wait .

 9              MS. GREENBERG:              Your Honor , I would appreciate

10   --

11              THE COURT:          Counsel     --

12              MS. GREENBERG:              Your Honor , I would appreciate

13   Mr. Whiting     not being present               for the argument    on my

14   cross-examination         .

15              THE COURT:          I'm not going to argue about it now .

16              MR. MONTEMARANO :             He has a right to be here .

17              MR . HALL:         He has a right to be here , Your

18   Honor .

19              MR. MONTEMARANO :             It 's his trial .

20              THE COURT:          I'm not argui ng about it here .           I

21   want to have Mr. Hall simply                 give me the citations      of

22   the case s he want me to re view .

23              MR . HALL :        Fine , Your Honor .       Are you ready ?

24              THE COURT:          Yes .     Mr. Krinsky    is going to take

25   them down , because           I'm having        a hard time writing .       I'm




                                                                         Page 269
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 270 of 277



 1   typi ng , but I'm not writing .         My law clerk is -- please

 2   give the citations        of the case s you would like me to

 3   re view .

 4               MR . HALL :   Unite d States    versus    , 878 F 2d, 526 .

 5   It 's a 19 89 case ; and United       States    versus     Albers,        A L

 6   B E R S, 93 , F 3d , 1469 .        That 's a Tenth        Circuit        case

 7   in 19 96 .

 8               MS. JOHNSTON:      The first case was from what

 9   circuit ?

10               MR . HALL :   The first one was from the First .

11               THE COURT:      I'll look at those authoriti es

12   over night , and we can resume        tomorrow       morn ing .

13               Mr. McKnett , you have issue d about some

14   subpoena s to some Pretrial S ervice s people              who are both

15   un happy .

16               MR. MCKNETT :     Actual ly , the supervisor          is

17   un happy .

18               THE COURT:      I don't know    if Ms. Johnston            know s

19   what the nature       of this is all about , or Ms. Green berg .

20               MS. JOHNSTON:      We don't .

21               THE COURT:      Is this something    you can stipulate

22   to ?   Can you talk to each other ?

23               MR. MCKNETT :     Actual ly , no , Your Honor .

24               May I approach ?     I would prefer       to approach         out

25   of the presence       of the government , because          it pertain s




                                                                        Page 270
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 271 of 277



 1   to testimony      of my witness .

 2              MR. MONTEMARANO :     17 C.

 3              THE COURT:      We will do that once I've recess ed

 4   for the day .      If there 's something       you can stipulate

 5   to , fine .     If you can't , that 's fine .      But I have

 6   un happy Pre trial Service s people , and I need to take a

 7   look at it .

 8              MS. JOHNSTON:      Your Honor , we would like to be

 9   heard in term s of those witness es and what the issue s

10   are .     I think we have a right to be heard .

11              THE COURT:      You will be heard .

12              MR. MCKNETT :     If I understand     the content s of

13   the letter      correct ly -- I haven't       seen it -- the

14   government      has no role in the position        of that agency .

15              THE COURT:      I understand .     I wanted to know         if

16   this is something        that could be done by stipulation .

17              MR . MARTIN :    Your Honor , I have something         --

18              MS. JOHNSTON:      Your Honor , we also need to know

19   who are witness es for tomorrow           and what order , so we

20   can prepare .

21              THE COURT:      Counsel , please    comply   with my

22   direct ive s.     I'm assuming    Mr. Goodwin     is going to be a

23   witness     tomorrow    in the absence     of some issue

24   concern ing his dental        condition    in the case he can't

25   speak .




                                                                  Page 271
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 272 of 277



 1             MS. JOHNSTON:      Where do we go from there , Your

 2   Honor ?

 3             MR. WARD:     I anticipate      I will be producing

 4   testimony    tomorrow .

 5             THE COURT:      And you please        pro vide --

 6             MR. WARD:     What ?

 7             THE COURT:      Please     provide    the name s to the

 8   government .

 9             MR. WARD:     I will , Your Honor .

10             MS. JOHNSTON:      Your Honor , we would like those

11   before    we leave the courthouse         today .

12             MR. WARD:     You will get them before          you leave

13   the courthouse .       You will get them before          you leave the

14   courtroom , all right ?

15             THE COURT:      That 's been taken care of .

16             How about Mr. Mitchell ?         Have you provided

17   information ?

18             MR. MITCHELL:      Your Honor , I don't have           any

19   witness es except      regard ing Mr. - -- Sergeant           Sakala .

20             THE COURT:      Okay .     All right .     So the next --

21             MR. MITCHELL:      But I may have         --

22             THE COURT:      The next batch of witness es will              be

23   from Ms. Dobie ; right ?

24             MR. MITCHELL:      Yes .

25             THE COURT:      Then tomorrow        we will continue        with




                                                                       Page 272
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 273 of 277



 1   the testimony      of Mr. Whiting , resolve      and finish       that

 2   up .     Are there any add itional      witness es to be call ed ?

 3              MR . HALL :   Your Honor , I have character

 4   witness es that I was going to call .          My secretary        was

 5   try ing to -- because       they both work , she was going to

 6   see if they would be available           tomorrow    morn ing .

 7   They're     under subpoena , but I haven't       had a chance        to

 8   go out and check to see if --

 9              THE COURT:     Give those name s to the government .

10              MR . HALL :   They already    have them .     They've     had

11   them .

12              THE COURT:     So then the bottom     line is , in the

13   absence     of there being some scheduling          snafu,   we're

14   going to finish        with Mr. Whiting ; we will have two

15   character     witness es ; we will then skip over to Mr.

16   Ward , who will be call ing his client 's witness es .

17              MR. WARD:     I, frankly , think that 's going to

18   take us most of the day -- through           most of the day .

19              THE COURT:     Well , what will take most of the

20   day ?

21              MR. WARD:     I think with what we have so far ,

22   that will be most of the day .

23              THE COURT:     You don't think we will reach any of

24   your witness es tomorrow ?

25              MR. WARD:     No .   I think we will .      But to quote




                                                                   Page 273
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 274 of 277



 1   the government , it depends             on the cross-examination      .

 2              THE COURT:        Yes .    It a lso depends   on who cross

 3   examine s.

 4              MR. WARD:        I think the government       will have

 5   cross-examination       .

 6              MR. MONTEMARANO :          Your Honor , that 's an issue

 7   the defense     would like to be heard on through             Mr.

 8   Martin .

 9              MR . MARTIN :      Yes , Your Honor .     My concern     here

10   is that as the government              is allow ed to get into this

11   extrinsic     evidence      on not only the prior convictions

12   but who was involve d, , what's             happening    now -- it 's

13   already     stipulate d to .         The sand is run ning out of the

14   glass , because     all we are hear ing from the defense              side

15   of the table is , well don't worry.                We're going to be

16   finish ed by X date .          Don't worry.       We understand     that

17   you've     got other obligations .          Well , these people      --

18   I've said this repeat edly --

19              THE COURT:        Mr. Martin , we will come back after

20   a two -week gap .       That 's all .

21              MR . MARTIN :      I'm concerned , Your Honor , because

22   my examination      was truncate d.         I want ed to get into

23   thing s that I thought          was important      to my examination .

24              THE COURT:        I don't    want any counsel    to feel

25   inhibited     about doing a          thorough   job for their client




                                                                       Page 274
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 275 of 277



 1   on either     side .     That does not mean I should      not have

 2   some concerns        about the calendar , and I'll exercise

 3   appropriate     restraint     on myself     and on the counsel       for

 4   the parti es , but I'm by no mean s say ing people           should

 5   truncate     thing s because    of some object ive to get done

 6   by August     11 .     I certain ly believe , based upon what

 7   I've seen , it 's reasonable          to get done by August       11 .

 8   But if we can't , we can't .           And if due process    or

 9   anything     else require s more than that , we'll do that .

10              MS. GREENBERG:      Your Honor , just for the record ,

11   I think I start ed my cross- examination           between   4:20 and

12   4:30 .     Half of that time was spent at the bench .

13              MR. WARD:      It was actual ly 4:23 .    I made a note .

14              THE COURT:      Anything    else , counsel ?

15              MR. MONTEMARANO :     I hope you feel better .

16              THE COURT:      I'm going to go home now .        Thank

17   you .     See you tomorrow     morn ing .

18              MS. JOHNSTON:      Your Honor , the government         would

19   request     that Mr. Whiting     be house d separate ly from the

20   other defendant s during        the time while he 's on the

21   stand on cross-examination        , in particular .

22              MR . HALL :    Your Honor , my client    is house d in La

23   Plata .     I'm not sure there 's anybody        else down there

24   with him .     I know a lot of these folk s are house d in

25   Upper Marlboro .




                                                                   Page 275
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 276 of 277



 1              MS. JOHNSTON:      I don't know    where they're

 2   house d.

 3              THE COURT:      Is there anybody    else in the same

 4   place ?

 5              U.S. MARSHAL:      He is house d with another

 6   defendant .

 7              THE COURT:      Which one ?

 8              U.S. MARSHAL:      Mr. By num .

 9              MR . HALL :   Considering     my client   does n't know

10   Mr. Bynum --

11              THE COURT:      Can we keep them separate d in La

12   Plata ?

13              U.S. MARSHAL:      I'll see to it .

14              THE COURT:      All right .    We'll do that .

15              MS. JOHNSTON:      Thank you , Your Honor .

16                      (Off the record at 5:07 p.m.)

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                                                                  Page 276
      Case 8:04-cr-00235-DKC Document 1212 Filed 05/27/08 Page 277 of 277



 1                              CERTIFICATE

 2

 3           I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4   Reporter for the United States District Court of

 5   Maryland, do hereby certify that I reported, by machine

 6   shorthand, in my official capacity, the proceedings had

 7   and testimony adduced upon the Jury Trial Proceedings

 8   in the case of UNITED STATES OF AMERICA versus PAULETTE

 9   MARTIN, et al, criminal Action Number           RWT -04-0235 on

10   July 27 , 2006.

11

12           I further certify that the foregoing            276 pages

13   constitute the official transcript of said proceedings,

14   as taken from my machine shorthand notes, of said

15   proceedings.

16

17           In witness whereof, I have hereto subscribed my

18   name, this 2 8th day of April 2008.

19

20

21                               __________________________

22                               TRACY RAE DUNLAP, RPR , CRR
                                 OFFICIAL COURT REPORTER
23

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                                                                 Page 277
